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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 17-cv-2992-WJM-STV
   Consolidated with Civil Action No. 18-cv-0190-WJM-STV

   DETROIT STREET PARTNERS, INC. and
   BIRCHWOOD RESOURCES INC.

         Plaintiffs,

   v.

   JAMES A. LUSTIG, et al.

         Defendants.

         and

   DETROIT STREET PARTNERS, INC. and
   BIRCHWOOD RESOURCES INC.,

         Plaintiffs,

   v.

   JAMES A. LUSTIG, et al.

         Defendants.



            AMENDED CONSOLIDATED COMPLAINT AND JURY DEMAND
   ______________________________________________________________________________
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                 COMES NOW the Plaintiffs, by and through counsel, and for their Amended

   Consolidated Complaint against the Defendants named herein, state and allege as follows:1

                                                                  PRELIMINARY STATEMENT


   1.            This case concerns a massive racketeering enterprise orchestrated by James A. Lustig

                 through which he and dozens of other individuals and straw man entities, including the

                 other Defendants in this case, for years repeatedly and knowingly engaged (and continue

                 to knowingly engage) in various racketeering activities, including mail and wire fraud,

                 market manipulation, securities fraud, and money laundering, in order to improperly

                 obtain allocations of valuable initial public offering shares from several banks to the

                 detriment of individuals competing for such shares legally. Specifically, among other

                 illicit conduct, Lustig and the other scheme participants executed high volumes of illegal

                 “wash” trades lacking any economic substance solely for the purpose of generating

                 commissions at the banks which would result in greater allocations of initial public

                 offering shares. Lustig not only masterminded the enterprise but also, in recognition of

                 the highly unlawful nature and purpose of his scheme, had his attorneys prepare, and his

                 affiliates sign, non-disclosure agreements which were designed solely to conceal their

                 racketeering activity, so that their enterprise could continue indefinitely, shrouded by a

                 cloak of impenetrable secrecy. As a result of this scheme, innocent clients of the banks

                 who were entitled to initial public offering shares by virtue of their legal trading activity,

                                                               
   1
    All allegations as to Plaintiffs are based upon personal knowledge and all allegations as to
   Defendants and other persons are based upon information and belief. Where an allegation is
   made upon information and belief, the basis for Plaintiffs’ belief regarding the allegation is
   described herein.


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         including Plaintiffs, were deprived of their proper allocation of such shares and

         consequently lost tens of millions of dollars.

   2.    Plaintiffs Birchwood Resources Inc. (“Birchwood”) and Detroit Street Partners, Inc.

         (“Detroit Street” and, together with Birchwood, “Plaintiffs”) are securities traders that

         opened accounts at eight of the world’s most prominent and recognized banks—J.P.

         Morgan Securities LLC (“J.P. Morgan”), Deutsche Bank Securities Inc. (“Deutsche

         Bank”), Citigroup Global Markets Inc. (“Citigroup”), Goldman Sachs & Co. (“Goldman

         Sachs”), Morgan Stanley & Co. Incorporated (“Morgan Stanley”), Jefferies LLC

         (“Jefferies”), Barclays Capital Inc. (“Barclays”), and Credit Suisse Securities (USA) LLC

         (“Credit Suisse” and, collectively, the “Banks”)—for the purpose of engaging in

         securities transactions. Both Plaintiffs are owned and controlled by Mr. David Berlin,

         who conducted securities trades through Plaintiffs over various time periods at the

         different Banks. Specifically, at J.P. Morgan, Mr. Berlin conducted securities trades

         through Birchwood between 2005 and 2013, and through Detroit Street between 2013

         and the present. At the other Banks (i.e., Deutsche Bank, Citigroup, Goldman Sachs,

         Morgan Stanley, Jefferies, Barclays, and Credit Suisse), Mr. Berlin conducted trades

         through Birchwood between 2005 and 2013 and through Detroit Street between 2006 and

         the present.

   3.    Defendant James A. Lustig (“Lustig”), who is domiciled in Colorado and maintains his

         principal place of business at 410 17th Street, Suite 1705, Denver, CO 80202, is the

         mastermind behind the development and operation of a massive racketeering enterprise

         across multiple banks, including the Banks, through which he and the other Defendants



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         (and other co-conspirators) have for years knowingly engaged – and continue to

         knowingly engage – in countless instances of mail and wire fraud, market manipulation,

         securities fraud, money laundering, and other racketeering activities that have directly

         injured – and continue to directly injure – Plaintiffs to the tune of tens of millions of

         dollars.

   4.    In support of his massive racketeering enterprise, Lustig directly controls and manages:

         (i) Defendant JAL Ventures Corporation (“JAL”), a Colorado corporation; (ii) Defendant

         CLFS Equities, LLLP (“CLFS”), a Colorado limited liability limited partnership; and (iii)

         Defendant United Capital Management, Inc., (“United”), a Colorado corporation.

   5.    As top tier clients of the Banks, Plaintiffs are eligible to compete for valuable and highly

         sought-after shares issued in initial public offerings (“IPOs”) that are underwritten by the

         Banks’ investment banking affiliates (“IPO Shares”). While the particulars of allocation

         eligibility requirements vary from Bank to Bank, in general, the amount of IPO Shares a

         client of a Bank receives is directly tied to the amount of commissions the Bank earns in

         a given year from that client’s securities account. The more securities transactions a

         client engages in through a Bank, the higher the amount of commissions that Bank can

         earn. As a result, a higher volume of trading activity will translate into a larger allocation

         of IPO Shares.

   6.    Because of the way the Banks’ rules were structured, multiple clients generating trading

         commissions for any one Bank would collectively be allocated a larger number of IPO

         Shares by that Bank than an individual client generating the same total amount of

         commissions. For example, if Companies A, B, C, D, and E each separately generated



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         $600,000 in commissions for J.P. Morgan in one year, for a total of $3 million, the total

         number of IPO Shares that were allocated to them, collectively, would be larger than the

         number of IPO Shares allocated to Company F, which had itself generated $3 million in

         commissions for J.P. Morgan that same year.

   7.    The allocation process for IPO Shares across the Banks in effect created an auction-like

         scenario, where the true price of purchasing IPO Shares included not only the initial

         offering price of the IPO Shares themselves, but also the hundreds of thousands of dollars

         in commissions that each client had to generate for, and pay to, the Banks in order to be

         allowed to purchase such IPO Shares.

   8.    Plaintiffs Birchwood (between 2005 and 2013) and Detroit Street (between 2013 and the

         present for J.P. Morgan and between 2006 and the present for the other Banks) purchased

         almost every IPO Share allocation offered to them by the Banks. Over the first several

         years of its relationship with the Banks, Birchwood and Detroit Street earned combined

         profits ranging on average between $4 and $7 million per year from the sale of IPO

         Shares allocated to them by the Banks. From the sale of IPO Shares allocated to them by

         J.P. Morgan alone, Plaintiffs earned profits ranging between $3 and $5 million per year

         during that time period.

   9.    In or before 2011, Lustig began unlawfully manipulating the structure for IPO Share

         allocations put in place by the Banks by working with JAL, CLFS, United, and dozens of

         his friends, family members, and associates to create nearly thirty straw man entities that,

         on paper, are purportedly controlled by those individuals but that, in reality, are financed,

         operated, and controlled by Lustig himself. These entities opened accounts with the



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                 Banks by providing false information to the Banks and then, through those accounts,

                 knowingly engaged (and continue to knowingly engage) in illegal churning – i.e.,

                 repeatedly consummating securities transactions lacking any economic substance such as

                 “wash sales”– for the sole purpose of generating enough commissions to become top tier

                 clients of the Banks and thereby receive the valuable IPO Share allocations at the expense

                 of Plaintiffs and other innocent customers of the Banks.2

   10.           For example, as several Defendants have admitted to Mr. Berlin, Lustig trained and

                 instructed the straw man entities, and the individuals purportedly controlling them, to

                 purchase a particular quantity of a particular stock at one Bank and then simultaneously

                 sell the same quantity of the same stock at another Bank, thereby generating commissions

                 at both Banks without incurring any market risk. Based on the commissions they

                 generate for the Banks through this trading activity, the entities are then allocated IPO

                 Shares by the Banks, which they purchase and quickly sell, resulting in tens of millions

                 of dollars of ill-gotten profit per year that is shared among Lustig and his affiliates.

   11.           By artificially inflating the amount of commissions paid to the Banks through constant

                 wash trading by dozens of straw-man entities, Lustig and his co-conspirators managed to

                 earn greater IPO Share allocations, to the detriment of clients of the Banks who were

                 engaged in only lawful trading activity, including Plaintiffs.


                                                               
   2
     “Wash sales involve the use of techniques designed to give the appearance of submitting trades
   to the open market, while negating the risk or price competition incident to the market. Wash
   trading produces a virtual financial nullity because the resulting net financial position is near or
   equal to zero.” Wilson v. CFTC, 322 F.3d 555, 559 (8th Cir. 2003). See also Edward J. Mawod
   & Co. v. S.E.C., 591 F.2d 588, 591-92, 595 (10th Cir. 1979) (holding certain wash sales to be
   “per se manipulative”).


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   12.   Lustig’s vast and unlawful scheme to manipulate the market for IPO Shares in this way

         (the “IPO Market Manipulation Scheme”) has directly caused (and continues to cause)

         millions of dollars of damages per year to Plaintiffs and other law-abiding clients of the

         Banks who are not participants in the IPO Market Manipulation Scheme.

   13.   In order to facilitate the execution of the IPO Market Manipulation Scheme and to

         conceal the Scheme from regulators and the investing public, the law firm Brownstein

         Hyatt Farber Schreck (“Brownstein Farber”) drafted non-disclosure agreements

         (“NDAs”) that were executed among Lustig, JAL, CLFS, United and each of the straw

         man entities that would purport to keep the IPO Market Manipulation Scheme

         confidential. These NDAs contained the following clause:

                Confidentiality. Each of the Company, the Member, JAL and CLFS
                acknowledges that, in and as a result of its relationship with each
                other, it has been and will be making use of, acquiring or adding to
                confidential information of a special and unique nature and value,
                including, without limitation, the Company, the Member, JAL,
                CLFS and their affiliates’ identities, trade secrets, systems,
                programs, procedures, confidential reports and communications
                (including, without limitation, account information, technical
                information on the performance of the Company, JAL, CLFS and
                their affiliates’ business) and lists of accounts, as well as the nature
                and type of the activities engaged in by the Company, the Member,
                JAL, CLFS and their affiliates (collectively, “Confidential
                Information”). Each of the Parties further acknowledges that any
                information and materials received by itself or the Company from
                third parties in confidence shall be deemed to be and shall be
                confidential information within the meaning of this Section. As
                partial consideration for each Party’s agreement to enter into this
                Agreement, each of the Company, the Member, JAL and CLFS
                covenants and agrees that it shall not, except with the prior written
                consent of JAL, in the case of the Company or the Member, or the
                Company, in the case of JAL or CLFS, or as required by law or as
                necessary to enforce this Agreement, at any time during or following
                the term of this Agreement, directly or indirectly, use, divulge,
                reveal, report, publish, transfer or disclose, for any purposes


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                whatsoever, any of the terms or conditions of the Transaction
                Documents or such confidential information which has been
                obtained by or disclosed to it as a result of its affiliation with JAL
                or the Company, as the case may be. Notwithstanding the foregoing,
                “Confidential Information” shall not include any information that:
                (i) is or becomes generally available to and known by the public
                (other than as a result of an unpermitted disclosure directly or
                indirectly by the receiving Party or its affiliates, advisors or
                representatives), (ii) is or becomes available to the receiving Party
                on a nonconfidential basis from a source other than the furnishing
                Party or its affiliates, advisors or representatives, provided that such
                source is not and was not bound by confidentiality agreement with
                or other obligation of secrecy to the furnishing Party of which the
                receiving Party has knowledge; or (iii) has already been or is
                hereafter independently acquired or developed by the receiving
                Party without violating any confidentiality agreement with or other
                obligation of secrecy to the furnishing Party. In the event any Party
                determines that it is required by applicable law to make any such
                disclosure, such Party shall so advise the other Parties immediately
                and shall consult and cooperate to the greatest extent feasible with
                respect to the timing, manner and contents of such disclosure.

   14.   Such contractual provisions are specifically designed to conceal racketeering activity and

         are therefore against public policy and not enforceable. As a highly sophisticated law

         firm, Brownstein Farber knew or should have known that the contractual provisions that

         it drafted and that were included in NDAs executed among Lustig, JAL, CLFS, United

         and others were intended to be used in, and were used in, “racketeering activity” as

         defined by C.R.S. 18-17-103(5). Brownstein Farber knew or should have known that its

         actions could be construed as having participated in the racketeering enterprise under

         C.R.S. 18-17-103(3). In fact, upon information and belief, name partner Steven W.

         Farber is the “F” in CLFS.

   15.   However, Brownstein Farber and Lustig have used these unenforceable confidentiality

         provisions to coerce silence among the IPO Market Manipulation Scheme’s participants.



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                 For example, just days ago, Rob Kaufmann, a partner at Brownstein Farber, called

                 Confidential Co-conspirator No. 2, who was in settlement discussions with Plaintiffs, and

                 threatened that Lustig would “wreck him” if he disclosed any information about the IPO

                 Market Manipulation Scheme to Plaintiffs, warning specifically that “Jimmy [Lustig] will

                 sue you for millions if you give out any info.”3

   16.           Moreover, to further the conspiracy, Lustig has not only threatened the other participants

                 of the IPO Market Manipulation Scheme, including as described in paragraph 15 above,

                 but also, according to statements made to Mr. Berlin, has been paying all of the other

                 Defendants’ legal fees in this action.

   17.           The IPO Market Manipulation Scheme has enabled Lustig to profit from a far greater

                 number of IPO Shares than he would have had he simply generated commissions for the

                 Banks in his own account with each Bank through legitimate trading. Indeed, but for the

                 IPO Market Manipulation Scheme, the majority of the IPO Shares that Lustig has

                 received and/or profited from would, under the policies of the Banks, instead have been

                 allocated to Plaintiffs and other innocent clients of the Banks. As a result of the IPO

                 Market Manipulation Scheme, Plaintiffs have seen a steady decrease in the amount of

                 IPO Shares allocated to them, and thus a steady decrease in the profits that they have

                 earned on the sale of such IPO Shares.

   18.           Moreover, by creating nearly thirty illegal sham entities and engaging in wash trading to

                 artificially generate commissions, Lustig and the other Defendants have caused (and


                                                               
   3
    Referenced throughout this Complaint are eight Confidential Coconspirators who have
   provided information to Plaintiff.


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          continue to cause) an artificial increase in the number of accounts with which Plaintiffs

          must compete in order to become top tier clients of each Bank, which has required

          Plaintiffs to increase their—legitimate and lawful—trading activity in order to generate

          up to five times higher commissions. Thus, Lustig has knowingly and intentionally

          artificially increased (and continues to knowingly and intentionally artificially increase)

          the true price of the IPO Shares – i.e., the amount of commissions that Plaintiffs and

          other innocent clients of the Banks must generate in order to be considered top tier clients

          and allocated IPO Shares.

    19.   Since in or about December 2017, several participants in the IPO Market Manipulation

          Scheme have revealed to Mr. Berlin the nature and scope of the IPO Market

          Manipulation Scheme. Redacted declarations by three of these Confidential Co-

          conspirators are attached to this Complaint as Exhibit 1 (Declaration of Confidential Co-

          conspirator No. 1), Exhibit 2 (Declaration of Confidential Co-conspirator No. 2), and

          Exhibit 3 (Declaration of Confidential Co-conspirator No. 3), and are hereby

          incorporated by reference herein.

    20.   On December 13, 2017, Plaintiffs filed a complaint in this Court against Lustig, JAL,

          CLFS, United and several other affiliated defendants in connection with their

          racketeering activity, including their illegal manipulation of the allocation of IPO Shares,

          at J.P. Morgan (the “First Action”). That case is numbered 1:17-CV-02992-STV.

    21.   On January 24, 2018, Plaintiffs filed a complaint in this Court against Lustig, JAL,

          CLFS, United and several other affiliated defendants in connection with their

          racketeering activity, including their illegal manipulation of the allocation of IPO Shares



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          at the other Banks (i.e., Deutsche Bank, Citigroup, Goldman Sachs, Morgan Stanley,

          Jefferies, Barclays, and Credit Suisse) (the “Second Action”). That case is numbered

          1:18-CV-00190-STV.

    22.   Both cases seek to hold those Defendants accountable for their racketeering activity,

          including illegal manipulation of the allocation of IPO Shares at the Banks, which has

          resulted (and continues to result) in significant losses to Plaintiffs and others.

    23.   On August 8, 2018, upon joint motion of the parties, this Court consolidated the First

          Action and the Second Action under the case number 1:17-CV-02992-STV and permitted

          Plaintiffs to file this Amended Consolidated Complaint.


                             PARTIES, JURISDICTION AND VENUE


    24.   Plaintiff Birchwood is a Colorado corporation which, at all times relevant to the claims

          herein, maintained its principal place of business in Colorado.

    25.   Plaintiff Detroit Street is a Colorado corporation which, at all times relevant to the claims

          herein, maintained its principal place of business in Colorado.

    26.   At all times relevant to the claims asserted herein, Defendant Lustig resided in California

          and Colorado but was domiciled in Colorado. Lustig maintains his principal place of

          business at 410 17th Street, Suite 1705, Denver, CO 80202.

    27.   Defendant JAL is a corporation registered to transact business in Colorado. JAL, at all

          times relevant to the claims herein, maintained its principal place of business at 410 17th

          Street, Suite 1705, Denver, CO 80202. JAL has two accounts with each of the Banks that

          receive IPO Share allocations: one doing business as Greenwich Asset Management




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          (“Greenwich”) and one doing business as Hampden Place Associates (“Hampden Place”

          and, together with Greenwich, the “JAL DBAs”). “JAL” stands for James Altman Lustig

          and is controlled by Lustig.

    28.   Defendant CLFS is a limited liability limited partnership registered to transact business in

          Colorado. CLFS, at all times relevant to the claims herein, maintained its principal place

          of business at 410 17th Street, Suite 1705, Denver, CO 80202. “CLFS” stands for Cook,

          Lustig, Farber, and Sapkin. “Farber” refers to Steven W. Farber, of the law firm

          Brownstein Farber, and “Sapkin” refers to Richard Sapkin. “Cook” refers to Herbert

          Cook, who was Lustig, Farber, and Sapkin’s father-in-law. Lustig controls CLFS.

    29.   Defendant United is a corporation registered to transact business in Colorado. United, at

          all times relevant to the claims herein, maintained its principal place of business at 410

          17th Street, Suite 1705, Denver, CO 80202. United is controlled by Lustig.

    30.   Defendant Global Cap Limited, Inc. (“Global”) is a Delaware Corporation registered to

          transact business in Colorado. Global and its manager, Defendant Brandon Perry,

          individually (“Brandon”), at all times relevant to the claims herein, maintained their

          principal place of business at 22 Foxtail Circle, Cherry Hills Village, Colorado 80113.

          Defendant Brandon is a close friend of Defendant Lustig’s. He is also the son of

          Defendant Rest (defined below) and the brother of Defendant Brett (defined below).

    31.   Defendant Ultimate Ventures, Inc. (“Ultimate”) is a corporation registered to transact

          business in Colorado. Ultimate and its manager, Defendant Jonathan Marsico,

          individually (“Marsico”), at all times relevant to the claims herein, maintained their

          principal place of business at 5251 DTC Parkway, Suite 410, Englewood, Colorado



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          80111. Defendant Marsico is a close friend of Lustig’s. He is also the step-son of

          Defendant Sandler (defined below).

    32.   Defendant Haven Capital Ventures Inc. (“Haven”) is a California limited liability

          company registered to transact business in Colorado. Its manager(s) are Defendant(s)

          Brett Perry (“Brett”) and/or Andrew Harrison (“Harrison”). At all times relevant to the

          claims herein, Haven maintained its principal place of business at 4660 La Jolla Village,

          Suite 500, San Diego, California 92122. Brett is a full-time resident of Colorado.

          Through phone calls, emails, and/or in person visits, Haven, Brett and Harrison regularly

          transacted, and continue to transact, business related to the IPO Market Manipulation

          Scheme in Colorado. Additionally, pursuant to C.R.S. 11-51-706(4), Haven’s, Brett’s,

          and Harrison’s violations of C.R.S. 11-51-501, as described more fully below, constitute

          the transaction of business in Colorado for the purpose of establishing personal

          jurisdiction over them under C.R.S. 13-1-124. Defendants Brett and Harrison are close

          friends of Defendant Lustig’s. Defendant Brett is also the brother of Defendant Brandon

          and the son of Defendant Rest (defined below). Defendant Harrison is also the ex-

          brother-in-law of Defendant Alterman (defined below).

    33.   Defendant Pinehurst Capital, Inc. (“Pinehurst”) is a corporation registered to transact

          business in Colorado. Pinehurst and its manager, Defendant William Sandler,

          individually (“Sandler”), at all times relevant to the claims herein, maintained their

          principal place of business at 4 Buell Mansion Parkway, Cherry Hills Village,

          Englewood, Colorado 80113. Defendant Sandler is a close friend of Defendant Lustig’s.

          He is also the step-father of Defendant Marsico.



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    34.   Defendant Rancho Holdings, LLC (“Rancho”) is a limited liability company registered to

          transact business in Colorado. Rancho and its manager(s), Defendant(s) Harrison and/or

          Brett, individually, at all times relevant to the claims herein, maintained their principal

          place of business at 4950 S. Yosemite St., F2#349, Greenwood Village, CO 80111.

    35.   Defendant JZ Capital, LLC (“JZ”) is a limited liability company registered to transact

          business in Colorado. JZ and its manager, Defendant Samuel Zaitz, individually

          (“Zaitz”), at all times relevant to the claims herein, maintained their principal place of

          business at 55 Cherry Lane Drive, Englewood, Colorado 80113. Defendant Zaitz is a

          friend of Defendant Lustig’s.

    36.   Defendant SMM Investments, Inc. (“SMM”) is a corporation registered to transact

          business in Colorado. SMM and its manager, Defendant Stewart “Skip” Miller,

          individually (“Miller”), at all times relevant to the claims herein, maintained their

          principal place of business at 999 18th Street, Suite 3000, Denver, Colorado 80202.

          Defendant Miller is Defendant Lustig’s brother-in-law.

    37.   Defendant Arrowhead Investments, Inc. (“Arrowhead”) is a corporation registered to

          transact business in Colorado. Arrowhead and its manager, Defendant Steve Shoflick,

          individually (“Shoflick”), at all times relevant to the claims herein, maintained their

          principal place of business at 4200 East Perry Parkway, Greenwood Village, Colorado

          80121. Defendant Shoflick is Defendant Lustig’s nephew-in-law. He is also Defendant

          Miller’s son-in-law.

    38.   Defendant Alterman Harrison Investments, Inc. (“AHI”) is a corporation registered to

          transact business in Colorado. AHI and its manager, Defendant Bennett Paul “Buzz”



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          Alterman, individually (“Alterman”), at all times relevant to the claims herein,

          maintained their principal place of business at 7877 East Mississippi Ave., #107, Denver,

          Colorado 80247. Defendant Alterman is a friend of Defendant Lustig’s. He is also

          Defendant Harrison’s former brother-in-law.

    39.   Defendant Allied Funding, Inc. (“Allied”) is a Delaware corporation registered to transact

          business in Colorado. Allied and its manager, Defendant Brandon, individually, at all

          times relevant to the claims herein, maintained their principal place of business at 4950

          South Yosemite Street, #F2411, Greenwood Village, Colorado 80111.

    40.   Defendant Rio Norte Capital, Inc. (“Rio Norte”) is a corporation registered to transact

          business in California. Rio Norte and its manager, Defendant Ken Lande, individually

          (“Lande”), at all times relevant to the claims herein, maintained their principal place of

          business at 2851 Haddington Drive, Los Angeles, California 90064. Through phone calls,

          emails, and/or in person visits, Rio Norte and Lande regularly transacted, and continue to

          transact, business related to the IPO Market Manipulation Scheme in Colorado.

          Additionally, pursuant to C.R.S. 11-51-706(4), Lande’s and Rio Norte’s violations of

          C.R.S. 11-51-501, as described more fully below, constitute the transaction of business in

          Colorado for the purpose of establishing personal jurisdiction over them under C.R.S. 13-

          1-124. Defendant Lande is Defendant Lustig’s son-in-law.

    41.   Defendant Mesa Investment Partners, LLC (“Mesa”) is a limited liability company

          registered to transact business in California. Mesa and its manager, Defendant Todd J.

          Eberstein, individually (“Eberstein”), at all times relevant to the claims herein,

          maintained their principal place of business at 465 Mesa Road, Santa Monica, California



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          90402. Through phone calls, emails, and/or in person visits, Mesa and Eberstein

          regularly transacted, and continue to transact, business related to the IPO Market

          Manipulation Scheme in Colorado. Additionally, pursuant to C.R.S. 11-51-706(4),

          Eberstein’s and Mesa’s violations of C.R.S. 11-51-501, as described more fully below,

          constitute the transaction of business in Colorado for the purpose of establishing personal

          jurisdiction over them under C.R.S. 13-1-124. Defendant Eberstein is related to a close

          friend of Defendant Lustig’s.

    42.   Defendant JMC Capital, Inc. (“JMC”) is a corporation registered to transact business in

          California. JMC and its manager, Defendant Jordan Cohen, individually (“Cohen”), at all

          times relevant to the claims herein, maintained their principal place of business at 9595

          Wilshire Boulevard, Suite 410, Beverly Hills, California 90212. Through phone calls,

          emails, and/or in person visits, JMC and Cohen regularly transacted, and continue to

          transact, business related to the IPO Market Manipulation Scheme in Colorado.

          Additionally, pursuant to C.R.S. 11-51-706(4), Cohen’s and JMC’s violations of C.R.S.

          11-51-501, as described more fully below, constitute the transaction of business in

          Colorado for the purpose of establishing personal jurisdiction over them under C.R.S. 13-

          1-124. Defendant Cohen is a friend of Defendant Lustig’s.

    43.   Defendant Peak Capital Partners, Inc. (“Peak”) is a corporation registered to transact

          business in Colorado. Peak and its manager, Defendant Ricki Rest, individually (“Rest”),

          at all times relevant to the claims herein, maintained their principal place of business at 5

          Cherry Hills Farm Drive, Englewood, CO 80113. Defendant Rest is a close friend of

          Defendant Lustig’s. She is also Defendants Brandon and Brett’s mother.



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    44.           Defendant JAF Holdings, Inc. (“JAF”) is a New Jersey corporation registered to transact

                  business in New York. JAF and its manager, Defendant Jeremy Fraenkel, individually

                  (“Fraenkel”), at all times relevant to the claims herein, maintained their principal place of

                  business at 250 E. 63rd St., Apt. 19C, New York, NY 10065.4 Through phone calls,

                  emails, and/or in person visits, JAF and Fraenkel regularly transacted, and continue to

                  transact, business related to the IPO Market Manipulation Scheme in Colorado.

                  Additionally, pursuant to C.R.S. 11-51-706(4), Fraenkel’s and JAF’s violations of C.R.S.

                  11-51-501, as described more fully below, constitute the transaction of business in

                  Colorado for the purpose of establishing personal jurisdiction over them under C.R.S. 13-

                  1-124.

    45.           Defendant Preakness Capital Management Inc. (“Preakness”) is a corporation registered

                  to transact business in Colorado. Preakness and its manager, William Hall, individually

                  (“Hall”), at all times relevant to the claims herein, maintained their principal place of

                  business in Denver, Colorado. Defendant Hall is a business associate of Defendant

                  Lustig’s.

    46.           Defendant Davis Family Office, Inc. (“DFO”) is a corporation registered to transact

                  business in California. DFO and its manager, Defendant Nancy Davis, individually

                  (“Davis”), at all times relevant to the claims herein, maintained their principal place of

                  business at 14023 Aubrey Road, Beverly Hills CA 90210. Through phone calls, emails,


                                                                
    4
      Defendant Fraenkel is being substituted for former Defendant Jan Falber, who was named in
    error in lieu of Fraenkel, an error which Plaintiffs recently discovered. Fraenkel, who is the
    manager of JAF, has been on notice of this action, and his potential liability as JAF’s manager,
    since at least January 10, 2018, when JAF was served with the complaint in the First Action.


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          and/or in person visits, DFO and Davis regularly transacted, and continue to transact,

          business related to the IPO Market Manipulation Scheme in Colorado. Additionally,

          pursuant to C.R.S. 11-51-706(4), DFO’s and Davis’ violations of C.R.S. 11-51-501, as

          described more fully below, constitute the transaction of business in Colorado for the

          purpose of establishing personal jurisdiction over them under C.R.S. 13-1-124.

          Defendant Davis is a close personal friend of Defendant Lustig’s and the wife of

          Defendant Rickel (defined below).

    47.   Defendant DTA Capital Inc. (“DTA”) is a corporation registered to transact business in

          Colorado. DTA and its manager, Defendant Ronald Stephen Vlosich, individually

          (“Vlosich”), at all times relevant to the claims herein, maintained their principal place of

          business at 11274 W. Asbury Avenue, Lakewood, CO 80227. Defendant Vlosich is an

          acquaintance of Lustig’s.

    48.   Defendant Flamingo Group, Inc. (“Flamingo”) is a corporation registered to transact

          business in Colorado. Flamingo and its manager, Defendant Danny Pepper (“Pepper”), at

          all times relevant to the claims herein, maintained their principal place of business at

          2025 East Alameda Avenue, Denver, CO 80209. Defendant Pepper is Defendant

          Lustig’s brother-in-law.

    49.   Defendant Irving Investors Income Fund LLC (“Irving Income”) is a limited liability

          company registered to transact business in Colorado. At all times relevant to the claims

          herein, Irving Income maintained its principal place of business at 100 Fillmore St., 5th

          Floor, Denver, CO 80206. Defendant Jeremy Abelson (“Jeremy”) is the manager of

          Irving Income.



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    50.   Defendant Irving Investors Privates, LLC (“Irving Privates”) is a limited liability

          company registered to transact business in Colorado. At all times relevant to the claims

          herein, Irving Privates maintained its principal place of business at 3777 South Dahlia

          Street, Cherry Hills Village, CO 80113. Defendant Jeremy is the manager of Irving

          Privates.

    51.   Defendant Irving Investors Real Estate Fund I, LLC (“Irving Real Estate”) is a limited

          liability company registered to transact business in Colorado. At all times relevant to the

          claims herein, Irving Real Estate maintained its principal place of business at 100

          Fillmore St., 5th Floor, Denver, CO 80206. Defendant Jeremy is the manager of Irving

          Real Estate.

    52.   At all times relevant to the claims herein, Defendant Jeremy maintained his domicile at

          3777 South Dahlia Street, Englewood, CO 80113. Defendant Jeremy is Defendant

          Lustig’s nephew-in-law. He is also the son-in-law of Defendant Miller, brother-in-law of

          Defendant Shoflick, and husband of Defendant Mia (defined below).

    53.   Defendant Lion Gate Capital, Inc. (“Lion Gate”) is a corporation registered to transact

          business in California. Lion Gate and its manager, Defendant Kenneth Rickel,

          individually (“Rickel”), at all times relevant to the claims herein, maintained their

          principal place of business at 9595 Wilshire Blvd, Suite 410, Beverly Hills, CA 90212.

          Through phone calls, emails, and/or in person visits, Lion Gate and Rickel regularly

          transacted, and continue to transact, business related to the IPO Market Manipulation

          Scheme in Colorado. Additionally, pursuant to C.R.S. 11-51-706(4), Lion Gate’s and

          Rickel’s violations of C.R.S. 11-51-501, as described more fully below, constitute the



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          transaction of business in Colorado for the purpose of establishing personal jurisdiction

          over them under C.R.S. 13-1-124. Defendant Rickel is a close personal friend of

          Defendant Lustig’s. He is also married to Defendant Davis.

    54.   Defendant Mack Investor Group, Inc. (“Mack”) is a corporation registered to transact

          business in New York. Mack and its manager, Defendant Aaron Wolk, individually

          (“Wolk”), at all times relevant to the claims herein, maintained their principal place of

          business at 111 East 14th Street, Suite 306, New York, NY 10003. Through phone calls,

          emails, and/or in person visits, Mack and Wolk regularly transacted, and continue to

          transact, business related to the IPO Market Manipulation Scheme in Colorado.

          Additionally, pursuant to C.R.S. 11-51-706(4), Mack’s and Wolk’s violations of C.R.S.

          11-51-501, as described more fully below, constitute the transaction of business in

          Colorado for the purpose of establishing personal jurisdiction over them under C.R.S. 13-

          1-124. Defendant Wolk is a business associate of Defendant Lustig’s.

    55.   Defendant MSM Capital Management, Inc. (“MSM”) is a corporation registered to

          transact business in Colorado. MSM and its manager, Defendant Mia Abelson (“Mia”),

          at all times relevant to the claims herein, maintained their principal place of business at

          1400 16th Street, Suite 400, Denver, CO 80202. Mia is Lustig’s niece. She is also the

          daughter of Defendant Miller and the wife of Defendant Jeremy.

    56.   Defendant Prudent Capital, LLC (“Prudent”) is a limited liability company registered to

          transact business in Delaware. Prudent and its manager, Defendant John Goldenberg,

          individually (“Goldenberg”), at all times relevant to the claims herein, maintained their

          principal place of business at 5 Cottage Road, Mount Kisco, NY 10549. Through phone



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          calls, emails, and/or in person visits, Prudent and Goldenberg regularly transacted, and

          continue to transact, business related to the IPO Market Manipulation Scheme in

          Colorado. Additionally, pursuant to C.R.S. 11-51-706(4), Prudent and Goldenberg’s

          violations of C.R.S. 11-51-501, as described more fully below, constitute the transaction

          of business in Colorado for the purpose of establishing personal jurisdiction over them

          under C.R.S. 13-1-124. Defendant Goldenberg is a business associate of Defendant

          Lustig’s.

    57.   Defendant Quandary Capital Inc. (“Quandary”) is a corporation registered to transact

          business in Colorado. Quandary and its manager, Defendant Melissa Mackiernan,

          individually (“Mackiernan”) at all times relevant to the claims herein, maintained their

          principal place of business at 100 Filmore Street, 5th Floor, Denver, CO 80206.

          Defendant Mackiernan is Defendant Lustig’s niece. She is also the sister of Defendant

          Mia and the daughter of Defendant Miller.

    58.   Defendants Global, Ultimate, Haven, Pinehurst, Rancho Holdings, JZ, SMM, Arrowhead,

          AHI, Allied, Rio Norte, Mesa, JMC, Peak, JAF, Preakness, DFA, DTA, Flamingo, Irving

          Income, Irving Privates, Irving Real Estate, Lion Gate, Mack, MSM, Prudent, and

          Quandary shall be collectively referred to herein as the “Affiliated Entities.”

    59.   Defendants Brandon, Marsico, Brett, Sandler, Harrison, Zaitz, Miller, Shoflick,

          Alterman, Lande, Eberstein, Cohen, Rest, Fraenkel, Hall, Davis, Vlosich, Pepper,

          Jeremy, Rickel, Wolk, Mia, Goldenberg, and Mackiernan shall be collectively referred to

          herein as the “Affiliated Individuals.”




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    60.   The Affiliated Entities and the Affiliated Individuals shall be collectively referred to

          herein as the “Affiliates.”

    61.   The acts and omissions complained of herein, which directly caused injury to Plaintiffs,

          occurred in Denver County, State of Colorado.

    62.   This Court has jurisdiction over the parties for the reasons set forth in paragraphs 26-57.

    63.   This Court has original subject matter jurisdiction over the Tenth, Eleventh, Twelfth and

          Thirteenth Claims to Relief set forth herein pursuant to 28 U.S. Code § 1331 because

          such claims arise under the laws of the United States.

    64.   This Court has supplemental subject matter jurisdiction over the First, Second, Third,

          Fourth, Fifth, Sixth, Seventh, Eighth, Ninth, Fourteenth and Fifteenth Claims to Relief set

          forth herein pursuant to 28 U.S.C. § 1367 because such claims are so related to claims

          within the Court’s original jurisdiction as set forth in paragraph 63 that they form part of

          the same case or controversy under Article III of the United States Constitution.

    65.   This civil action is properly brought in this judicial district pursuant to 28 U.S.C. §

          1391(b)(2) because this judicial district is the locus in which a substantial part of the

          events and omissions giving rise to the claims occurred.


                                        GENERAL ALLEGATIONS


    66.   In order to raise new capital, a company may decide to sell ownership of its shares to the

          public by issuing stock in an initial public offering, or “IPO.” As an integral step in this

          process, the company will retain one or more investment banks that will agree to

          underwrite the IPO. When a company goes public, the initial offering price (the price




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          paid by the initial buyers of the stock) is established by the company and underwriters

          based on their best estimation of the market. Once issued, the stock price is determined

          by market forces. It has been documented that shares issued in IPOs generally trade on

          the open market at a price significantly higher than the initial offering price. Thus,

          investors who can purchase the stock at the initial offering price can often make an

          immediate and substantial profit by selling their stock in the aftermarket at the higher

          post-IPO price. As a result, investors vie for the right to purchase stock at the initial IPO

          price.

    67.   The affiliates of the Banks are among the world’s leading underwriters, and as part of

          their work for companies going public, the Banks typically receive allotments of IPO

          stock at the attractive initial IPO price.

                                 J.P. Morgan’s IPO Allocation Policies

    68.   Plaintiffs Birchwood and Detroit Street are securities traders that opened accounts at

          J.P. Morgan in 2005 and 2013, respectively, for the purpose of engaging in securities

          transactions. At the time of opening its account, Plaintiff Birchwood was informed

          that, under then-prevailing J.P. Morgan policies, if Birchwood (directly or through its

          affiliates) deposited in excess of $10 million with J.P. Morgan, it would provide

          Birchwood with preferential access to valuable allocations of IPO Shares from an

          exclusive J.P. Morgan trading desk in New York City, and that the IPO Share

          allocations were exclusive benefits reserved for J.P. Morgan’s private clients –

          clients whose deposits at J.P. Morgan were above a certain threshold.




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    69.   In accordance with J.P. Morgan’s policies, and in part in order to receive preferential

          access to IPO Share allocations, Birchwood, through its affiliates, deposited in

          excess of $10 million with J.P. Morgan (or its affiliates) when its securities account

          was opened in or around 2005, and began receiving and trading valuable IPO Share

          allocations. Birchwood (and, later, Detroit Street) opted to purchase every IPO Share

          allocation offered to them by J.P. Morgan and earned profits of approximately $3 to

          $5 million per year from the sale of such IPO Shares over the first several years their

          accounts with J.P. Morgan were open.

    70.   In or around 2008, without notifying Birchwood, J.P. Morgan changed its policy

          such that it would allocate IPO Shares to its private banking clients based on the

          amount of commission revenue each account generated for J.P. Morgan through

          trading in securities, rather than the amount each account had on deposit. Pursuant to

          this policy change, clients were not required to have deposited in excess of $10

          million with J.P. Morgan in order to be eligible to receive IPO Share allocations

          provided that they generated at least $600,000 in commission revenue for J.P.

          Morgan before receiving IPO Share allocations.

    71.   After this policy change (of which Birchwood was at first unaware), those clients

          with at least $10 million on deposit and those that had generated at least $600,000 in

          commissions (but did not have at least $10 million on deposit) would compete with

          each other to become top tier clients of J.P. Morgan, i.e. to be among the highest

          commission-generating accounts, as those top tier clients would receive the vast

          majority of J.P. Morgan’s IPO Share allocations. To remain top tier clients, and



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          thereby to receive the most IPO Share allocations, a J.P. Morgan customer would

          have to generate as much as $100,000 in commissions every month.

    72.   Because of the way J.P. Morgan’s rules were structured, multiple clients generating

          trading commissions for it would collectively be allocated a larger number of IPO Shares

          by J.P. Morgan than an individual client generating the same total amount of commission.

          For example, if Companies A, B, C, D, and E each separately generated $600,000 in

          commissions for J.P. Morgan in one year, for a total of $3 million, the total number of

          IPO Shares that were allocated to them, collectively, would be larger than the number of

          IPO Shares allocated to Company F, which had itself generated $3 million in

          commissions for J.P. Morgan that same year.

    73.   Birchwood continued the banking relationship with J.P. Morgan after this policy

          change regarding how IPO Shares are allocated, and substantially increased its

          trading activity in an effort to remain a top tier client of the Bank. In 2013, as a

          result of an internal restructuring of Mr. Berlin’s family office, Birchwood closed its

          account with J.P. Morgan and Detroit Street opened an account with J.P. Morgan

          through which Mr. Berlin began conducting securities trading. From that point on,

          Detroit Street continually increased its legitimate trading activity in an effort to

          remain a top tier client of J.P. Morgan.

    74.   Defendants have been unscrupulously exploiting J.P. Morgan’s new allocation policy

          regarding IPO Shares since at least 2011. Through a series of fraudulent schemes to

          open multiple accounts in violation of J.P. Morgan and FINRA rules and policies,

          and then to engage in collusive sham trading, Defendants unlawfully obtained the



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          opportunity to purchase a greater portion of the IPO Shares allocated by J.P. Morgan,

          thus: (i) reducing the number of IPO Shares that Birchwood and (later) Detroit Street

          were able to buy and costing Birchwood and (later) Detroit Street the financial

          benefits flowing from those purchases; and (ii) artificially driving up the true cost of

          those IPO Shares that Plaintiffs were able to purchase by artificially inflating the

          amount of commissions that Plaintiffs had to generate in order to receive such IPO

          Share allocations from J. P. Morgan.

                             IPO Allocation Policies of the Other Banks


    75.   Plaintiffs Birchwood and Detroit Street also opened accounts at each of the other

          seven Banks (i.e., Deutsche Bank, Citigroup, Goldman Sachs, Morgan Stanley,

          Jefferies, Barclays, and Credit Suisse (collectively, the “Other Banks”)) for the

          purpose of engaging in securities transactions. At the time of opening their accounts

          in 2006, and at various times thereafter, Plaintiffs were informed that, as top tier

          clients of the respective Other Banks, they would be eligible to compete for IPO

          Shares based on the amount of commission revenue each account generated for the

          Other Banks through trading in securities. To remain top tier clients, and thereby to

          receive the most IPO Share allocations, customers of the Other Banks would have to

          generate as much as $100,000 in commissions every month per Bank.

    76.   Like with J.P. Morgan, the Other Banks’ rules were structured such that multiple clients

          generating trading commissions for any one Bank would collectively be allocated a larger

          number of IPO Shares by that Bank than an individual client generating the same total

          amount of commission. For example, if Companies A, B, C, D, and E each separately


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          generated $600,000 in commissions for Deutsche Bank in one year, for a total of $3

          million, the total number of IPO Shares that were allocated to them, collectively, would

          be larger than the number of IPO Shares allocated to Company F, which had itself

          generated $3 million in commissions for Deutsche Bank that same year.

    77.   Initially, either Plaintiff Birchwood or Detroit Street opened an account with each of the

          Other Banks. In 2013, as a result of an internal restructuring of Mr. Berlin’s family

          office, Birchwood closed its accounts with the Banks and Mr. Berlin continued

          conducting securities trading through Detroit Street’s accounts only, with Detroit Street

          opening accounts at those Banks at which it did not previously have one.

    78.   Defendants have been unscrupulously exploiting the Banks’ allocation policies regarding

          IPO Shares since at least 2011. Through a series of fraudulent schemes to open accounts

          in violation of Bank and FINRA rules and policies, and then to engage in collusive sham

          trading, Defendants unlawfully obtained the opportunity to purchase a greater portion of

          the IPO Shares allocated by the Other Banks, thus: (i) reducing the number of IPO Shares

          that Birchwood and (later) Detroit Street were able to buy and costing Birchwood and

          (later) Detroit Street the financial benefits flowing from those purchases; and (ii)

          artificially driving up the true cost of those IPO Shares that Plaintiffs were able to

          purchase by artificially inflating the amount of commissions that Plaintiffs had to

          generate in order to receive such IPO Share allocations from the Other Banks.




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                       Lustig’s Scheme to Manipulate the IPO Allocation Market


    79.   To carry out their scheme to exploit the Banks’ rules and conduct their multi-billion

          dollar fraud on the market with the express purpose of illegally acquiring a

          disproportionate amount of IPO Shares, Lustig, United, JAL, and CLFS (the “Lustig

          Defendants”) trained the Affiliates and other co-conspirators on how to do wash

          trades and directed them in selecting which securities to trade, met with them once a

          week to coordinate trading, and provided daily, weekly, monthly, quarterly and

          annual statements. Moreover, each participant had access to databases openly

          revealing the other participants’ identities and trading activity. Furthermore, non-

          defendant co-conspirator Zach Pashel (“Pashel”) informed Mr. Berlin that David

          Rest, husband of Defendant Rest created an order entry system for Lustig and the

          Affiliates so that Lustig could monitor each Affiliated Entity’s trading positions in

          real time.

    80.   Secrecy, however, was also a critical feature of the IPO Market Manipulation

          Scheme. Lustig and the law firm Brownstein Farber ensured that each of the co-

          conspirators, including the Affiliates, executed NDAs purporting to keep

          confidential, among other things: (i) the “nature and type of the activities engaged

          in” by the co-conspirators; (ii) the “Transaction Documents”; and (iii) the Lustig

          Defendants’ and other co-conspirators’ identities.

    81.   Since in or around December 2017, several co-conspirators in the IPO Market

          Manipulation Scheme, including Confidential Co-conspirators No. 1 and No. 2, have




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          disclosed to Mr. Berlin the nature and scope of Mr. Lustig’s IPO Market

          Manipulation Scheme. (See Exhibits 1, 2, and 3.)

    82.   Specifically, the Lustig Defendants associated in fact with the Affiliates to create an

          enterprise (the “Enterprise”) which they operated for the purpose of: (i) generating

          commissions for the Banks through wash trading, that is, consummating transactions that

          lack economic substance, and thereby (ii) obtaining greater numbers of IPO Shares and

          profits for the Lustig Defendants and the Affiliates (collectively, the “Defendants”) than

          they would have obtained had they not engaged in the unlawful conduct.

    83.   The Defendants knowingly conducted, and participated in conducting, the Enterprise

          through the repeated commission of acts constituting “racketeering activity” under C.R.S.

          18-17-103(5), including, without limitation:

          a.      conduct indictable under 18 U.S.C. §1341 (mail fraud), 18 U.S.C. § 1343 (wire

                  fraud) and/or 18 U.S.C. § 1956 (laundering of monetary instruments);

          b.      violations of Colorado state securities statutes:

                   i. C.R.S. 11-51-401 (knowingly acting as an unlicensed Broker/Dealer and/or

                      investment adviser and/or failing to file the notice and fee required in

                      sections 11-51-403 and 11-51-404 with the Colorado securities

                      commissioner);

                  ii. C.R.S. 11-51-501(a) (knowing participation in a device, scheme or artifice to

                      defraud in connection with the offer, sale, or purchase of securities);




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                 iii. C.R.S. 11-51-501(1)(b) (knowing participation in the making of untrue

                      statements of material fact, or the omission of necessary statements of

                      material fact in connection with the offer, sale, or purchase of securities); and

                  iv. C.R.S. 11-51-501(1)(c) (knowing participation in acts, practices, and a course

                      of business which operated as a fraud or deceit upon other persons in

                      connection with the offer, sale, or purchase of securities); and

          c.      violations of federal securities statutes:

                   i. subsections (a) and (c) of Rule 10b-5 promulgated by the Securities and

                      Exchange Commission pursuant to 15 U.S.C. §78j(b) (“Rule 10b-5”); and

                  ii. subsection (b) of Rule 10b-5.

    84.   This conduct has directly caused (and continues to directly cause) millions of dollars of

          damages per year to Plaintiffs and other innocent clients of the Banks who are not

          associated with the Enterprise (“Innocent Bank Clients”).

    85.   Specifically, the Defendants’ commission of these acts constituting racketeering activity,

          i.e., the IPO Market Manipulation Scheme, directly caused (and continues to cause) an

          artificial increase in the number of accounts with which Birchwood and Detroit Street

          (and other Innocent Bank Clients) were (and are) required to compete in order to remain

          top tier clients at each of the Banks, and thus an artificial increase in the amount of

          commissions that Birchwood and Detroit Street (and other Innocent Bank Clients) were

          (and are) required to generate in order to remain top tier clients at each of the Banks

          which were eligible for the IPO Shares. Indeed, at J.P. Morgan alone, Birchwood and

          (later) Detroit Street had to generate up to five times higher commissions just to remain



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          top tier clients and continue to receive IPO Share allocations. Thus, the Defendants have

          knowingly and intentionally artificially increased (and continue to knowingly and

          intentionally artificially increase) the true price of the IPO Shares – i.e., the amount of

          commissions that Plaintiffs and other Innocent Bank Clients were (and are) required to

          generate in order to be considered top tier clients and allocated IPO Shares.

    86.   The IPO Market Manipulation Scheme has also directly caused (and continues to cause)

          the Affiliated Entities to receive substantial numbers of IPO Shares that otherwise would

          have been allocated to Plaintiffs and other Innocent Bank Clients. The sale of such IPO

          Shares by the Affiliated Entities generated (and continues to generate) substantial profits

          that were (and are) shared by Lustig and the Affiliated Individuals but that, in the absence

          of the misconduct described herein, would have been shared by Plaintiffs and the other

          Innocent Bank Clients. Indeed, Birchwood and Detroit Street have seen their profits

          from the sale of IPO Shares allocated to them decrease steadily over the past seven years,

          notwithstanding that the amounts they have paid in commissions to the Banks have

          skyrocketed over that same period.

    87.   The IPO Market Manipulation Scheme operated (and continues to operate) as follows:

           a.     At the direction of Lustig and its respective Affiliated Individual, each Affiliated

                  Entity opened a brokerage account with one or more of the Banks. Many of

                  these entities were straw men entities. For example, Confidential Co-conspirator

                  No. 3 admitted that, despite the fact that he is the President of one of the entities

                  involved in the IPO Market Manipulation Scheme, he has no management role

                  other than to occasionally execute documents, no knowledge of or involvement



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                in the purchase or sale of securities, and no knowledge of what persons in fact

                trade securities for that entity. (See Exhibit 3.)

          b.    One or more of the Lustig Defendants provided approximately $600,000 to each

                of the Affiliated Entities as well as other co-conspirators, and Lustig directed

                which securities the Affiliated Entities would purchase and sell on an ongoing

                basis. For example, the Lustig Defendants provided Confidential Co-conspirator

                No. 1 and his company with $650,000 and funded Confidential Co-conspirator

                No. 2 and his entity’s account with approximately $680,000, funds which were

                to be repaid over time to the Lustig Defendants.

          c.    Confidential Co-conspirator No. 1 also stated to Mr. Berlin that Lustig conducted

                “primers” for scheme participants to teach them how to conduct wash trades, i.e.,

                trades close in time that are designed to cancel each other which are conducted

                solely for the purpose of generating commissions for the Banks. For example,

                Confidential Co-conspirator No. 1 was instructed to buy a specific quantity of a

                specific stock at one of the Banks and simultaneously sell that same quantity of

                the same stock at another Bank. Lustig explained to the Affiliated Individuals

                during these “primers” that wash trades should be conducted using stocks that

                were inexpensive and liquid, such as Sirius Satellite, United States Oil Fund, LP

                (“USO”), Bank of America, and Citigroup. Moreover, Lustig trained the

                participants on how to conceal their wash trading, including, for example, by

                holding back some of the purchased stock and selling it at a slightly later

                interval. For example, he would recommend buying 50,000 shares of one stock



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                and then selling only 40,000 shares simultaneously. By waiting a few minutes to

                sell the remaining 10,000 shares, the co-conspirators would be able to trade at a

                slightly different price on those shares, which would inhibit the market from

                detecting pure wash trading while continuing to limit market risk. In so doing,

                Lustig and JAL knowingly acted (and continue to knowingly act) as unlicensed

                broker-dealers and/or investment advisers in violation of C.R.S. 11-51-401,

                and/or have failed to file the notice and pay the fee required in sections 11-51-

                403 and 11-51-404 with the Colorado securities commissioner. Along with

                Lustig, Defendant Brandon conducted similar primers for other co-conspirators,

                including Confidential Co-conspirator No. 2, instructing them on how Mr.

                Lustig’s business worked and how to conduct wash trades and directing them to

                trade in stocks that did not move much in price so as to minimize risk while

                generating commissions for the Banks in order to become eligible to purchase

                IPO Shares. Brandon also regularly had in-person and telephonic meetings with

                these individuals—daily when they first joined the IPO Market Manipulation

                Scheme and later weekly—during which meetings and phone calls Brandon

                would advise which stocks to trade, how and when to do wash trades, and which

                IPO Shares to purchase.

          d.    At the direction of Lustig and its respective Affiliated Individual, each Affiliated

                Entity used (and continues to use) the money fronted by the Lustig Defendants to

                engage in illegal churning by consummating transactions lacking any economic

                substance, e.g., “wash sales,” for the sole purpose of generating enough



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                commissions for the Bank where the account is maintained to remain among that

                Bank’s top tier clients and continue receiving the valuable IPO Share allocations.

                For example, Confidential Co-conspirator No. 1 has advised that all trades made

                by his company between 2011 and 2017 were wash trades executed for the sole

                purpose of generating commissions for the Banks. Similarly, Confidential Co-

                conspirator No. 2 confessed to Mr. Berlin that all of his entity’s trades between

                2011 until 2018 were wash trades.

          e.    Confidential Co-conspirator No. 8 (a friend and business associate of Defendant

                Lustig’s) also regularly conducted wash trades through the entity he managed.

                Indeed, as reflected on trading records (see Restricted Exhibit A) prepared for

                Confidential Co-conspirator No. 8 by CLFS., the following transactions

                constitute wash trades designed to mislead the market as to the nature and extent

                of the trading and to generate commissions for the Banks in order to obtain IPO

                Share allocations:

                   i. On February 1, 2017, Confidential Co-conspirator No. 8, through his

                      entity, purchased and sold 100,000 shares of Univar Inc. (“Univar”) at

                      approximately the same price per share, resulting in a loss (including

                      trading commissions) of $6,353, or approximately $.06 per share. The

                      industry standard for trading commissions in brokerage accounts is

                      approximately $.03-$.10 per share per trade. Thus, a strong inference can

                      be drawn that the $6,353 loss that Confidential Co-conspirator No. 8’s

                      entity incurred on this same-day purchase and sale of Univar is made up



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                     almost entirely – if not entirely – of the commissions paid to the Banks

                     through which the purchase and sale were executed (i.e.¸ approximately

                     $.03 per share to the Bank through which the purchase was executed and

                     approximately $.03 per share to the Bank through which the sale was

                     executed), and thus that the trades were entered into for the sole purpose

                     of generating such commissions in exchange for future IPO Share

                     allocations or to pay the Banks back for past IPO Share allocations, rather

                     than for legitimate trading purposes.

                  ii. On March 1, 2017, one day before Snapchat’s IPO, Confidential Co-

                     conspirator No. 8, through his entity, purchased and sold 50,000 shares of

                     Whiting Petroleum Corp. (“Whiting”) at approximately the same price per

                     share, resulting in a loss (including trading commissions) of $6,607, or

                     approximately $.13 per share. The industry standard for trading

                     commissions in brokerage accounts is approximately $.03-$.10 per share

                     per trade. Thus, a strong inference can be drawn that the $6,607 loss that

                     Confidential Co-conspirator No. 8’s entity incurred on this same-day

                     purchase and sale of Whiting is made up almost entirely – if not entirely –

                     of the commissions paid to the Banks through which the purchase and sale

                     were executed (i.e.¸ approximately $.06 per share to the Bank through

                     which the purchase was executed and approximately $.06 per share to the

                     Bank through which the sale was executed), and thus that the trades were

                     entered into for the sole purpose of generating such commissions in



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                     exchange for future IPO Share allocations, such as allocations of shares of

                     the Snapchat IPO on March 2, 2017, or to pay the Banks back for past IPO

                     Share allocations, rather than for legitimate trading purposes.

                 iii. On March 3, 2017, Confidential Co-conspirator No. 8, through his entity,

                     purchased and sold 50,000 shares of Conduent Inc. Com (“Conduent”) at

                     approximately the same price per share, resulting in a loss (including

                     trading commissions) of $10,690, or approximately $.21 per share. The

                     industry standard for trading commissions in brokerage accounts is

                     approximately $.03-$.10 per share per trade. Thus, a strong inference can

                     be drawn that the $10,690 loss that Confidential Co-conspirator No. 8’s

                     entity incurred on this same-day purchase and sale of Conduent is made up

                     almost entirely – if not entirely – of the commissions paid to the Banks

                     through which the purchase and sale were executed (i.e.¸ approximately

                     $.10 per share to the Bank through which the purchase was executed and

                     approximately $.10 per share to the Bank through which the sale was

                     executed), and thus that the trades were entered into for the sole purpose

                     of generating such commissions in exchange for future IPO Share

                     allocations or to pay the Banks back for past IPO Share allocations, such

                     as the Snapchat IPO on March 2, 2017, rather than for legitimate trading

                     purposes.

                 iv. The trading records prepared for Confidential Co-conspirator No. 8 by

                     CLFS, filed as Restricted Exhibit A, reflect numerous additional wash



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                      trades, including, but not limited to, those trades that have been

                      highlighted.

          f.    Similarly, the trading records prepared by CLFS for Confidential Co-conspirator

                No. 4 and his entity, which are attached to this Complaint as Exhibit 4 and

                incorporated by reference herein, contain numerous instances of wash trades,

                including, but not limited to, those trades that have been highlighted on the

                document.

                   i. For example, on February 23, 2017, Confidential Co-conspirator No. 4

                      purchased and sold 16,500 shares of Cloud Peak Energy Inc. (“Cloud

                      Peak”) at approximately the same price per share, resulting in a loss

                      (including trading commissions) of $1,482, or approximately $.09 per

                      share. The industry standard for trading commissions in brokerage

                      accounts is approximately $.03-$.10 per share per trade. Thus, a strong

                      inference can be drawn that the $1,482 loss that Confidential Co-

                      conspirator No. 4 incurred on this same-day purchase and sale of Cloud

                      Peak is made up almost entirely – if not entirely – of the commissions paid

                      to the Banks through which the purchase and sale were executed (i.e.¸

                      approximately $.04 per share to the Bank through which the purchase was

                      executed and approximately $.04 per share to the Bank through which the

                      sale was executed), and thus that the trades were entered into for the sole

                      purpose of generating such commissions in exchange for future IPO Share

                      allocations, such as the Snapchat IPO on March 2, 2017, or to pay the



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                      Banks back for past IPO Share allocations, rather than for legitimate

                      trading purposes.

                  ii. Additionally, on February 27, 2017 Confidential Co-conspirator No. 4

                      purchased and sold 7,500 shares of Hi-Crush Partners LP (“Hi-Crush”) at

                      approximately the same price per share, resulting in a loss (including

                      trading commissions) of $1,513, or approximately $.20 per share. The

                      industry standard for trading commissions in brokerage accounts is

                      approximately $.03-$.10 per share per trade. Thus, a strong inference can

                      be drawn that the $1,513 loss that Confidential Co-conspirator No. 4

                      incurred on this same-day purchase and sale of Hi-Crush is made up

                      almost entirely – if not entirely – of the commissions paid to the Banks

                      through which the purchase and sale were executed (i.e.¸ approximately

                      $.10 per share to the Bank through which the purchase was executed and

                      approximately $.10 per share to the Bank through which the sale was

                      executed), and thus that the trades were entered into for the sole purpose

                      of generating such commissions in exchange for future IPO Share

                      allocations, such as the Snapchat IPO on March 2, 2017, or to pay the

                      Banks back for past IPO Share allocations, rather than for legitimate

                      trading purposes.

          g.    Moreover, the trading records prepared by CLFS for Confidential Co-conspirator

                No. 6, which are attached to this Complaint as Exhibit 7, and incorporated by




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                reference herein, contain numerous instances of wash trades, including, but not

                limited to, those trades that have been highlighted on the document.

                   i. For example, on February 23, 2017, Confidential Co-conspirator No. 6

                      purchased and sold 10,000 shares of Cloud Peak at approximately the

                      same price per share, resulting in a loss (including trading commissions)

                      of $1,673, or approximately $.17 per share. The industry standard for

                      trading commissions in brokerage accounts is approximately $.03-$.10 per

                      share per trade. Thus, a strong inference can be drawn that the $1,673 loss

                      that Confidential Co-conspirator No. 6 incurred on this same-day purchase

                      and sale of Cloud Peak is made up almost entirely – if not entirely – of the

                      commissions paid to the Banks through which the purchase and sale were

                      executed (i.e.¸ approximately $.08 per share to the Bank through which the

                      purchase was executed and approximately $.08 per share to the Bank

                      through which the sale was executed), and thus that the trades were

                      entered into for the sole purpose of generating such commissions in

                      exchange for future IPO Share allocations, such as the Snapchat IPO on

                      March 2, 2017, or to pay the Banks back for past IPO Share allocations,

                      rather than for legitimate trading purposes.

                  ii. Similarly, on March 10, 2017, Confidential Co-conspirator No. 6

                      purchased and sold 10,334 shares of Cachet Financial (“Cachet”) at

                      approximately the same price per share, resulting in a loss (including

                      trading commissions) of $2,299, or approximately $.22 per share. The



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                      industry standard for trading commissions in brokerage accounts is

                      approximately $.03-$.10 per share per trade. Thus, a strong inference can

                      be drawn that the $2,299 loss that Confidential Co-conspirator No. 6

                      incurred on this same-day purchase and sale of Cachet is made up almost

                      entirely – if not entirely – of the commissions paid to the Banks through

                      which the purchase and sale were executed (i.e.¸ approximately $.11 per

                      share to the Bank through which the purchase was executed and

                      approximately $.11 per share to the Bank through which the sale was

                      executed), and thus that the trades were entered into for the sole purpose

                      of generating such commissions in exchange for future IPO Share

                      allocations, or to pay the Banks back for past IPO Share allocations, such

                      as the Snapchat IPO on March 2, 2017, rather than for legitimate trading

                      purposes.

          h.    Finally, the trading records prepared by CLFS for Confidential Co-conspirator

                No. 7, which are attached to this Complaint, contain numerous instances of wash

                trades, including, but not limited to, those highlighted on Exhibit 12.

                   i. For example, on February 24, 2017, Confidential Co-conspirator No. 7

                      purchased and sold 50,000 shares of Ishares Gold Trust (“Ishares”) at

                      approximately the same price per share, resulting in a loss (including

                      trading commissions) of $3,888, or approximately $.08 per share. The

                      industry standard for trading commissions in brokerage accounts is

                      approximately $.03-$.10 per share per trade. Thus, a strong inference can



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                     be drawn that the $3,888 loss that Confidential Co-conspirator No. 7

                     incurred on this same-day purchase and sale of Ishares is made up almost

                     entirely – if not entirely – of the commissions paid to the Banks through

                     which the purchase and sale were executed (i.e.¸ approximately $.04 per

                     share to the Bank through which the purchase was executed and

                     approximately $.04 per share to the Bank through which the sale was

                     executed), and thus that the trades were entered into for the sole purpose

                     of generating such commissions in exchange for future IPO Share

                     allocations, such as the Snapchat IPO on March 2, 2017, or to pay the

                     Banks back for past IPO Share allocations, rather than for legitimate

                     trading purposes.

                  ii. Similarly, on February 27, 2017, Confidential Co-conspirator No. 7

                     purchased and sold 20,000 shares of USO at approximately the same price

                     per share, resulting in a loss (including trading commissions) of $2,605, or

                     approximately $.13 per share. The industry standard for trading

                     commissions in brokerage accounts is approximately $.03-$.10 per share

                     per trade. Thus, a strong inference can be drawn that the $2,605 loss that

                     Confidential Co-conspirator No. 7 incurred on this same-day purchase and

                     sale of USO is made up almost entirely – if not entirely – of the

                     commissions paid to the Banks through which the purchase and sale were

                     executed (i.e.¸ approximately $.06 per share to the Bank through which the

                     purchase was executed and approximately $.06 per share to the Bank



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                       through which the sale was executed), and thus that the trades were

                       entered into for the sole purpose of generating such commissions in

                       exchange for future IPO Share allocations, such as the Snapchat IPO on

                       March 2, 2017, or to pay the Banks back for past IPO Share allocations,

                       rather than for legitimate trading purposes.


               Through such deceptive and manipulative conduct, the Lustig Defendants and

               Affiliates knowingly and intentionally controlled and artificially affected (and

               continue to knowingly and intentionally control and artificially affect) the market

               for IPO Share allocations by the Banks in violation of C.R.S. 11-51-501(1) (a)

               and (c), as well as subsections (a) and (c) of Rule 10b-5.


          i.    In addition to engaging in illegal wash trading, when required to complete

                account opening documents, as well as FINRA Rule 5130/5131 IPO Disclosure

                Forms, each of the Affiliated Entities, at the direction of the Lustig Defendants

                and its respective Affiliated Individual, violated C.R.S. 11-51-501(1)(b) and

                Rule 10b-5(b) by falsely representing in writing that: (i) the Affiliated Entity’s

                net worth is higher than it actually is; (ii) the funds it uses to conduct trades, pay

                commissions, and purchase IPO Shares come from sources other than the Lustig

                Defendants, such as personal or family wealth; and (iii) no “restricted person”

                has a beneficial interest in the profits from the IPO Share allocations (even

                though Lustig is a restricted person and has a beneficial interest in the profits

                from the IPO Share allocations). For example,




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                  i. Each of the Banks required each Affiliated Entity to complete a

                      “Suitability” form, which requests information regarding annual income,

                      liquid net worth, total net worth, approximate value of investable assets

                      held away from the firm, and primary source of income. Several of the

                      Affiliated Individuals – including Defendants Brandon, Marsico, Harrison,

                      Shoflick, Alterman, Lande, Hall, Pepper, and Rickel – as well as co-

                      conspirators, such as Confidential Co-conspirator No. 2 and Confidential

                      Co-conspirator No. 8, have admitted to Mr. Berlin that they have

                      intentionally significantly inflated their, and their respective Affiliated

                      Entities’, net worth on these forms at the direction of Defendant Lustig.

                      Specifically, Confidential Co-conspirator No. 2 misrepresented that his net

                      worth was between $50-70 million, which is not accurate—in fact, had he

                      stated his true net worth, he would not have qualified as a high net worth

                      individual, which Lustig and Brandon knew. (Exhibit 2.)

                  ii. Moreover, at Lustig’s direction, the Affiliated Entities intentionally did

                      not disclose any of the Lustig Defendants on the Suitability forms even

                      though the Lustig Defendants were the primary source of income for such

                      Affiliated Entities. For example, co-conspirators, including Confidential

                      Co-conspirator No. 2, have admitted to Mr. Berlin that Lustig taught each

                      Affiliated Individual how to create a false family history story to share

                      with the Banks about the origins of his or her wealth. Each Affiliated

                      Individual had to submit (by mail, email, or fax) a Suitability form – and



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                     accordingly necessarily made these misrepresentations – each time they

                     opened an account for their respective Affiliated Entity at one of the

                     Banks.

                 iii. Finally, because FINRA Rule 5130 generally prohibits a broker-dealer

                     from selling IPO Shares to an account for which a “restricted person” has

                     a beneficial interest, or is a beneficial owner, in order to be eligible to

                     receive IPO Share allocations from the Banks, each Affiliated Entity was

                     required to fill out a form with each Bank at which it opened an account

                     representing that no restricted person has a beneficial interest in the

                     account. However, Lustig – who meets the definition of a “restricted

                     person” – in fact had a beneficial interest in each of the Affiliated Entities’

                     accounts. Specifically, a “restricted person” is defined to include “[a]

                     person who has authority to buy or sell securities for a[n] . . . investment

                     advisor . . . .” Lustig is a person who has authority to buy and sell

                     securities for JAL and United, which are themselves investment advisors

                     to all of the Affiliated Entities, as they direct such Entities’ trading.

                     Moreover, based on the structure of the IPO Market Manipulation

                     Scheme, Lustig is entitled to share in the profits generated in each account

                     that each of the Affiliated Entities opens, meaning that he has a “beneficial

                     interest” in each such account. Lustig (for his own entities) and each

                     Affiliated Individual (for its respective Affiliated Entity) had to submit (by

                     mail, email, or fax) a new FINRA 5130 form – and, accordingly,



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                     necessarily made these misrepresentations and omissions – at least twice

                     with each Bank at which it held accounts, once when they first opened

                     their accounts with that Bank, and again between April 2016 and April

                     2017, when the prime broker Lustig used, i.e., Triad Securities Corp.

                     (“Triad”), changed clearing banks, and each of the Affiliated Entities

                     accordingly had to set up a new brokerage account. Indeed, Confidential

                     Co-conspirator No. 6’s FINRA 5130 Form, signed March 30, 2017,

                     making such misrepresentations at Lustig’s direction, is attached as

                     Exhibit 8. Confidential Co-conspirator No. 5’s FINRA 5130 Form, dated

                     May 6, 2016, making such misrepresentations at Lustig’s direction is

                     attached as Exhibit 10. Confidential Co-conspirator No. 4’s 5130 Form,

                     dated September 20, 2016, making such misrepresentations at Lustig’s

                     direction is attached as Exhibit 5. And Confidential Co-conspirator No.

                     7’s FINRA 5130 Form, dated May 21, 2013, making such

                     misrepresentations at Lustig’s direction is attached as Exhibit 13. Lustig,

                     a sophisticated securities trader and mastermind behind the IPO Market

                     Manipulation Scheme was (and is) fully aware that he was (and is) a

                     “restricted person,” but nonetheless: (i) made this misrepresentation on the

                     FINRA 5130 forms that he submitted (by mail, email, or fax) to each Bank

                     at which he opened accounts for his own entities; and (ii) instructed each

                     of the Affiliated Individuals to make this misrepresentation on the FINRA




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                      5130 forms submitted (by mail, email, or fax) to each Bank at which they

                      opened accounts for their respective Affiliated Entities.

          j.    Each Affiliated Entity generated (and continues to generate) substantial

                commissions for each of the Banks at which it holds accounts each year and thus

                received (and continues to receive) many millions of dollars’ worth of IPO Share

                allocations from each of the Banks at which it holds accounts, which it purchased

                and then quickly sold (and continue to purchase and quickly sell) at a substantial

                profit. For example, Confidential Co-conspirator No. 2 specifically told Mr.

                Berlin that he intentionally engaged in wash trades to generate commissions

                sufficient to entitle him to purchase shares of the Ali Baba IPO in September

                2014 and the Facebook IPO in 2012 from Goldman Sachs and other Banks. He

                also intentionally engaged in wash trades of 100,000-150,000 shares per trade in

                the stock of each of USO, Bank of America, Regions Financial and XLF (an

                exchange-traded fund), buying them through Goldman Sachs and selling them

                through J.P. Morgan and Jefferies, around February 27-28, 2017, thereby

                generating commissions sufficient to obtain 9,700 shares of the Snapchat IPO

                from Goldman Sachs, J.P. Morgan, and Jefferies on or about March 2, 2017,

                resulting in a profit of $75,000. Similarly, Confidential Coconspriator No. 8

                engaged in wash trading, such as the March 1, 2017 Whiting Petroleum Corp.

                trades discussed above in paragraph 87(e)(ii) and thereby generated sufficient

                commissions to obtain 14,950 shares of the Snapchat IPO from six different

                brokerage accounts on or about March 2, 2017, resulting in a profit of



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                $93,109.61. Moreover, Confidential Co-conspirator No. 4 conducted multiple

                wash trades (i.e. in Cloud Peak and Hi-Crush) in the days leading up to the

                Snapchat IPO, as discussed above in paragraph 87(f)(i-ii) and thereby generated

                sufficient commissions to obtain 10,210 shares of the Snapchat IPO from

                multiple brokers, resulting in a profit of approximately $76,013.11. (See Exhibit

                4.) Like Confidential Co-conspirator No. 4, Confidential Co-conspirator No. 6

                conducted multiple wash trades (including wash trades in Cloud Peak on the

                same day as Confidential Co-conspirator No. 4) in the days leading up to the

                Snapchat IPO, as discussed above in paragraph 87(g)(i) and thereby generated

                sufficient commissions to obtain 600 shares of the Snapchat IPO from two

                brokers, resulting in a profit of approximately $4,476.92. (See Exhibit 7.)

                Finally, Confidential Co-conspirator No. 7 conducted multiple wash trades in the

                days leading up to the Snapchat IPO, as discussed above in paragraphs 87(h)(i-ii)

                and thereby generated sufficient commissions to obtain 6,350 shares of the

                Snapchat IPO from multiple brokers, resulting in a profit of approximately

                $48,305.80. (See Exhibit 12.) Such coordinated trading was directed by Lustig

                in furtherance of the IPO Market Manipulation Scheme. Indeed, Confidential

                Co-conspirator No. 1 confirmed that Lustig himself held weekly meetings or

                conference calls with the Affiliated Individuals and other co-conspirators to

                coordinate which IPO Shares to purchase, which wash trades to execute, and

                which Banks to use to execute such trades in any given week.




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          k.    The Affiliated Entities repaid (and continue to repay) funds advanced by the

                Lustig Defendants, plus interest. Additionally, in the guise of compensation for

                accounting and administrative services, as much as forty percent of each

                Affiliated Entity’s profits from the sale of IPO Shares are paid to the Lustig

                Defendants. For example, Confidential Co-conspirator No. 1 advised Mr. Berlin

                that under his entity’s agreement with the Lustig Defendants, forty percent of the

                profits it made from the sale of IPO Shares were to be paid to the Lustig

                Defendants, purportedly in exchange for Lustig providing certain back-office

                functions for that entity. Similarly, Confidential Co-conspirator No. 2 advised

                Mr. Berlin that Lustig received between 30-35%, and possibly up to 37.5% of the

                profits from the sale of IPO Shares by his company. Moreover, attached as

                Exhibits 6 and 11, respectively, are example statements from Lustig’s entity,

                Defendant CLFS, for Confidential Co-conspirator No. 4 and Confidential Co-

                conspirator No. 5, demonstrating that CLFS, and, consequently, Lustig, received

                40% of those co-conspirators’ profits up to $1,000,000 and 30% of their profits

                over $1,000,000, while Exhibit 9 demonstrates that Lustig received 30% of

                Confidential Co-conspirator No. 6’s profits. Finally, Lustig received 30% of

                Confidential Co-conspirator No. 7’s profits up to $1,500,000 and 25% of its

                profits over $1,500,000. (See Exhibit 14.)

          l.    The Lustig Defendants and the Affiliates used (and continue to use) the profits

                generated from the sale of the IPO Shares to continue operating the Enterprise

                for the purpose of generating more commissions for the Banks and obtaining



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                more IPO Share allocations for the Affiliated Entities, including by recruiting

                additional affiliates to participate in the IPO Market Manipulation Scheme.

          m.    Each of the Lustig Defendants and the Affiliates used (and continue to use) the

                U.S. mail, telephone, and electronic communications in furtherance of the

                activities described in paragraphs a-l above, in violation of 18 USC §§ 1341

                (mail fraud) and 1343 (wire fraud). Specifically, Defendants used wire

                communications in interstate or foreign commerce via telephone and email in

                violation of 18 U.S.C. §1343 to discuss the IPO Market Manipulation Scheme

                and to effectuate the IPO Market Manipulation Scheme by directing which wash

                trades should be executed through which Banks and which IPO Shares should be

                purchased. For example, Confidential Co-conspirator No. 1 told Mr. Berlin that

                Lustig himself held weekly meetings or conference calls with certain Affiliated

                Individuals and other co-conspirators every Monday morning to coordinate

                which IPO Shares to purchase, which wash trades to execute, and which Banks

                to use to execute such trades in any given week. Similarly, Confidential Co-

                conspirator No. 2 told Mr. Berlin that Brandon met with him in person or

                telephonically throughout the time Confidential Co-conspirator No. 2 managed

                his company from 2011-2018, directing Confidential Co-conspirator No. 2 on

                when and in which stocks to conduct wash trades and which IPO Shares to

                purchase. These meetings initially occurred daily when Confidential Co-

                conspirator No. 2 began participating in the IPO Market Manipulation Scheme in

                2011, and, over time, occurred on a weekly basis. Moreover, Defendants used



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                  the U.S. mail and/or wire communications in interstate or foreign commerce to

                  effectuate the IPO Market Manipulation Scheme by sending Suitability forms

                  and FINRA Rule 5130 forms containing knowing misstatements to the Banks

                  (via mail, email, or fax).

          n.      In violation of 18 U.S.C. § 1956, each of the Lustig Defendants and the Affiliates

                  knowingly engaged in money laundering by conducting financial transactions

                  involving the proceeds of mail fraud and wire fraud as defined in 18 U.S.C. §§

                  1341 and 1343 and fraud in the sale of securities as alleged above: (i) with the

                  intent to promote the carrying on of such mail fraud, wire fraud, and fraud in the

                  sale of securities, and (ii) knowing that the transaction is designed to conceal or

                  disguise the nature, the location, the source, the ownership, or the control of the

                  proceeds of such mail fraud, wire fraud, and fraud in the sale of securities.

    88.   An internal database controlled by the Lustig Defendants, to which Plaintiffs have

          previously had access, contains the following information:

          a.      account numbers for the Affiliated Entities’ accounts;

          b.      information regarding the “wash sales” in which the Affiliated Entities’

                  participated;

          c.      dates of transactions;

          d.      amount of stock traded and dollar amount of transactions;

          e.      sources of funds used to conduct transactions;

          f.      commissions paid on transactions;

          g.      profits and losses from transactions;



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           h.       IPO Share allocations received;

           i.       dates of IPO Share allocations;

           j.       price of allocated IPO Shares;

           k.       number of allocated IPO Shares purchased;

           l.       profits made on sale of purchased IPO Shares; and

           m.       division of profits from sale of purchased IPO Shares.

    89.   The Lustig Defendants and their employees have the user names and passwords

          necessary to access this information. Defendants are under a legal duty to preserve this

          information and requests to preserve this information have been sent to Defendant

          Lustig.

    90.   Similar information is also contained on the website of Triad, the prime broker used by

          Lustig, at: https://secure.triadsecurities.com/login.

    91.   The internal databases controlled by the Lustig Defendants and the information contained

          on the Triad website https://secure.triadsecurities.com/login are incorporated by reference

          as if fully set forth herein.

    92.   Additionally, records identical to the documents prepared by Defendant CLFS attached

          hereto as Exhibits 4, 7, and 12, which list the daily trades by each Affiliated Entity, are

          within the exclusive possession of each such Affiliated Entity, its respective Affiliated

          Individual, and the Lustig Defendants. Defendant Lustig and his attorneys have gone out

          of their way to threaten and intimidate other Defendants and other co-conspirators in

          order to prevent them from disclosing this information to Plaintiffs, even though several

          have expressed an interest in doing so.



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                                 FIRST CLAIM FOR RELIEF
                        Colorado Organized Crime Control Act (COCCA)
                               C.R.S. 18-17-104(3) and 18-17-106

    93.   All allegations previously stated herein are incorporated by reference.

    94.   Each Defendant violated, and continues to violate, C.R.S. 18-17-104(3) because each

          Defendant was (and continues to be) associated with the Enterprise and has knowingly

          participated (and continues to knowingly participate) in the Enterprise through an

          ongoing pattern of racketeering activity.

    95.   The Enterprise is an association in fact among the Lustig Defendants, the Affiliated

          Entities, and the Affiliated Individuals, the purpose of which is to generate trading

          commissions for the Banks through wash trading and to obtain IPO Share allocations for

          the Affiliated Entities, which IPO Share allocations are purchased and then quickly sold

          for profits that are then shared among Lustig and the Affiliated Individuals.

    96.   The pattern of racketeering activity consists of the Defendants’ repeated and ongoing

          violations of 18 USC §§ 1341, 1343, and 1956; C.R.S. 11-51-501(1)(a), (b), and (c); and

          Rule 10b-5(a), (b), and (c), through the IPO Market Manipulation Scheme. The IPO

          Market Manipulation Scheme constitutes:

          a.      a device, scheme or artifice to defraud that Defendants knowingly employed in

                  connection with the offer, sale, and purchase of IPO Shares allocated by the

                  Bank to its clients;

          b.      a course of business knowingly engaged in by Defendants which operated as a

                  fraud or deceit upon Plaintiffs and other Innocent Bank Clients in connection




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                  with the offer, sale, and purchase of IPO Shares allocated by the Bank to its

                  clients; and

          c.      manipulative and deceptive conduct knowingly engaged in by Defendants that

                  controlled and artificially affected the market for IPO Shares allocated by the

                  Bank to its clients, which market was relied upon by Plaintiffs and other

                  Innocent Bank Clients who were injured by reason thereof.

    97.   Moreover, in connection with implementing the IPO Market Manipulation Scheme,

          Lustig, JAL, and the Affiliates have: (i) violated (and continue to violate) Rule 10b-5(b)

          and C.R.S. 11-51-501(1)(b) by making untrue statements of material fact on account

          opening documents and FINRA Form 5130/5131 IPO Disclosure Forms; (ii) used (and

          continue to use) the U.S. mail, telephone, and electronic communication in furtherance of

          such activities in violation of 18 U.S.C. §§ 1341 and 1343; and (iii) violated (and

          continue to violate) the anti-money laundering provisions set forth in 18 U.S.C. § 1956

          by conducting financial transactions involving the proceeds of mail fraud and wire fraud

          as defined in 18 U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged

          above: (A) with the intent to promote the carrying on of such mail fraud, wire fraud, and

          fraud in the sale of securities, and (B) knowing that the transaction is designed to conceal

          or disguise the nature, the location, the source, the ownership, or the control of the

          proceeds of such mail fraud, wire fraud, and fraud in the sale of securities.

    98.   Defendant Lustig knowingly participated, and continues to knowingly participate in

          conducting the Enterprise and the IPO Market Manipulation Scheme as follows:




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          a.    Lustig leads, orchestrates, manages, and is the mastermind behind, the IPO

                Market Manipulation Scheme.

          b.    Lustig directed the opening of separate brokerage accounts at several of the

                Banks, including, at least, J.P. Morgan, Citigroup, Jefferies, Credit Suisse,

                Deutsche Bank, Barclays, and Morgan Stanley, for United and each of the JAL

                DBAs, which Lustig controlled and managed (and continues to control and

                manage). Lustig also opened checking accounts for CLFS and JAL, both of

                which he controlled and managed (and continues to control and manage), at

                banks other than the Banks.

          c.    Lustig directed the opening of separate brokerage accounts for each of the

                Affiliated Entities, which Lustig controlled and managed (and continues to

                control and manage) through a form of joint venture agreement with each such

                Affiliated Entity.

          d.    Lustig provided funds in the amount of approximately $600,000 to United, the

                JAL DBAs, and each of the Affiliated Entities, so that they could engage in

                illegal churning by consummating transactions lacking any economic substance,

                e.g., “wash sales,” for the sole purpose of generating commissions for each of the

                Banks in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and (c).

                For example, Lustig provided Confidential Co-conspirator No. 1 and his

                company with $650,000 and funded Confidential Co-conspirator No. 2 and his

                entity’s account with approximately $680,000, funds which were to be repaid

                over time to Lustig.



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          e.    Lustig provided (and continues to provide) training, advice, and analysis to the

                Affiliated Entities regarding the purchase and sale of securities, and directed (and

                continues to direct) which securities should be purchased and sold. In so doing,

                Lustig knowingly acted (and continues to knowingly act) as an unlicensed

                broker-dealer and/or investment adviser in violation of C.R.S. 11-51-401 and/or

                has failed to file the notice and pay the fee required in sections 11-51-403 and

                11-51-404 with the Colorado securities commissioner. For example, as

                discussed above, Lustig regularly encourages and trains participants on how to

                engage in wash trades, and holds weekly conference calls to direct participants

                on which IPO Shares to purchase, which wash trades to execute, and which

                Banks to use to execute such trades.

          f.    Lustig monitored (and continues to monitor) United’s, the JAL DBAs’ and the

                Affiliated Entities’ accounts and moved (and continues to move) money between

                them as needed in order to ensure that sufficient commissions were (and are)

                being generated for each Bank. No Affiliated Entity or Affiliated Individual was

                (or is) permitted or able to move money into or out of the Affiliated Entities’

                accounts without Lustig signing off.

          g.    Lustig directed (and continues to direct) the JAL DBAs and the Affiliated

                Entities to violate C.R.S. 11-51-501(1)(b) and Rule 10b-5(b) by falsely

                representing in writing on account opening documents, as well as FINRA Rule

                5130/5131 IPO Disclosure Forms, that: (i) their net worth is higher than it

                actually is; (ii) the funds they use to conduct trades, pay commissions, and



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                purchase IPO Shares come from sources other than the Lustig Defendants, such

                as personal or family wealth, and (iii) no “restricted person” has a beneficial

                interest in the profits from the IPO Share allocations (even though Lustig is a

                restricted person and has a beneficial interest in the profits from the IPO Share

                allocations). Confidential Co-conspirator No. 1 and Confidential Co-conspirator

                No. 2 indeed advised Mr. Berlin that it was “understood” between the co-

                conspirators in the IPO Market Manipulation Scheme and Lustig that the

                Affiliated Individuals and other co-conspirators were required to make these

                critical misrepresentations and omissions in these documents.

          h.    Lustig used (and continues to use) the U.S. mail and interstate telephone and

                electronic communications in furtherance of the IPO Market Manipulation

                Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Confidential

                Co-conspirator No. 1 told Mr. Berlin that Lustig himself held weekly meetings or

                conference calls with certain Affiliated Individuals and other co-conspirators

                every Monday morning to coordinate which IPO Shares to purchase, which wash

                trades to execute, and which Banks to use to execute such trades in any given

                week.

          i.    Lustig received (and continues to receive) repayment of the funds advanced by

                him to the Affiliated Entities, plus interest. Additionally, in the guise of

                compensation for accounting and administrative services, Lustig received (and

                continues to receive) as much forty percent of the Affiliated Entity’s profits from

                the sale of IPO Shares. For example, Lustig received forty percent of the profits



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                  received by Confidential Co-conspirator No. 1’s entity and 30-35% (and possibly

                  up to 37.5%) of the profits received by Confidential Co-conspirator No. 2’s

                  entity from the sale of IPO Shares allocated to them pursuant to the IPO Market

                  Manipulation Scheme.

          j.      Lustig used (and continues to use) the profits generated from the sale of the IPO

                  Shares to continue operating the Enterprise for the purpose of generating more

                  commissions for the Banks and obtaining more IPO Share allocations for

                  Affiliated Entities, including by recruiting additional affiliates to participate in

                  the IPO Market Manipulation Scheme.

          k.      Lustig knowingly conducted (and continues to knowingly conduct) financial

                  transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                  U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                  with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                  knowing that the transaction is designed to conceal or disguise the nature, the

                  location, the source, the ownership, or the control of the proceeds of such mail

                  fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                  § 1956.

    99.   Defendant JAL knowingly participated, and continues to knowingly participate, in the

          Enterprise and the IPO Market Manipulation Scheme as follows:

          a.      JAL opened brokerage accounts at several of the Banks – including, at least, J.P.

                  Morgan, Citigroup, Jefferies, Deutsche Bank, Barclays, Morgan Stanley, and




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                Credit Suisse – in the name of each of the JAL DBAs, and controlled and

                managed (and continues to control and manage) such accounts.

          b.    JAL also directed the opening of separate brokerage accounts for each of the

                Affiliated Entities, which JAL controlled and managed (and continues to control

                and manage) through a form of joint venture agreement with each such Affiliated

                Entity.

          c.    JAL provided funds in the amount of approximately $600,000 to each of the JAL

                DBAs and Affiliated Entities so that they could engage in illegal churning by

                consummating transactions lacking any economic substance, e.g., “wash sales,”

                for the sole purpose of generating commissions for each of the Banks in violation

                of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and (c).

          d.    JAL provided (and continues to provide) advice and analysis to the Affiliated

                Entities regarding the purchase and sale of securities, and directed (and continues

                to direct) which securities should be purchased and sold. In so doing, JAL

                knowingly acted (and continues to knowingly act) as an unlicensed broker-dealer

                and/or investment adviser in violation of C.R.S. 11-51-401 and/or has failed to

                file the notice and pay the fee required in sections 11-51-403 and 11-51-404 with

                the Colorado securities commissioner.

          e.    JAL monitored (and continues to monitor) the JAL DBAs and Affiliated

                Entities’ accounts and moved (and continues to move) money between them as

                needed in order to ensure that sufficient commissions were (and are) being

                generated for each of the Banks. Indeed, JAL sends quarterly billing statements



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                to each Affiliated Entity calculating the profit split due to the Lustig Defendants,

                and quarterly interest statements calculating interest due on money borrowed

                from the Lustig Defendants.

          f.    JAL violated C.R.S. 11-51-501(1)(b) and Rule 10b-5(b) by falsely representing

                in writing on account opening documents, as well as FINRA Rule 5130/5131

                IPO Disclosure Forms, that: (i) the funds the JAL DBAs use to conduct trades,

                pay commissions, and purchase IPO Shares come from sources other than the

                Lustig Defendants, such as personal or family wealth; and (ii) no “restricted

                person” has a beneficial interest in the profits from the IPO Share allocations

                (even though Lustig is a restricted person and has a beneficial interest in the

                profits from the IPO Share allocations).

          g.    JAL directed (and continues to direct) the Affiliated Entities to violate C.R.S. 11-

                51-501(1)(b) and Rule 10b-5(b) by falsely representing on account opening

                documents, as well as FINRA Rule 5130/5131 IPO Disclosure Forms, that (i)

                their net worth is higher than it actually is; (ii) the funds they use to conduct

                trades, pay commissions, and purchase IPO Shares come from sources other than

                the Lustig Defendants, such as personal or family wealth, and (iii) no “restricted

                person” has a beneficial interest in the profits from the IPO Share allocations

                (even though Lustig is a restricted person and has a beneficial interest in the

                profits from the IPO Share allocations).

          h.    JAL used (and continues to use) the U.S. mail and interstate telephone and

                electronic communications in furtherance of the IPO Market Manipulation



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                Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, JAL: (i) used

                (and continues to use) wire communications in interstate or foreign commerce

                via telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO

                Market Manipulation Scheme and to effectuate the IPO Market Manipulation

                Scheme by directing which wash trades should be executed through which Banks

                and which IPO Shares should be purchased; and (ii) used the U.S. mail and/or

                wire communications in interstate or foreign commerce to effectuate the IPO

                Market Manipulation Scheme by sending Suitability forms and FINRA Rule

                5130 forms containing knowing misstatements to the Banks (via mail, email, or

                fax).

          i.    JAL received (and continues to receive) repayment of the funds advanced by it to

                the Affiliated Entities, plus interest. Additionally, in the guise of compensation

                for accounting and administrative services, JAL received (and continues to

                receive) as much as forty percent of the Affiliated Entities’ profits from the sale

                of IPO Shares.

          j.    JAL used (and continues to use) the profits generated from the sale of the IPO

                Shares to continue operating the Enterprise for the purpose of generating more

                commissions for each of the Banks at which the JAL DBAs have brokerage

                accounts and obtaining more IPO Share allocations, including by recruiting

                additional affiliates to participate in the IPO Market Manipulation Scheme.

          k.    JAL knowingly conducted (and continues to knowingly conduct) financial

                transactions involving the proceeds of mail fraud and wire fraud as defined in 18



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                   U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                   with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                   knowing that the transaction is designed to conceal or disguise the nature, the

                   location, the source, the ownership, or the control of the proceeds of such mail

                   fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                   § 1956.

    100.   Defendant CLFS knowingly participated, and continues to knowingly participate, in the

           Enterprise and the IPO Market Manipulation Scheme as follows:

           a.      CLFS opened checking accounts at certain banks other than the Banks. In these

                   accounts, CLFS held (and continues to hold) funds that were (and continue to be)

                   used in effectuating the IPO Market Manipulation Scheme.

           b.      CLFS functioned (and continues to function) as a holding “bank” through which

                   Lustig and JAL cause funds to be transferred to United, the JAL DBAs, and the

                   Affiliated Entities in order to ensure that sufficient commissions are being

                   generated for each of the Banks.

           c.      CLFS provided funds in the amount of approximately $600,000 to United, each

                   of the JAL DBAs, and each of the Affiliated Entities so that they could engage in

                   illegal churning by consummating transactions lacking any economic substance,

                   e.g., “wash sales,” for the sole purpose of generating commissions for each of the

                   Banks in violation of C.R.S. 11-51-501(1)(a) and (c).

           d.      CLFS monitored (and continues to monitor) United, the JAL DBAs, and the

                   Affiliated Entities’ accounts and moved (and continues to move) money between



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                them as needed in order to ensure that sufficient commissions were (and are)

                being generated for each of the Banks.

          e.    CLFS used (and continues to use) the U.S. mail and interstate telephone and

                electronic communications in furtherance of the IPO Market Manipulation

                Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, CLFS used

                (and continues to use) wire transfers to effectuate the IPO Market Manipulation

                Scheme by moving money between United, the JAL DBAs, and the Affiliated

                Entities’ accounts in order to ensure that sufficient commissions were (and are)

                being generated for each of the Banks

          f.    CLFS received (and continues to receive) repayment of the funds advanced by it

                to the Affiliated Entities, plus interest. Additionally, in the guise of compensation

                for accounting and administrative services, CLFS received (and continues to

                receive) as much as forty percent of the Affiliated Entities’ profits from the sale

                of IPO Shares.

          g.    CLFS used (and continues to use) the profits generated from the sale of the IPO

                Shares to continue operating the Enterprise for the purpose of generating more

                commissions for the Banks and obtaining more IPO Share allocations for the

                Affiliated Entities, including by recruiting additional affiliates to participate in

                the IPO Market Manipulation Scheme.

          h.    CLFS knowingly conducted (and continues to knowingly conduct) financial

                transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)



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                   with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                   knowing that the transaction is designed to conceal or disguise the nature, the

                   location, the source, the ownership, or the control of the proceeds of such mail

                   fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                   § 1956.

    101.   Defendant United knowingly participated, and continues to knowingly participate, in the

           Enterprise and the IPO Market Manipulation Scheme as follows:

           a.      United opened brokerage accounts with several of the Banks, including, at least,

                   J.P. Morgan, Citigroup, Jefferies, Credit Suisse, Deutsche Bank, Barclays, and

                   Morgan Stanley. United’s accounts were (and continue to be) controlled and

                   managed by Lustig and/or JAL through a form of joint venture agreement.

           b.      United received approximately $600,000 from Lustig, individually or through

                   JAL and/or CLFS, so that it could engage in illegal churning by consummating

                   transactions lacking any economic substance, e.g., “wash sales,” for the sole

                   purpose of generating commissions for each of the Banks at which United has

                   accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                   (c).

           c.      United used (and continues to use) the money fronted by the Lustig Defendants

                   to engage in illegal churning by consummating transactions lacking any

                   economic substance, e.g., “wash sales,” for the sole purpose of generating

                   enough commissions to remain among the Banks’ top tier clients and continue




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                receiving the valuable IPO Share allocations, in violation of C.R.S. 11-51-

                501(1)(a) and (c) and Rule 10b-5(a) and (c).

          d.    United has generated (and continues to generate) enough commissions to receive

                many millions of dollars’ worth of IPO Share allocations, which it purchases and

                then quickly sells at a substantial profit.

          e.    United used (and continues to use) the U.S. mail, telephone, and electronic

                communication in furtherance of the IPO Market Manipulation Scheme, in

                violation of 18 U.S.C. §§ 1341 and 1343. For example, United: (i) used (and

                continues to use) wire communications in interstate or foreign commerce via

                telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

                Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

                directing which wash trades should be executed through which Banks and which

                IPO Shares should be purchased; and (ii) used the U.S. mail and/or wire

                communications in interstate or foreign commerce to effectuate the IPO Market

                Manipulation Scheme by sending Suitability forms and FINRA Rule 5130 forms

                containing knowing misstatements to the Banks (via mail, email, or fax).

          f.    United used (and continues to use) the profits generated from the sale of the IPO

                Shares to continue operating the Enterprise for the purpose of generating more

                commissions for each of the Banks at which United has accounts and obtaining

                more IPO Share allocations for itself, including by recruiting additional affiliates

                to participate in the IPO Market Manipulation Scheme.




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           g.         United knowingly conducted (and continues to knowingly conduct) financial

                      transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                      U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                      with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                      knowing that the transaction is designed to conceal or disguise the nature, the

                      location, the source, the ownership, or the control of the proceeds of such mail

                      fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                      § 1956.

    102.   Defendant Global, and its manager, Brandon, knowingly participated, and continue to

           knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

           follows:

           a.         Brandon opened brokerage accounts for Global with several of the Banks,

                      including, at least, J.P. Morgan, Goldman Sachs, Citigroup, Jefferies, Credit

                      Suisse, Deutsche Bank, and Barclays. Global’s accounts were (and continue to

                      be) controlled and managed by Lustig and/or JAL through a form of joint

                      venture agreement.

           b.         Global received approximately $600,000 from Lustig, individually or through

                      JAL and/or CLFS, so that it could engage in illegal churning by consummating

                      transactions lacking any economic substance, e.g., “wash sales,” for the sole

                      purpose of generating commissions for each of the Banks at which Global has

                      accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                      (c).



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          c.    Global used (and continues to use) the money fronted by Lustig to engage in

                illegal churning by consummating transactions lacking any economic substance,

                e.g., “wash sales,” for the sole purpose of generating enough commissions to

                remain among the Banks’ top tier clients and continue receiving the valuable IPO

                Share allocations, in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-

                5(a) and (c). As a close friend of Lustig’s, Brandon also helps to run the IPO

                Market Manipulation Scheme by sharing with Lustig the tasks of training and

                directing other co-conspirators, including Confidential Co-conspirator No. 2,

                with respect to which wash trades to execute, which IPO Shares to purchase, and

                which Banks to use for such trading. Brandon specifically encourages other co-

                conspirators to execute wash trades in Bank of America stock because it is liquid

                and it is consequently easier to conduct wash trades in that stock.

          d.    Global generated (and continues to generate) enough commissions to receive

                many millions of dollars’ worth of IPO Share allocations, which it purchases and

                then quickly sells at a substantial profit.

          e.    When required to complete account opening documents, as well as FINRA Rule

                5130/5131 IPO Disclosure Forms, Brandon, on behalf of Global, violated C.R.S.

                11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that: (i) its

                net worth is higher than it actually is; (ii) the funds Global uses to conduct trades,

                pay commissions, and purchase IPO Shares come from sources other than the

                Lustig Defendants, such as Brandon’s personal or family wealth, and (iii) no

                “restricted person” has a beneficial interest in the profits from the IPO Share



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                allocations (even though Lustig is a restricted person and has a beneficial interest

                in the profits from the IPO Share allocations). Brandon admitted in

                conversations with Mr. Berlin that he knew he made material misrepresentations

                and omissions on the 5130 Forms he filled out for each of the Banks at which he

                opened accounts for Global, because he represented that no “restricted person”

                had a beneficial interest in the accounts even though Lustig qualifies as a

                “restricted person” and in fact has a beneficial interest in each of the accounts.

                Brandon also admitted in conversations with Mr. Berlin that he provided a false

                net worth for Global on account opening documents provided to each of the

                Banks at which he opened accounts for Global.

          f.    Brandon and Global used (and continue to use) the U.S. mail, telephone, and

                electronic communication in furtherance of the IPO Market Manipulation

                Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Brandon and

                Global: (i) used wire communications in interstate or foreign commerce via

                telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

                Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

                directing which wash trades should be executed through which Banks and which

                IPO Shares should be purchased; and (ii) used the U.S. mail and/or wire

                communications in interstate or foreign commerce to effectuate the IPO Market

                Manipulation Scheme by sending Suitability forms and FINRA Rule 5130 forms

                containing knowing misstatements to the Banks (via mail, email, or fax).




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           g.         Global repaid (and continues to repay) funds advanced by Lustig, plus interest.

                      Additionally, in the guise of compensation for accounting and administrative

                      services, as much as forty percent of Global’s profits from the sale of IPO Shares

                      are paid to Lustig, individually and/or through JAL and/or CLFS.

           h.         Global used (and continues to use) the profits generated from the sale of the IPO

                      Shares to continue operating the Enterprise for the purpose of generating more

                      commissions for each of the Banks at which Global has accounts and obtaining

                      more IPO Share allocations for itself, including by recruiting additional affiliates

                      to participate in the IPO Market Manipulation Scheme.

           i.         Global knowingly conducted (and continues to knowingly conduct) financial

                      transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                      U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                      with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                      knowing that the transaction is designed to conceal or disguise the nature, the

                      location, the source, the ownership, or the control of the proceeds of such mail

                      fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                      § 1956.

    103.   Defendant Ultimate, and its manager, Marsico, knowingly participated, and continue to

           knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

           follows:

           a.         Marsico opened brokerage accounts for Ultimate with several of the Banks,

                      including, at least, J.P. Morgan, Goldman Sachs, Citigroup, and Jefferies.



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                Ultimate’s accounts were (and continue to be) controlled and managed by Lustig

                and/or JAL through a form of joint venture agreement.

          b.    Ultimate received approximately $600,000 from Lustig, individually or through

                JAL and/or CLFS, so that it could engage in illegal churning by consummating

                transactions lacking any economic substance, e.g., “wash sales,” for the sole

                purpose of generating commissions for each of the Banks at which Ultimate has

                accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                (c).

          c.    Ultimate used (and continues to use) the money fronted by Lustig to engage in

                illegal churning by consummating transactions lacking any economic substance,

                e.g., “wash sales,” for the sole purpose of generating enough commissions to

                remain among the Banks’ top tier clients and continue receiving the valuable IPO

                Share allocations, in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-

                5(a) and (c).

          d.    Ultimate generated (and continues to generate) enough commissions to receive

                many millions of dollars’ worth of IPO Share allocations, which it purchases and

                quickly sells at a substantial profit.

          e.    When required to complete account opening documents, as well as FINRA Rule

                5130/5131 IPO Disclosure Forms, Marsico, on behalf of Ultimate, violated

                C.R.S. 11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that:

                (i) Ultimate’s net worth is higher than it actually is; (ii) the funds Ultimate uses

                to conduct trades, pay commissions, and purchase IPO Shares come from



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                sources other than the Lustig Defendants, such as Marsico’s personal or family

                wealth, and (iii) no “restricted person” has a beneficial interest in the profits from

                the IPO Share allocations (even though Lustig is a restricted person and has a

                beneficial interest in the profits from the IPO Share allocations). Indeed,

                Marsico admitted to Mr. Berlin in conversations that he made material

                misrepresentations and omissions on the Rule 5130 Forms he filled out for each

                of the Banks at which he opened accounts for Ultimate because he represented

                that no “restricted person” had a beneficial interest in the accounts even though

                Lustig qualifies as a “restricted person” and in fact has a beneficial interest in

                each of the accounts. In fact, Marsico himself is an individual with authority to

                buy and sell securities for investment advisor Redan Capital Management, LLC

                (C.R.D. No. 284562) (“Redan”) and therefore Marsico himself is a “restricted

                person” who is not entitled to receive initial public offering shares under FINRA

                Rule 5130. Marsico further admitted to Mr. Berlin that, among other

                misrepresentations in account opening documents provided to the Banks at

                which he opened accounts for Ultimate, he created a fake employee named

                “Justin” in order to make Ultimate appear to be a larger entity than it actually

                was.

          f.    Marsico and Ultimate used (and continue to use) the U.S. mail, telephone, and

                electronic communication in furtherance of the IPO Market Manipulation

                Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Marsico and

                Ultimate: (i) used wire communications in interstate or foreign commerce via



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                telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

                Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

                receiving instructions as to which wash trades should be executed through which

                Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

                and/or wire communications in interstate or foreign commerce to effectuate the

                IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule

                5130 forms containing knowing misstatements to the Banks (via mail, email, or

                fax).

          g.    Ultimate repaid (and continues to repay) funds advanced by Lustig, plus interest.

                Additionally, in the guise of compensation for accounting and administrative

                services, as much as forty percent of Ultimate’s profits from the sale of IPO

                Shares are paid to Lustig, individually and/or through JAL and/or CLFS.

          h.    Ultimate used (and continues to use) the profits generated from the sale of the

                IPO Shares to continue operating the Enterprise for the purpose of generating

                more commissions for each of the Banks at which Ultimate has accounts and

                obtaining more IPO Share allocations for itself, including by recruiting

                additional affiliates to participate in the IPO Market Manipulation Scheme.

          i.    Ultimate knowingly conducted (and continues to knowingly conduct) financial

                transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                knowing that the transaction is designed to conceal or disguise the nature, the



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                     location, the source, the ownership, or the control of the proceeds of such mail

                     fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                     § 1956.

    104. Defendant Haven, and its manager, Brett, knowingly participated, and continue to

          knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

          follows:

           a.        Brett opened brokerage accounts for Haven with several of the Banks, including,

                     at least, J.P. Morgan, Citigroup, and Deutsche Bank. Haven’s accounts were

                     (and continue to be) controlled and managed by Lustig and/or JAL through a

                     form of joint venture agreement.

           b.        Haven received approximately $600,000 from Lustig, individually or through

                     JAL and/or CLFS, so that it could engage in illegal churning by consummating

                     transactions lacking any economic substance, e.g., “wash sales,” for the sole

                     purpose of generating commissions for each of the Banks at which Haven has

                     accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                     (c).

           c.        Haven used (and continues to use) the money fronted by Lustig to engage in

                     illegal churning by consummating transactions lacking any economic substance,

                     e.g., “wash sales,” for the sole purpose of generating enough commissions to

                     remain among the Banks’ top tier clients and continue receiving the valuable IPO

                     Share allocations, in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-

                     5(a) and (c).



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          d.    Haven generated (and continues to generate) enough commissions to receive

                many millions of dollars’ worth of IPO Share allocations, which it purchases and

                then quickly sells at a substantial profit.

          e.    When required to complete account opening documents, as well as FINRA Rule

                5130/5131 IPO Disclosure Forms, Brett, on behalf of Haven, violated C.R.S. 11-

                51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that: (i) Haven

                has a higher net worth than it actually does; (ii) the funds Haven uses to conduct

                trades, pay commissions, and purchase IPO Shares come from sources other than

                the Lustig Defendants, such as Brett’s personal or family wealth, and (iii) no

                “restricted person” has a beneficial interest in the profits from the IPO Share

                allocations (even though Lustig is a restricted person and has a beneficial interest

                in the profits from the IPO Share allocations).

          f.    Brett and Haven used (and continue to use) the U.S. mail, telephone, and

                electronic communication in furtherance of the IPO Market Manipulation

                Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Brett and

                Haven: (i) used wire communications in interstate or foreign commerce via

                telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

                Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

                receiving instructions as to which wash trades should be executed through which

                Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

                and/or wire communications in interstate or foreign commerce to effectuate the

                IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule



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                      5130 forms containing knowing misstatements to the Banks (via mail, email, or

                      fax).

           g.         Haven repaid (and continues to repay) funds advanced by Lustig, plus interest.

                      Additionally, in the guise of compensation for accounting and administrative

                      services, as much as forty percent of Haven’s profits from the sale of IPO Shares

                      are paid to Lustig, individually and/or through JAL and/or CLFS.

           h.         Haven used (and continues to use) the profits generated from the sale of the IPO

                      Shares to continue operating the Enterprise for the purpose of generating more

                      commissions for each of the Banks at which Haven has accounts and obtaining

                      more IPO Share allocations for itself, including by recruiting additional affiliates

                      to participate in the IPO Market Manipulation Scheme.

           i.         Haven knowingly conducted (and continues to knowingly conduct) financial

                      transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                      U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                      with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                      knowing that the transaction is designed to conceal or disguise the nature, the

                      location, the source, the ownership, or the control of the proceeds of such mail

                      fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                      § 1956.

    105.   Defendant Pinehurst, and its manager, Sandler, knowingly participated, and continue to

           knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

           follows:



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          a.    Sandler opened brokerage accounts for Pinehurst with several of the Banks,

                including, at least, J.P. Morgan, Citigroup, and Deutsche Bank. Pinehurst’s

                accounts were (and continue to be) controlled and managed by Lustig and/or

                JAL through a form of joint venture agreement.

          b.    Pinehurst received approximately $600,000 from Lustig, individually or through

                JAL and/or CLFS, so that it could engage in illegal churning by consummating

                transactions lacking any economic substance, e.g., “wash sales,” for the sole

                purpose of generating commissions for each of the Banks at which Pinehurst has

                accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                (c).

          c.    Pinehurst used (and continues to use) the money fronted by Lustig to engage in

                illegal churning by consummating transactions lacking any economic substance,

                e.g., “wash sales,” for the sole purpose of generating enough commissions to

                remain among the Banks’ top tier clients and continue receiving the valuable IPO

                Share allocations, in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-

                5(a) and (c).

          d.    Pinehurst generated (and continues to generate) enough commissions to receive

                many millions of dollars’ worth of IPO Share allocations, which it purchases and

                then quickly sells at a substantial profit.

          e.    When required to complete account opening documents, as well as FINRA Rule

                5130/5131 IPO Disclosure Forms, Sandler, on behalf of Pinehurst, violated

                C.R.S. 11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that:



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                (i) Pinehurst has a higher net worth than it actually does; (ii) the funds Pinehurst

                uses to conduct trades, pay commissions, and purchase IPO Shares come from

                sources other than the Lustig Defendants, such as Sandler’s personal or family

                wealth, and (iii) no “restricted person” has a beneficial interest in the profits from

                the IPO Share allocations (even though Lustig is a restricted person and has a

                beneficial interest in the profits from the IPO Share allocations).

          f.    Sandler and Pinehurst used (and continue to use) the U.S. mail, telephone, and

                electronic communication in furtherance of the IPO Market Manipulation

                Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Sandler and

                Pinehurst: (i) used wire communications in interstate or foreign commerce via

                telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

                Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

                receiving instructions as to which wash trades should be executed through which

                Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

                and/or wire communications in interstate or foreign commerce to effectuate the

                IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule

                5130 forms containing knowing misstatements to the Banks (via mail, email, or

                fax).

          g.    Pinehurst repaid (and continues to repay) funds advanced by Lustig, plus

                interest. Additionally, in the guise of compensation for accounting and

                administrative services, as much as forty percent of Pinehurst’s profits from the




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                      sale of IPO Shares are paid to Lustig, individually and/or through JAL and/or

                      CLFS.

           h.         Pinehurst used (and continues to use) the profits generated from the sale of the

                      IPO Shares to continue operating the Enterprise for the purpose of generating

                      more commissions for each of the Banks at which Pinehurst has accounts and

                      obtaining more IPO Share allocations for itself, including by recruiting

                      additional affiliates to participate in the IPO Market Manipulation Scheme.

           i.         Pinehurst knowingly conducted (and continues to knowingly conduct) financial

                      transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                      U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                      with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                      knowing that the transaction is designed to conceal or disguise the nature, the

                      location, the source, the ownership, or the control of the proceeds of such mail

                      fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                      § 1956.

    106.   Defendant Rancho, and its manager, Harrison, knowingly participated, and continue to

           knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

           follows:

           a.         Harrison opened brokerage accounts for Rancho with several of the Banks,

                      including, at least, J.P. Morgan, Goldman Sachs, Citigroup, and Deutsche Bank.

                      Rancho’s accounts were (and continue to be) controlled and managed by Lustig

                      and/or JAL through a form of joint venture agreement.



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          b.    Rancho received approximately $600,000 from Lustig, individually or through

                JAL and/or CLFS, so that it could engage in illegal churning by consummating

                transactions lacking any economic substance, e.g., “wash sales,” for the sole

                purpose of generating commissions for each of the Banks at which Rancho has

                accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                (c).

          c.    Rancho used (and continues to use) the money fronted by Lustig to engage in

                illegal churning by consummating transactions lacking any economic substance,

                e.g., “wash sales,” for the sole purpose of generating enough commissions to

                remain among the Banks’ top tier clients and continue receiving the valuable IPO

                Share allocations, in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-

                5(a) and (c).

          d.    Rancho generated (and continues to generate) enough commissions to receive

                many millions of dollars’ worth of IPO Share allocations, which it purchases and

                then quickly sells at a substantial profit.

          e.    When required to complete account opening documents, as well as FINRA Rule

                5130/5131 IPO Disclosure Forms, Harrison, on behalf of Rancho, violated

                C.R.S. 11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that:

                (i) Rancho’s net worth is higher than it actually is; (ii) the funds Rancho uses to

                conduct trades, pay commissions, and purchase IPO Shares come from sources

                other than the Lustig Defendants, such as Harrison’s personal or family wealth,

                and (iii) no “restricted person” has a beneficial interest in the profits from the



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                IPO Share allocations (even though Lustig is a restricted person and has a

                beneficial interest in the profits from the IPO Share allocations). Harrison

                admitted to Mr. Berlin in conversations that he made material misrepresentations

                and omissions on the Rule Rule 5130 Forms he filled out for each of the Banks at

                which he opened accounts for Rancho because he represented that no “restricted

                person” had a beneficial interest in the accounts even though Lustig qualifies as a

                “restricted person” and in fact has a beneficial interest in each of the accounts.

                Harrison also admitted to Mr. Berlin that he knew omitting Lustig’s name from

                the Rule 5130 Forms was improper.

          f.    Harrison and Rancho used (and continue to use) the U.S. mail, telephone, and

                electronic communication in furtherance of the IPO Market Manipulation

                Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Harrison and

                Rancho: (i) used wire communications in interstate or foreign commerce via

                telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

                Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

                receiving instructions as to which wash trades should be executed through which

                Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

                and/or wire communications in interstate or foreign commerce to effectuate the

                IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule

                5130 forms containing knowing misstatements to the Banks (via mail, email, or

                fax).




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           g.      Rancho repaid (and continues to repay) funds advanced by Lustig, plus interest.

                   Additionally, in the guise of compensation for accounting and administrative

                   services, as much as forty percent of Rancho’s profits from the sale of IPO

                   Shares are paid to Lustig, individually and/or through JAL and/or CLFS.

           h.      Rancho used (and continues to use) the profits generated from the sale of the IPO

                   Shares to continue operating the Enterprise for the purpose of generating more

                   commissions for each of the Banks at which Rancho has accounts and obtaining

                   more IPO Share allocations for itself, including by recruiting additional affiliates

                   to participate in the IPO Market Manipulation Scheme.

           i.      Rancho knowingly conducted (and continues to knowingly conduct) financial

                   transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                   U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                   with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                   knowing that the transaction is designed to conceal or disguise the nature, the

                   location, the source, the ownership, or the control of the proceeds of such mail

                   fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                   § 1956.

    107.   Defendant JZ, and its manager, Zaitz, knowingly participated, and continue to knowingly

           participate, in the Enterprise and the IPO Market Manipulation Scheme as follows:

           a.      Zaitz opened brokerage accounts for JZ with several of the Banks, including, at

                   least, J.P. Morgan, Goldman Sachs, and Citigroup. JZ’s accounts were (and




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                continue to be) controlled and managed by Lustig and/or JAL through a form of

                joint venture agreement.

          b.    JZ received approximately $600,000 from Lustig, individually or through JAL

                and/or CLFS, so that it could engage in illegal churning by consummating

                transactions lacking any economic substance, e.g., “wash sales,” for the sole

                purpose of generating commissions for each of the Banks at which JZ has

                accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                (c).

          c.    JZ used (and continues to use) the money fronted by Lustig to engage in illegal

                churning by consummating transactions lacking any economic substance, e.g.,

                “wash sales,” for the sole purpose of generating enough commissions to remain

                among the Banks’ top tier clients and continue receiving the valuable IPO Share

                allocations, in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                (c).

          d.    JZ generated (and continues to generate) enough commissions to receive many

                millions of dollars’ worth of IPO Share allocations, which it purchases and then

                quickly sells at a substantial profit.

          e.    When required to complete account opening documents, as well as FINRA Rule

                5130/5131 IPO Disclosure Forms, Zaitz, on behalf of JZ, violated C.R.S. 11-51-

                501(1)(b) and Rule 10b-5(b) by falsely representing in writing that: (i) JZ’s net

                worth is higher than it actually is; (ii) the funds JZ uses to conduct trades, pay

                commissions, and purchase IPO Shares come from sources other than the Lustig



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                Defendants, such as Zaitz’s personal or family wealth, and (iii) no “restricted

                person” has a beneficial interest in the profits from the IPO Share allocations

                (even though Lustig is a restricted person and has a beneficial interest in the

                profits from the IPO Share allocations). In fact, at least in and around 2015,

                Zaitz himself was an individual with authority to buy and sell securities for

                investment advisor Redan and therefore Zaitz himself was a “restricted person”

                who was not entitled to receive initial public offering shares under FINRA Rule

                5130.

          f.    Zaitz and JZ used (and continue to use) the U.S. mail, telephone, and electronic

                communication in furtherance of the IPO Market Manipulation Scheme, in

                violation of 18 U.S.C. §§ 1341 and 1343. For example, Zaitz and JZ: (i) used

                wire communications in interstate or foreign commerce via telephone and email

                in violation of 18 U.S.C. §1343 to discuss the IPO Market Manipulation Scheme

                and to effectuate the IPO Market Manipulation Scheme by receiving instructions

                as to which wash trades should be executed through which Banks and which IPO

                Shares should be purchased; and (ii) used the U.S. mail and/or wire

                communications in interstate or foreign commerce to effectuate the IPO Market

                Manipulation Scheme by sending Suitability forms and FINRA Rule 5130 forms

                containing knowing misstatements to the Banks (via mail, email, or fax).

          g.    JZ repaid (and continues to repay) funds advanced by Lustig, plus interest.

                Additionally, in the guise of compensation for accounting and administrative




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                     services, as much as forty percent of JZ’s profits from the sale of IPO Shares are

                     paid to Lustig, individually and/or through JAL and/or CLFS.

           h.        JZ used (and continues to use) the profits generated from the sale of the IPO

                     Shares to continue operating the Enterprise for the purpose of generating more

                     commissions for each of the Banks at which JZ has accounts and obtaining more

                     IPO Share allocations for itself, including by recruiting additional affiliates to

                     participate in the IPO Market Manipulation Scheme.

           i.        JZ knowingly conducted (and continues to knowingly conduct) financial

                     transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                     U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                     with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                     knowing that the transaction is designed to conceal or disguise the nature, the

                     location, the source, the ownership, or the control of the proceeds of such mail

                     fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                     § 1956.

    108. Defendant SMM, and its manager, Miller, knowingly participated, and continue to

          knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

          follows:

           a.        Miller opened brokerage accounts for SMM with several of the Banks, including,

                     at least, J.P. Morgan, Goldman Sachs, and Citigroup. SMM’s accounts were

                     (and continue to be) controlled and managed by Lustig and/or JAL through a

                     form of joint venture agreement.



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          b.    SMM received approximately $600,000 from Lustig, individually or through

                JAL and/or CLFS, so that it could engage in illegal churning by consummating

                transactions lacking any economic substance, e.g., “wash sales,” for the sole

                purpose of generating commissions for each of the Banks at which SMM has

                accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                (c).

          c.    SMM used (and continues to use) the money fronted by Lustig to engage in

                illegal churning by consummating transactions lacking any economic substance,

                e.g., “wash sales,” for the sole purpose of generating enough commissions to

                remain among the Banks’ top tier clients and continue receiving the valuable IPO

                Share allocations, in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-

                5(a) and (c).

          d.    SMM generated (and continues to generate) enough commissions to receive

                many millions of dollars’ worth of IPO Share allocations, which it purchases and

                then quickly sells at a substantial profit.

          e.    When required to complete account opening documents, as well as FINRA Rule

                5130/5131 IPO Disclosure Forms, Miller, on behalf of SMM, violated C.R.S. 11-

                51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that: (i)

                SMM’s net worth is higher than it actually is; (ii) the funds SMM uses to

                conduct trades, pay commissions, and purchase IPO Shares come from sources

                other than the Lustig Defendants, such as Miller’s personal or family wealth, and

                (iii) no “restricted person” has a beneficial interest in the profits from the IPO



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                Share allocations (even though Lustig is a restricted person and has a beneficial

                interest in the profits from the IPO Share allocations).

          f.    Miller and SMM used (and continue to use) the U.S. mail, telephone, and

                electronic communication in furtherance of the IPO Market Manipulation

                Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Miller and

                SMM: (i) used wire communications in interstate or foreign commerce via

                telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

                Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

                receiving instructions as to which wash trades should be executed through which

                Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

                and/or wire communications in interstate or foreign commerce to effectuate the

                IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule

                5130 forms containing knowing misstatements to the Banks (via mail, email, or

                fax).

          g.    SMM repaid (and continues to repay) funds advanced by Lustig, plus interest.

                Additionally, in the guise of compensation for accounting and administrative

                services, as much as forty percent of SMM’s profits from the sale of IPO Shares

                is paid to Lustig, individually and/or through JAL and/or CLFS.

          h.    SMM used (and continues to use) the profits generated from the sale of the IPO

                Shares to continue operating the Enterprise for the purpose of generating more

                commissions for each of the Banks at which SMM has accounts and obtaining




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                     more IPO Share allocations for itself, including by recruiting additional affiliates

                     to participate in the IPO Market Manipulation Scheme.

           i.        SMM knowingly conducted (and continues to knowingly conduct) financial

                     transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                     U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                     with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                     knowing that the transaction is designed to conceal or disguise the nature, the

                     location, the source, the ownership, or the control of the proceeds of such mail

                     fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                     § 1956.

    109. Defendant Arrowhead, and its manager, Shoflick, knowingly participated, and continue

          to knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

          follows:

           a.        Shoflick opened brokerage accounts for Arrowhead with several of the Banks,

                     including, at least, J.P. Morgan, Goldman Sachs, and Citigroup. Arrowhead’s

                     accounts were (and continue to be) controlled and managed by Lustig and/or

                     JAL through a form of joint venture agreement.

           b.        Arrowhead received approximately $600,000 from Lustig, individually or

                     through JAL and/or CLFS, so that it could engage in illegal churning by

                     consummating transactions lacking any economic substance, e.g., “wash sales,”

                     for the sole purpose of generating commissions for each of the Banks at which




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                Arrowhead has accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule

                10b-5(a) and (c).

          c.    Arrowhead used (and continues to use) the money fronted by Lustig to engage in

                illegal churning by consummating transactions lacking any economic substance,

                e.g., “wash sales,” for the sole purpose of generating enough commissions to

                remain among the Banks’ top tier clients and continue receiving the valuable IPO

                Share allocations, in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-

                5(a) and (c).

          d.    Arrowhead generated (and continues to generate) enough commissions to receive

                many millions of dollars’ worth of IPO Share allocations, which it purchases and

                then quickly sells at a substantial profit.

          e.    When required to complete account opening documents, as well as FINRA Rule

                5130/5131 IPO Disclosure Forms, Shoflick, on behalf of Arrowhead, violated

                C.R.S. 11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that:

                (i) Arrowhead’s net worth is higher than it actually is; (ii) the funds Arrowhead

                uses to conduct trades, pay commissions, and purchase IPO Shares come from

                sources other than the Lustig Defendants, such as Shoflick’s personal or family

                wealth, and (iii) no “restricted person” has a beneficial interest in the profits from

                the IPO Share allocations (even though Lustig is a restricted person and has a

                beneficial interest in the profits from the IPO Share allocations). Shoflick

                admitted to Mr. Berlin in conversation that he made material misrepresentations

                and omissions on the Rule Rule 5130 Forms he filled out for each of the Banks at



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                which he opened accounts for Arrowhead because he represented that no

                “restricted person” had a beneficial interest in the accounts even though Lustig

                qualifies as a “restricted person” and in fact has a beneficial interest in each of

                the accounts. Shoflick also admitted to Mr. Berlin that he was “uncomfortable”

                and “worried” that his material omissions could negatively affect his legitimate

                real estate business with his father-in-law, Defendant Miller.

          f.    Shoflick and Arrowhead used (and continue to use) the U.S. mail, telephone, and

                electronic communication in furtherance of the IPO Market Manipulation

                Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Shoflick and

                Arrowhead: (i) used wire communications in interstate or foreign commerce via

                telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

                Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

                receiving instructions as to which wash trades should be executed through which

                Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

                and/or wire communications in interstate or foreign commerce to effectuate the

                IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule

                5130 forms containing knowing misstatements to the Banks (via mail, email, or

                fax).

          g.    Arrowhead repaid (and continues to repay) funds advanced by Lustig, plus

                interest. Additionally, in the guise of compensation for accounting and

                administrative services, as much as forty percent of Arrowhead’s profits from the




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                  sale of IPO Shares is paid to Lustig, individually and/or through JAL and/or

                  CLFS.

           h.     Arrowhead used (and continues to use) the profits generated from the sale of the

                  IPO Shares to continue operating the Enterprise for the purpose of generating

                  more commissions for each of the Banks at which Arrowhead has accounts and

                  obtaining more IPO Share allocations for itself, including by recruiting

                  additional affiliates to participate in the IPO Market Manipulation Scheme.

           i.     Arrowhead knowingly conducted (and continues to knowingly conduct) financial

                  transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                  U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                  with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                  knowing that the transaction is designed to conceal or disguise the nature, the

                  location, the source, the ownership, or the control of the proceeds of such mail

                  fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                  § 1956.

    110.   Defendant AHI, and its manager, Alterman, knowingly participated, and continue to

           knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

           follows:

           a.     Alterman opened brokerage accounts for AHI with several of the Banks,

                  including, at least, J.P. Morgan, Goldman Sachs, and Citigroup. AHI’s accounts

                  were (and continue to be) controlled and managed by Lustig and/or JAL through




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                a form of joint venture agreement. On multiple occasions, Alterman admitted to

                Mr. Berlin in conversations that he would do whatever Lustig told him to do.

          b.    AHI received approximately $600,000 from Lustig, individually or through JAL

                and/or CLFS, so that it could engage in illegal churning by consummating

                transactions lacking any economic substance, e.g., “wash sales,” for the sole

                purpose of generating commissions for each of the Banks at which AHI has

                accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                (c).

          c.    AHI used (and continues to use) the money fronted by Lustig to engage in illegal

                churning by consummating transactions lacking any economic substance, e.g.,

                “wash sales,” for the sole purpose of generating enough commissions to remain

                among the Banks’ top tier clients and continue receiving the valuable IPO Share

                allocations, in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                (c).

          d.    AHI generated (and continues to generate) enough commissions to receive many

                millions of dollars’ worth of IPO Share allocations, which it purchases and then

                quickly sells at a substantial profit.

          e.    When required to complete account opening documents, as well as FINRA Rule

                5130/5131 IPO Disclosure Forms, Alterman, on behalf of AHI, violated C.R.S.

                11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that: (i)

                AHI’s net worth is higher than it actually is; (ii) the funds AHI uses to conduct

                trades, pay commissions, and purchase IPO Shares come from sources other than



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                the Lustig Defendants, such as Alterman’s personal or family wealth, and (iii) no

                “restricted person” has a beneficial interest in the profits from the IPO Share

                allocations (even though Lustig is a restricted person and has a beneficial interest

                in the profits from the IPO Share allocations). Alterman admitted to Mr. Berlin

                in conversations that Alterman intentionally overstated and misrepresented his

                net worth on each FINRA Disclosure Form he provided to the Banks at which he

                opened accounts for AHI. Alterman also admitted to Mr. Berlin that he made

                material misrepresentations and omissions on the Rule 5130 Forms he filled out

                for each of the Banks at which he opened accounts for AHI because he

                represented that no “restricted person” had a beneficial interest in the accounts

                even though Lustig qualifies as a “restricted person” and in fact has a beneficial

                interest in each of the accounts.

          f.    Alterman and AHI used (and continue to use) the U.S. mail, telephone, and

                electronic communication in furtherance of the IPO Market Manipulation

                Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Alterman

                and AHI: (i) used wire communications in interstate or foreign commerce via

                telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

                Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

                receiving instructions as to which wash trades should be executed through which

                Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

                and/or wire communications in interstate or foreign commerce to effectuate the

                IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule



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                      5130 forms containing knowing misstatements to the Banks (via mail, email, or

                      fax).

           g.         AHI repaid (and continues to repay) funds advanced by Lustig, plus interest.

                      Additionally, in the guise of compensation for accounting and administrative

                      services, as much as forty percent of AHI’s profits from the sale of IPO Shares is

                      paid to Lustig, individually and/or through JAL and/or CLFS.

           h.         AHI used (and continues to use) the profits generated from the sale of the IPO

                      Shares to continue operating the Enterprise for the purpose of generating more

                      commissions for each of the Banks at which AHI has accounts and obtaining

                      more IPO Share allocations for itself, including by recruiting additional affiliates

                      to participate in the IPO Market Manipulation Scheme.

           i.         AHI knowingly conducted (and continues to knowingly conduct) financial

                      transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                      U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                      with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                      knowing that the transaction is designed to conceal or disguise the nature, the

                      location, the source, the ownership, or the control of the proceeds of such mail

                      fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                      § 1956.

    111.   Defendant Allied, and its manager, Brandon, knowingly participated, and continue to

           knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

           follows:



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          a.    Brandon opened brokerage accounts for Allied with several of the Banks,

                including, at least, J.P. Morgan, Goldman Sachs, Citigroup, Jefferies, Credit

                Suisse, Deutsche Bank, and Barclays. Allied’s accounts were (and continue to

                be) controlled and managed by Lustig and/or JAL through a form of joint

                venture agreement.

          b.    Allied received approximately $600,000 from Lustig, individually or through

                JAL and/or CLFS, so that it could engage in illegal churning by consummating

                transactions lacking any economic substance, e.g., “wash sales,” for the sole

                purpose of generating commissions for each of the Banks at which Allied has

                accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                (c).

          c.    Allied used (and continues to use) the money fronted by Lustig to engage in

                illegal churning by consummating transactions lacking any economic substance,

                e.g., “wash sales,” for the sole purpose of generating enough commissions to

                remain among the Banks’ top tier clients and continue receiving the valuable IPO

                Share allocations, in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-

                5(a) and (c).

          d.    Allied generated (and continues to generate) enough commissions to receive

                many millions of dollars’ worth of IPO Share allocations, which it purchases and

                then quickly sells at a substantial profit.

          e.    When required to complete account opening documents, as well as FINRA Rule

                5130/5131 IPO Disclosure Forms, Brandon, on behalf of Allied, violated C.R.S.



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                11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that: (i)

                Allied’s net worth is higher than it actually is; (ii) the funds Allied uses to

                conduct trades, pay commissions, and purchase IPO Shares come from sources

                other than the Lustig Defendants, such as Brandon’s personal or family wealth,

                and (iii) no “restricted person” has a beneficial interest in the profits from the

                IPO Share allocations (even though Lustig is a restricted person and has a

                beneficial interest in the profits from the IPO Share allocations).

          f.    Brandon and Allied used (and continue to use) the U.S. mail, telephone, and

                electronic communication in furtherance of the IPO Market Manipulation

                Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Brandon and

                Allied: (i) used wire communications in interstate or foreign commerce via

                telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

                Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

                receiving instructions as to which wash trades should be executed through which

                Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

                and/or wire communications in interstate or foreign commerce to effectuate the

                IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule

                5130 forms containing knowing misstatements to the Banks (via mail, email, or

                fax).

          g.    Allied repaid (and continues to repay) funds advanced by Lustig, plus interest.

                Additionally, in the guise of compensation for accounting and administrative




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                      services, as much as forty percent of Allied’s profits from the sale of IPO Shares

                      is paid to Lustig, individually and/or through JAL and/or CLFS.

           h.         Allied used (and continues to use) the profits generated from the sale of the IPO

                      Shares to continue operating the Enterprise for the purpose of generating more

                      commissions for each of the Banks at which Allied has accounts and obtaining

                      more IPO Share allocations for itself, including by recruiting additional affiliates

                      to participate in the IPO Market Manipulation Scheme.

           i.         Allied knowingly conducted (and continues to knowingly conduct) financial

                      transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                      U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                      with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                      knowing that the transaction is designed to conceal or disguise the nature, the

                      location, the source, the ownership, or the control of the proceeds of such mail

                      fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                      § 1956.

    112.   Defendant Rio Norte, and its manager, Lande, knowingly participated, and continue to

           knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

           follows:

           a.         Lande opened brokerage accounts for Rio Norte with several of the Banks,

                      including, at least, J.P. Morgan, Goldman Sachs, Citigroup, Jefferies, Deutsche

                      Bank, and Barclays. Rio Norte’s accounts were (and continue to be) controlled

                      and managed by Lustig and/or JAL through a form of joint venture agreement.



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          b.    Rio Norte received approximately $600,000 from Lustig, individually or through

                JAL and/or CLFS, so that it could engage in illegal churning by consummating

                transactions lacking any economic substance, e.g., “wash sales,” for the sole

                purpose of generating commissions for each of the Banks at which Rio Norte has

                accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                (c).

          c.    Rio Norte used (and continues to use) the money fronted by Lustig to engage in

                illegal churning by consummating transactions lacking any economic substance,

                e.g., “wash sales,” for the sole purpose of generating enough commissions to

                remain among the Banks’ top tier clients and continue receiving the valuable IPO

                Share allocations, in violation of C.R.S. 11-51-501(1)(a) and (c) Rule 10b-5(a)

                and (c).

          d.    Rio Norte generated (and continues to generate) enough commissions to receive

                many millions of dollars’ worth of IPO Share allocations, which it purchases and

                then quickly sells at a substantial profit.

          e.    When required to complete account opening documents, as well as FINRA Rule

                5130/5131 IPO Disclosure Forms, Lande, on behalf of Rio Norte, violated

                C.R.S. 11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that:

                (i) Rio Norte’s net worth is higher than it actually is; (ii) the funds Rio Norte

                uses to conduct trades, pay commissions, and purchase IPO Shares come from

                sources other than the Lustig Defendants, such as Lande’s personal or family

                wealth, and (iii) no “restricted person” has a beneficial interest in the profits from



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                the IPO Share allocations (even though Lustig is a restricted person and has a

                beneficial interest in the profits from the IPO Share allocations). Indeed,

                Defendant Lande admitted to Mr. Berlin in conversations that he made material

                misrepresentations and omissions on the Rule 5130 Forms he filled out for each

                of the Banks at which he opened accounts for Rio Norte because he represented

                that no “restricted person” had a beneficial interest in the accounts even though

                Lustig qualifies as a “restricted person” and in fact has a beneficial interest in

                each of the accounts. Defendant Lande repeatedly expressed his discomfort

                regarding the illegality of the IPO Market Manipulation Scheme to Mr. Berlin.

          f.    Lande and Rio Norte used (and continue to use) the U.S. mail, telephone, and

                electronic communication in furtherance of the IPO Market Manipulation

                Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Lande and

                Rio Norte: (i) used wire communications in interstate or foreign commerce via

                telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

                Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

                receiving instructions as to which wash trades should be executed through which

                Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

                and/or wire communications in interstate or foreign commerce to effectuate the

                IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule

                5130 forms containing knowing misstatements to the Banks (via mail, email, or

                fax).




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           g.         Rio Norte repaid (and continues to repay) funds advanced by Lustig, plus

                      interest. Additionally, in the guise of compensation for accounting and

                      administrative services, as much as forty percent of Rio Norte’s profits from the

                      sale of IPO Shares is paid to Lustig, individually and/or through JAL and/or

                      CLFS.

           h.         Rio Norte used (and continues to use) the profits generated from the sale of the

                      IPO Shares to continue operating the Enterprise for the purpose of generating

                      more commissions for each of the Banks at which Rio Norte has accounts and

                      obtaining more IPO Share allocations for itself, including by recruiting

                      additional affiliates to participate in the IPO Market Manipulation Scheme.

           i.         Rio Norte knowingly conducted (and continues to knowingly conduct) financial

                      transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                      U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                      with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                      knowing that the transaction is designed to conceal or disguise the nature, the

                      location, the source, the ownership, or the control of the proceeds of such mail

                      fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                      § 1956.

    113.   Defendant Mesa, and its manager, Eberstein, knowingly participated, and continue to

           knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

           follows:




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          a.    Eberstein opened brokerage accounts for Mesa with several of the Banks,

                including, at least, J.P. Morgan and Citigroup. Mesa’s accounts were (and

                continue to be) controlled and managed by Lustig and/or JAL through a form of

                joint venture agreement.

          b.    Mesa received approximately $600,000 from Lustig, individually or through JAL

                and/or CLFS, so that it could engage in illegal churning by consummating

                transactions lacking any economic substance, e.g., “wash sales,” for the sole

                purpose of generating commissions for each of the Banks at which Mesa has

                accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                (c).

          c.    Mesa used (and continues to use) the money fronted by Lustig to engage in

                illegal churning by consummating transactions lacking any economic substance,

                e.g., “wash sales,” for the sole purpose of generating enough commissions to

                remain among the Banks’ top tier clients and continue receiving the valuable IPO

                Share allocations, in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-

                5(a) and (c).

          d.    Mesa generated (and continues to generate) enough commissions to receive

                many millions of dollars’ worth of IPO Share allocations, which it purchases and

                then quickly sells at a substantial profit.

          e.    When required to complete account opening documents, as well as FINRA Rule

                5130/5131 IPO Disclosure Forms, Eberstein, on behalf of Mesa, violated C.R.S.

                11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that: (i)



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              Mesa’s net worth is higher than it actually is; (ii) the funds Mesa uses to conduct

              trades, pay commissions, and purchase IPO Shares come from sources other than

              the Lustig Defendants, such as Eberstein’s personal or family wealth, and (iii) no

              “restricted person” has a beneficial interest in the profits from the IPO Share

              allocations (even though Lustig is a restricted person and has a beneficial interest

              in the profits from the IPO Share allocations).

         f.   Eberstein and Mesa used (and continue to use) the U.S. mail, telephone, and

              electronic communication in furtherance of the IPO Market Manipulation

              Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Eberstein

              and Mesa: (i) used wire communications in interstate or foreign commerce via

              telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

              Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

              receiving instructions as to which wash trades should be executed through which

              Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

              and/or wire communications in interstate or foreign commerce to effectuate the

              IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule

              5130 forms containing knowing misstatements to the Banks (via mail, email, or

              fax).

         g.   Mesa repaid (and continues to repay) funds advanced by Lustig, plus interest.

              Additionally, in the guise of compensation for accounting and administrative

              services, as much as forty percent of Mesa’s profits from the sale of IPO Shares

              are paid to Lustig, individually and/or through JAL and/or CLFS.



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         h.         Mesa used (and continues to use) the profits generated from the sale of the IPO

                    Shares to continue operating the Enterprise for the purpose of generating more

                    commissions for each of the Banks at which Mesa has accounts and obtaining

                    more IPO Share allocations for itself, including by recruiting additional affiliates

                    to participate in the IPO Market Manipulation Scheme.

         i.         Mesa knowingly conducted (and continues to knowingly conduct) financial

                    transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                    U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                    with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                    knowing that the transaction is designed to conceal or disguise the nature, the

                    location, the source, the ownership, or the control of the proceeds of such mail

                    fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                    § 1956.

  114.   Defendant JMC, and its manager, Cohen, knowingly participated, and continue to

         knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

         follows:

         a.         Cohen opened brokerage accounts for JMC with several of the Banks. JMC’s

                    accounts were (and continue to be) controlled and managed by Lustig and/or

                    JAL through a form of joint venture agreement.

         b.         JMC received approximately $600,000 from Lustig, individually or through JAL

                    and/or CLFS, so that it could engage in illegal churning by consummating

                    transactions lacking any economic substance, e.g., “wash sales,” for the sole



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              purpose of generating commissions for each of the Banks at which JMC had

              accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

              (c).

         c.   JMC used (and continues to use) the money fronted by Lustig to engage in illegal

              churning by consummating transactions lacking any economic substance, e.g.,

              “wash sales,” for the sole purpose of generating enough commissions to remain

              among the Banks’ top tier clients and continue receiving the valuable IPO Share

              allocations, in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

              (c).

         d.   JMC generated (and continues to generate) enough commissions to receive many

              millions of dollars’ worth of IPO Share allocations, which it purchases and then

              quickly sells at a substantial profit.

         e.   When required to complete account opening documents, as well as FINRA Rule

              5130/5131 IPO Disclosure Forms, Cohen, on behalf of JMC, violated C.R.S. 11-

              51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that: (i) JMC’s

              net worth is higher than it actually is; (ii) the funds JMC uses to conduct trades,

              pay commissions, and purchase IPO Shares come from sources other than the

              Lustig Defendants, such as Cohen’s personal or family wealth, and (iii) no

              “restricted person” has a beneficial interest in the profits from the IPO Share

              allocations (even though Lustig is a restricted person and has a beneficial interest

              in the profits from the IPO Share allocations).




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         f.   Cohen and JMC used (and continue to use) the U.S. mail, telephone, and

              electronic communication in furtherance of the IPO Market Manipulation

              Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Cohen and

              JMC: (i) used wire communications in interstate or foreign commerce via

              telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

              Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

              receiving instructions as to which wash trades should be executed through which

              Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

              and/or wire communications in interstate or foreign commerce to effectuate the

              IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule

              5130 forms containing knowing misstatements to the Banks (via mail, email, or

              fax).

         g.   JMC repaid (and continues to repay) funds advanced by Lustig, plus interest.

              Additionally, in the guise of compensation for accounting and administrative

              services, as much as thirty percent of JMC’s profits from the sale of IPO Shares

              are paid to Lustig, individually and/or through JAL and/or CLFS.

         h.   JMC used (and continues to use) the profits generated from the sale of the IPO

              Shares to continue operating the Enterprise for the purpose of generating more

              commissions for each of the Banks at which JMC has accounts and obtaining

              more IPO Share allocations for itself, including by recruiting additional affiliates

              to participate in the IPO Market Manipulation Scheme.




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         i.         JMC knowingly conducted (and continues to knowingly conduct) financial

                    transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                    U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                    with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                    knowing that the transaction is designed to conceal or disguise the nature, the

                    location, the source, the ownership, or the control of the proceeds of such mail

                    fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                    § 1956.

  115.   Defendant Peak, and its manager, Rest, knowingly participated, and continue to

         knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

         follows:

         a.         Rest opened brokerage accounts for Peak with several of the Banks, including, at

                    least, J.P. Morgan, Goldman Sachs, and Citigroup. Peak’s accounts were (and

                    continue to be) controlled and managed by Lustig and/or JAL through a form of

                    joint venture agreement.

         b.         Peak received approximately $600,000 from Lustig, individually or through JAL

                    and/or CLFS, so that it could engage in illegal churning by consummating

                    transactions lacking any economic substance, e.g., “wash sales,” for the sole

                    purpose of generating commissions for each of the Banks at which Peak has

                    accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                    (c).




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         c.   Peak used (and continues to use) the money fronted by Lustig to engage in illegal

              churning by consummating transactions lacking any economic substance, e.g.,

              “wash sales,” for the sole purpose of generating enough commissions to remain

              among the Banks’ top tier clients and continue receiving the valuable IPO Share

              allocations, in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

              (c).

         d.   Peak generated (and continues to generate) enough commissions to receive many

              millions of dollars’ worth of IPO Share allocations, which it purchases and then

              quickly sells at a substantial profit.

         e.   When required to complete account opening documents, as well as FINRA Rule

              5130/5131 IPO Disclosure Forms, Rest, on behalf of Peak, violated C.R.S. 11-

              51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that: (i) Peak’s

              net worth is higher than it actually is; (ii) the funds Peak uses to conduct trades,

              pay commissions, and purchase IPO Shares come from sources other than the

              Lustig Defendants, such as Rest’s personal or family wealth, and (iii) no

              “restricted person” has a beneficial interest in the profits from the IPO Share

              allocations (even though Lustig is a restricted person and has a beneficial interest

              in the profits from the IPO Share allocations).

         f.   Rest and Peak used (and continue to use) the U.S. mail, telephone, and electronic

              communication in furtherance of the IPO Market Manipulation Scheme, in

              violation of 18 U.S.C. §§ 1341 and 1343. For example, Rest and Peak: (i) used

              wire communications in interstate or foreign commerce via telephone and email



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              in violation of 18 U.S.C. §1343 to discuss the IPO Market Manipulation Scheme

              and to effectuate the IPO Market Manipulation Scheme by receiving instructions

              as to which wash trades should be executed through which Banks and which IPO

              Shares should be purchased; and (ii) used the U.S. mail and/or wire

              communications in interstate or foreign commerce to effectuate the IPO Market

              Manipulation Scheme by sending Suitability forms and FINRA Rule 5130 forms

              containing knowing misstatements to the Banks (via mail, email, or fax).

         g.   Peak repaid (and continues to repay) funds advanced by Lustig, plus interest.

              Additionally, in the guise of compensation for accounting and administrative

              services, as much as forty percent of Peak’s profits from the sale of IPO Shares

              are paid to Lustig, individually and/or through JAL and/or CLFS.

         h.   Peak used (and continues to use) the profits generated from the sale of the IPO

              Shares to continue operating the Enterprise for the purpose of generating more

              commissions for each of the Banks at which Peak has accounts and obtaining

              more IPO Share allocations for itself, including by recruiting additional affiliates

              to participate in the IPO Market Manipulation Scheme.

         i.   Peak knowingly conducted (and continues to knowingly conduct) financial

              transactions involving the proceeds of mail fraud and wire fraud as defined in 18

              U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

              with the intent to promote the carrying on of such fraudulent conduct, and (ii)

              knowing that the transaction is designed to conceal or disguise the nature, the

              location, the source, the ownership, or the control of the proceeds of such mail



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                    fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                    § 1956.

  116.   Defendant JAF, and its manager, Fraenkel, knowingly participated, and continue to

         knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

         follows:

         a.         Fraenkel opened brokerage accounts for JAF with several of the Banks. JAF’s

                    accounts were (and continue to be) controlled and managed by Lustig and/or

                    JAL through a form of joint venture agreement.

         b.         JAF received approximately $600,000 from Lustig, individually or through JAL

                    and/or CLFS, so that it could engage in illegal churning by consummating

                    transactions lacking any economic substance, e.g., “wash sales,” for the sole

                    purpose of generating commissions for each of the Banks at which JAF has

                    accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                    (c).

         c.         JAF used (and continues to use) the money fronted by the Lustig Defendants to

                    engage in illegal churning by consummating transactions lacking any economic

                    substance, e.g., “wash sales,” for the sole purpose of generating enough

                    commissions to remain among the Banks’ top tier clients and continue receiving

                    the valuable IPO Share allocations, in violation of C.R.S. 11-51-501(1)(a) and

                    (c) and Rule 10b-5(a) and (c).




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         d.   JAF generated (and continues to generate) enough commissions to receive many

              millions of dollars’ worth of IPO Share allocations, which it purchases and then

              quickly sells at a substantial profit.

         e.   When required to complete account opening documents, as well as FINRA Rule

              5130/5131 IPO Disclosure Forms, Fraenkel, on behalf of JAF, violated C.R.S.

              11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that: (i)

              JAF’s net worth is higher than it actually is; (ii) the funds JAF uses to conduct

              trades, pay commissions, and purchase IPO Shares come from sources other than

              the Lustig Defendants, such as Fraenkel’s personal or family wealth, and (iii) no

              “restricted person” has a beneficial interest in the profits from the IPO Share

              allocations (even though Lustig is a restricted person and has a beneficial interest

              in the profits from the IPO Share allocations).

         f.   Fraenkel and JAF used (and continue to use) the U.S. mail, telephone, and

              electronic communication in furtherance of the IPO Market Manipulation

              Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Fraenkel and

              JAF: (i) used wire communications in interstate or foreign commerce via

              telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

              Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

              receiving instructions as to which wash trades should be executed through which

              Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

              and/or wire communications in interstate or foreign commerce to effectuate the

              IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule



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                    5130 forms containing knowing misstatements to the Banks (via mail, email, or

                    fax).

         g.         JAF repaid (and continues to repay) funds advanced by Lustig, plus interest.

                    Additionally, in the guise of compensation for accounting and administrative

                    services, as much as forty percent of JAF’s profits from the sale of IPO Shares

                    are paid to Lustig, individually and/or through JAL and/or CLFS.

         h.         JAF used (and continues to use) the profits generated from the sale of the IPO

                    Shares to continue operating the Enterprise for the purpose of generating more

                    commissions for each of the Banks at which JAF has accounts and obtaining

                    more IPO Share allocations for itself, including by recruiting additional affiliates

                    to participate in the IPO Market Manipulation Scheme.

         i.         JAF knowingly conducted (and continues to knowingly conduct) financial

                    transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                    U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                    with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                    knowing that the transaction is designed to conceal or disguise the nature, the

                    location, the source, the ownership, or the control of the proceeds of such mail

                    fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

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  117.   Defendant Preakness, and its manager, Hall, knowingly participated, and continue to

         knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

         follows:



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         a.   Hall opened brokerage accounts for Preakness with several of the Banks,

              including, at least, J.P. Morgan, Goldman Sachs, and Citigroup. Preakness’s

              accounts were (and continue to be) controlled and managed by Lustig and/or

              JAL through a form of joint venture agreement. Hall was aware of the illegality

              of the IPO Market Manipulation Scheme, regularly announcing, including to Mr.

              Berlin, that “if the regulators ever come in, we are f***ed, man.”

         b.   Preakness received approximately $600,000 from Lustig, individually or through

              JAL and/or CLFS, so that it could engage in illegal churning by consummating

              transactions lacking any economic substance, e.g., “wash sales,” for the sole

              purpose of generating commissions for each of the Banks at which Preakness has

              accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

              (c).

         c.   Preakness used (and continues to use) the money fronted by Lustig to engage in

              illegal churning by consummating transactions lacking any economic substance,

              e.g., “wash sales,” for the sole purpose of generating enough commissions to

              remain among the Banks’ top tier clients and continue receiving the valuable IPO

              Share allocations, in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-

              5(a) and (c).

         d.   Preakness generated (and continues to generate) enough commissions to receive

              many millions of dollars’ worth of IPO Share allocations, which it purchases and

              then quickly sells at a substantial profit.




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         e.   When required to complete account opening documents, as well as FINRA Rule

              5130/5131 IPO Disclosure Forms, Hall, on behalf of Preakness, violated C.R.S.

              11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that: (i)

              Preakness’s net worth is higher than it actually is; (ii) the funds Preakness uses to

              conduct trades, pay commissions, and purchase IPO Shares come from sources

              other than the Lustig Defendants, such as Hall’s personal or family wealth, and

              (iii) no “restricted person” has a beneficial interest in the profits from the IPO

              Share allocations (even though Lustig is a restricted person and has a beneficial

              interest in the profits from the IPO Share allocations). Indeed, Hall admitted to

              Mr. Berlin that he made material misrepresentations and omissions on the Rule

              5130 Forms he filled out for each of the Banks at which he opened accounts for

              Preakness because he represented that no “restricted person” had a beneficial

              interest in the accounts even though Lustig qualifies as a “restricted person” and

              in fact has a beneficial interest in each of the accounts.

         f.   Preakness and Hall used (and continue to use) the U.S. mail, telephone, and

              electronic communication in furtherance of the IPO Market Manipulation

              Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Preakness

              and Hall: (i) used wire communications in interstate or foreign commerce via

              telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

              Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

              receiving instructions as to which wash trades should be executed through which

              Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail



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              and/or wire communications in interstate or foreign commerce to effectuate the

              IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule

              5130 forms containing knowing misstatements to the Banks (via mail, email, or

              fax).

         g.   Preakness repaid (and continues to repay) funds advanced by Lustig, plus

              interest. Additionally, in the guise of compensation for accounting and

              administrative services, as much as forty percent of Preakness’s profits from the

              sale of IPO Shares are paid to Lustig, individually and/or through JAL and/or

              CLFS.

         h.   Preakness used (and continues to use) the profits generated from the sale of the

              IPO Shares to continue operating the Enterprise for the purpose of generating

              more commissions for each of the Banks at which Preakness has accounts and

              obtaining more IPO Share allocations for itself, including by recruiting

              additional affiliates to participate in the IPO Market Manipulation Scheme.

         i.   Preakness knowingly conducted (and continues to knowingly conduct) financial

              transactions involving the proceeds of mail fraud and wire fraud as defined in 18

              U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

              with the intent to promote the carrying on of such fraudulent conduct, and (ii)

              knowing that the transaction is designed to conceal or disguise the nature, the

              location, the source, the ownership, or the control of the proceeds of such mail

              fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

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  118.   Defendant DFO, and its manager, Davis, knowingly participated, and continue to

         knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

         follows:

         a.         Davis opened brokerage accounts for DFO with several of the Banks. DFO’s

                    accounts were (and continue to be) controlled and managed by Lustig and/or

                    JAL through a form of joint venture agreement.

         b.         DFO received approximately $600,000 from Lustig, individually or through JAL

                    and/or CLFS, so that it could engage in illegal churning by consummating

                    transactions lacking any economic substance, e.g., “wash sales,” for the sole

                    purpose of generating commissions for each of the Banks at which DFO has

                    accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                    (c).

         c.         DFO used (and continues to use) the money fronted by Lustig to engage in

                    illegal churning by consummating transactions lacking any economic substance,

                    e.g., “wash sales,” for the sole purpose of generating enough commissions to

                    remain among the Banks’ top tier clients and continue receiving the valuable IPO

                    Share allocations, in violation of C.R.S. 11-51-501(1) (a) and (c) and Rule 10b-

                    5(a) and (c).

         d.         DFO generated (and continues to generate) enough commissions to receive many

                    millions of dollars’ worth of IPO Share allocations, which it purchases and then

                    quickly sells at a substantial profit.




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         e.   When required to complete account opening documents, as well as FINRA Rule

              5130/5131 IPO Disclosure Forms, Davis, on behalf of DFO, violated C.R.S. 11-

              51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that: (i) DFO’s

              net worth is higher than it actually is; (ii) the funds DFO uses to conduct trades,

              pay commissions, and purchase IPO Shares come from sources other than the

              Lustig Defendants, such as Davis’ personal or family wealth, and (iii) no

              “restricted person” has a beneficial interest in the profits from the IPO Share

              allocations (even though Lustig is a restricted person and has a beneficial interest

              in the profits from the IPO Share allocations).

         f.   Davis and DFO used (and continue to use) the U.S. mail, telephone, and

              electronic communication in furtherance of the IPO Market Manipulation

              Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Davis and

              DFO: (i) used wire communications in interstate or foreign commerce via

              telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

              Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

              receiving instructions as to which wash trades should be executed through which

              Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

              and/or wire communications in interstate or foreign commerce to effectuate the

              IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule

              5130 forms containing knowing misstatements to the Banks (via mail, email, or

              fax).




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         g.         DFO repaid (and continues to repay) funds advanced by Lustig, plus interest.

                    Additionally, in the guise of compensation for accounting and administrative

                    services, as much as forty percent of DFO’s profits from the sale of IPO Shares

                    are paid to Lustig, individually and/or through JAL and/or CLFS.

         h.         DFO used (and continues to use) the profits generated from the sale of the IPO

                    Shares to continue operating the Enterprise for the purpose of generating more

                    commissions for each of the Banks at which DFO has accounts and obtaining

                    more IPO Share allocations for itself, including by recruiting additional affiliates

                    to participate in the IPO Market Manipulation Scheme.

         i.         DFO knowingly conducted (and continues to knowingly conduct) financial

                    transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                    U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                    with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                    knowing that the transaction is designed to conceal or disguise the nature, the

                    location, the source, the ownership, or the control of the proceeds of such mail

                    fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                    § 1956.

  119.   Defendant DTA, and its manager, Vlosich, knowingly participated, and continue to

         knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

         follows:

         a.         Vlosich opened brokerage accounts for DTA with several of the Banks,

                    including, at least, Goldman Sachs and Citigroup. DTA’s accounts were (and



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              continue to be) controlled and managed by Lustig and/or JAL through a form of

              joint venture agreement.

         b.   DTA received approximately $600,000 from Lustig, individually or through JAL

              and/or CLFS, so that it could engage in illegal churning by consummating

              transactions lacking any economic substance, e.g., “wash sales,” for the sole

              purpose of generating commissions for the Banks at which DTA has accounts in

              violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and (c).

         c.   DTA used (and continues to use) the money fronted by Lustig to engage in

              illegal churning by consummating transactions lacking any economic substance,

              e.g., “wash sales,” for the sole purpose of generating enough commissions to

              remain among the Banks’ top tier clients and continue receiving the valuable IPO

              Share allocations, in violation of C.R.S. 11-51-501(1) (a) and (c) and Rule 10b-

              5(a) and (c).

         d.   DTA generated (and continues to generate) enough commissions to receive many

              millions of dollars’ worth of IPO Share allocations, which it purchases and

              quickly sells at a substantial profit.

         e.   When required to complete account opening documents, as well as FINRA Rule

              5130/5131 IPO Disclosure Forms, Vlosich, on behalf of DTA, violated C.R.S.

              11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that: (i)

              DTA’s net worth is higher than it actually is; (ii) the funds DTA uses to conduct

              trades, pay commissions, and purchase IPO Shares come from sources other than

              the Lustig Defendants, such as Vlosich’s personal or family wealth, and (iii) no



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              “restricted person” has a beneficial interest in the profits from the IPO Share

              allocations (even though Lustig is a restricted person and has a beneficial interest

              in the profits from the IPO Share allocations).

         f.   Vlosich and DTA used (and continue to use) the U.S. mail, telephone, and

              electronic communication in furtherance of the IPO Market Manipulation

              Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Vlosich and

              DTA: (i) used wire communications in interstate or foreign commerce via

              telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

              Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

              receiving instructions as to which wash trades should be executed through which

              Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

              and/or wire communications in interstate or foreign commerce to effectuate the

              IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule

              5130 forms containing knowing misstatements to the Banks (via mail, email, or

              fax).

         g.   DTA repaid (and continues to repay) funds advanced by Lustig, plus interest.

              Additionally, in the guise of compensation for accounting and administrative

              services, as much as forty percent of DTA’s profits from the sale of IPO Shares

              are paid to Lustig, individually and/or through JAL and/or CLFS.

         h.   DTA used (and continues to use) the profits generated from the sale of the IPO

              Shares to continue operating the Enterprise for the purpose of generating more

              commissions for each of the Banks at which DTA has accounts and obtaining



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                    more IPO Share allocations for itself, including by recruiting additional affiliates

                    to participate in the IPO Market Manipulation Scheme.

          i.        DTA knowingly conducted (and continues to knowingly conduct) financial

                    transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                    U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                    with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                    knowing that the transaction is designed to conceal or disguise the nature, the

                    location, the source, the ownership, or the control of the proceeds of such mail

                    fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                    § 1956.

   120. Defendant Flamingo, and its manager, Pepper, knowingly participated, and continue to

         knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

         follows:

          a.        Pepper opened brokerage accounts for Flamingo with several of the Banks,

                    including, at least, Goldman Sachs and Citigroup. Flamingo’s accounts were

                    (and continue to be) controlled and managed by Lustig and/or JAL through a

                    form of joint venture agreement.

          b.        Flamingo received approximately $600,000 from Lustig, individually or through

                    JAL and/or CLFS, so that it could engage in illegal churning by consummating

                    transactions lacking any economic substance, e.g., “wash sales,” for the sole

                    purpose of generating commissions for each of the Banks at which Flamingo had




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              accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

              (c).

         c.   Flamingo used (and continues to use) the money fronted by Lustig to engage in

              illegal churning by consummating transactions lacking any economic substance,

              e.g., “wash sales,” for the sole purpose of generating enough commissions to

              remain among the Banks’ top tier clients and continue receiving the valuable IPO

              Share allocations, in violation of C.R.S. 11-51-501(1) (a) and (c) and Rule 10b-

              5(a) and (c).

         d.   Flamingo generated (and continues to generate) enough commissions to receive

              many millions of dollars’ worth of IPO Share allocations, which it purchases and

              then quickly sells at a substantial profit.

         e.   When required to complete account opening documents, as well as FINRA Rule

              5130/5131 IPO Disclosure Forms, Pepper, on behalf of Flamingo, violated

              C.R.S. 11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that:

              (i) Flamingo’s net worth is higher than it actually is; (ii) the funds Flamingo uses

              to conduct trades, pay commissions, and purchase IPO Shares come from

              sources other than the Lustig Defendants, such as Pepper’s personal or family

              wealth, and (iii) no “restricted person” has a beneficial interest in the profits from

              the IPO Share allocations (even though Lustig is a restricted person and has a

              beneficial interest in the profits from the IPO Share allocations).

         f.   Pepper and Flamingo used (and continue to use) the U.S. mail, telephone, and

              electronic communication in furtherance of the IPO Market Manipulation



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              Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Pepper and

              Flamingo: (i) used wire communications in interstate or foreign commerce via

              telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

              Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

              receiving instructions as to which wash trades should be executed through which

              Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

              and/or wire communications in interstate or foreign commerce to effectuate the

              IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule

              5130 forms containing knowing misstatements to the Banks (via mail, email, or

              fax).

         g.   Flamingo repaid (and continues to repay) funds advanced by Lustig, plus

              interest. Additionally, in the guise of compensation for accounting and

              administrative services, as much as forty percent of Flamingo’s profits from the

              sale of IPO Shares are paid to Lustig, individually and/or through JAL and/or

              CLFS.

         h.   Flamingo used (and continues to use) the profits generated from the sale of the

              IPO Shares to continue operating the Enterprise for the purpose of generating

              more commissions for each of the Banks at which Flamingo has accounts and

              obtaining more IPO Share allocations for itself, including by recruiting

              additional affiliates to participate in the IPO Market Manipulation Scheme.

         i.   Flamingo knowingly conducted (and continues to knowingly conduct) financial

              transactions involving the proceeds of mail fraud and wire fraud as defined in 18



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                    U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                    with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                    knowing that the transaction is designed to conceal or disguise the nature, the

                    location, the source, the ownership, or the control of the proceeds of such mail

                    fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                    § 1956.

  121.   Defendant Irving Income, and its manager, Jeremy, knowingly participated, and continue

         to knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

         follows:

         a.         Jeremy opened brokerage accounts for Irving Income with several of the Banks,

                    including, at least, J.P. Morgan, Goldman Sachs, Citigroup, Jefferies, Barclays,

                    and Credit Suisse. Irving Income’s accounts were (and continue to be)

                    controlled and managed by Lustig and/or JAL through a form of joint venture

                    agreement.

         b.         Irving Income received approximately $600,000 from Lustig, individually or

                    through JAL and/or CLFS, so that it could engage in illegal churning by

                    consummating transactions lacking any economic substance, e.g., “wash sales,”

                    for the sole purpose of generating commissions for each of the Banks at which

                    Irving Income has accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and

                    Rule 10b-5(a) and (c).

         c.         Irving Income used (and continues to use) the money fronted by Lustig to engage

                    in illegal churning by consummating transactions lacking any economic



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              substance, e.g., “wash sales,” for the sole purpose of generating enough

              commissions to remain among the Banks’ top tier clients and continue receiving

              the valuable IPO Share allocations, in violation of C.R.S. 11-51-501(1)(a) and

              (c) and Rule 10b-5(a) and (c).

         d.   Irving Income generated (and continues to generate) enough commissions to

              receive many millions of dollars’ worth of IPO Share allocations, which it

              purchases and then quickly sells at a substantial profit.

         e.   When required to complete account opening documents, as well as FINRA Rule

              5130/5131 IPO Disclosure Forms, Jeremy, on behalf of Irving Income, violated

              C.R.S. 11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that:

              (i) Irving Income’s net worth is higher than it actually is; (ii) the funds Irving

              Income uses to conduct trades, pay commissions, and purchase IPO Shares come

              from sources other than the Lustig Defendants, such as Jeremy’s personal or

              family wealth, and (iii) no “restricted person” has a beneficial interest in the

              profits from the IPO Share allocations (even though Lustig is a restricted person

              and has a beneficial interest in the profits from the IPO Share allocations). In

              fact, Jeremy is an individual with authority to buy and sell securities for

              investment advisor Redan and therefore Jeremy himself is a “restricted person”

              who is not entitled to receive IPO Shares pursuant to FINRA Rule 5130.

         f.   Jeremy and Irving Income used (and continue to use) the U.S. mail, telephone,

              and electronic communication in furtherance of the IPO Market Manipulation

              Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Jeremy and



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              Irving Income: (i) used wire communications in interstate or foreign commerce

              via telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO

              Market Manipulation Scheme and to effectuate the IPO Market Manipulation

              Scheme by receiving instructions as to which wash trades should be executed

              through which Banks and which IPO Shares should be purchased; and (ii) used

              the U.S. mail and/or wire communications in interstate or foreign commerce to

              effectuate the IPO Market Manipulation Scheme by sending Suitability forms

              and FINRA Rule 5130 forms containing knowing misstatements to the Banks

              (via mail, email, or fax).

         g.   Irving Income repaid (and continues to repay) funds advanced by Lustig, plus

              interest. Additionally, in the guise of compensation for accounting and

              administrative services, as much as forty percent of Irving Income’s profits from

              the sale of IPO Shares are paid to Lustig, individually and/or through JAL and/or

              CLFS.

         h.   Irving Income used (and continues to use) the profits generated from the sale of

              the IPO Shares to continue operating the Enterprise for the purpose of generating

              more commissions for each of the Banks at which Irving Income has accounts

              and obtaining more IPO Share allocations for itself, including by recruiting

              additional affiliates to participate in the IPO Market Manipulation Scheme.

         i.   Irving Income knowingly conducted (and continues to knowingly conduct)

              financial transactions involving the proceeds of mail fraud and wire fraud as

              defined in 18 U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as



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                    alleged above: (i) with the intent to promote the carrying on of such fraudulent

                    conduct, and (ii) knowing that the transaction is designed to conceal or disguise

                    the nature, the location, the source, the ownership, or the control of the proceeds

                    of such mail fraud and wire fraud and fraud in the sale of securities, in violation

                    of 18 U.S.C. § 1956.

  122.   Defendant Irving Privates, and its manager, Jeremy, knowingly participated, and continue

         to knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

         follows:

         a.         Jeremy opened brokerage accounts for Irving Privates with several of the Banks,

                    including, at least, J.P. Morgan, Goldman Sachs, Citigroup, Jefferies, Barclays,

                    and Credit Suisse. Irving Privates’ accounts were (and continue to be) controlled

                    and managed by Lustig and/or JAL through a form of joint venture agreement.

         b.         Irving Privates received approximately $600,000 from Lustig, individually or

                    through JAL and/or CLFS, so that it could engage in illegal churning by

                    consummating transactions lacking any economic substance, e.g., “wash sales,”

                    for the sole purpose of generating commissions for each of the Banks at which

                    Irving Privates has accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and

                    Rule 10b-5(a) and (c).

         c.         Irving Privates used (and continues to use) the money fronted by Lustig to

                    engage in illegal churning by consummating transactions lacking any economic

                    substance, e.g., “wash sales,” for the sole purpose of generating enough

                    commissions to remain among the Banks’ top tier clients and continue receiving



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              the valuable IPO Share allocations, in violation of C.R.S. 11-51-501(1)(a) and

              (c) and Rule 10b-5(a) and (c).

         d.   Irving Privates generated (and continues to generate) enough commissions to

              receive many millions of dollars’ worth of IPO Share allocations, which it

              purchases and then quickly sells at a substantial profit.

         e.   When required to complete account opening documents, as well as FINRA Rule

              5130/5131 IPO Disclosure Forms, Jeremy, on behalf of Irving Privates, violated

              C.R.S. 11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that:

              (i) Irving Privates’ net worth is higher than it actually is; (ii) the funds Irving

              Privates uses to conduct trades, pay commissions, and purchase IPO Shares

              come from sources other than the Lustig Defendants, such as Jeremy’s personal

              or family wealth, and (iii) no “restricted person” has a beneficial interest in the

              profits from the IPO Share allocations (even though Lustig is a restricted person

              and has a beneficial interest in the profits from the IPO Share allocations). In

              fact, Jeremy is an individual with authority to buy and sell securities for

              investment advisor Redan and therefore Jeremy himself is a “restricted person”

              who is not entitled to receive IPO Shares pursuant to FINRA Rule 5130.

         f.   Jeremy and Irving Privates used (and continue to use) the U.S. mail, telephone,

              and electronic communication in furtherance of the IPO Market Manipulation

              Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Jeremy and

              Irving Privates: (i) used wire communications in interstate or foreign commerce

              via telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO



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              Market Manipulation Scheme and to effectuate the IPO Market Manipulation

              Scheme by receiving instructions as to which wash trades should be executed

              through which Banks and which IPO Shares should be purchased; and (ii) used

              the U.S. mail and/or wire communications in interstate or foreign commerce to

              effectuate the IPO Market Manipulation Scheme by sending Suitability forms

              and FINRA Rule 5130 forms containing knowing misstatements to the Banks

              (via mail, email, or fax).

         g.   Irving Privates repaid (and continues to repay) funds advanced by Lustig, plus

              interest. Additionally, in the guise of compensation for accounting and

              administrative services, as much as forty percent of Irving Privates’ profits from

              the sale of IPO Shares are paid to Lustig, individually and/or through JAL and/or

              CLFS.

         h.   Irving Privates used (and continues to use) the profits generated from the sale of

              the IPO Shares to continue operating the Enterprise for the purpose of generating

              more commissions for each of the Banks at which Irving Privates has accounts

              and obtaining more IPO Share allocations for itself, including by recruiting

              additional affiliates to participate in the IPO Market Manipulation Scheme.

         i.   Irving Privates knowingly conducted (and continues to knowingly conduct)

              financial transactions involving the proceeds of mail fraud and wire fraud as

              defined in 18 U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as

              alleged above: (i) with the intent to promote the carrying on of such fraudulent

              conduct, and (ii) knowing that the transaction is designed to conceal or disguise



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                 the nature, the location, the source, the ownership, or the control of the proceeds

                 of such mail fraud and wire fraud and fraud in the sale of securities, in violation

                 of 18 U.S.C. § 1956.

  123.   Defendant Irving Real Estate, and its manager, Jeremy, knowingly participated, and

         continue to knowingly participate, in the Enterprise and the IPO Market Manipulation

         Scheme as follows:

         a.      Jeremy opened brokerage accounts for Irving Real Estate with several of the

                 Banks, including, at least, J.P. Morgan, Goldman Sachs, Citigroup, Jefferies,

                 Barclays, and Credit Suisse. Irving Real Estate’s accounts were (and continue to

                 be) controlled and managed by Lustig and/or JAL through a form of joint

                 venture agreement.

         b.      Irving Real Estate received approximately $600,000 from Lustig, individually or

                 through JAL and/or CLFS, so that it could engage in illegal churning by

                 consummating transactions lacking any economic substance, e.g., “wash sales,”

                 for the sole purpose of generating commissions for each of the Banks at which

                 Irving Real Estate has accounts in violation of C.R.S. 11-51-501(1)(a) and (c)

                 and Rule 10b-5(a) and (c).

         c.      Irving Real Estate used (and continues to use) the money fronted by Lustig to

                 engage in illegal churning by consummating transactions lacking any economic

                 substance, e.g., “wash sales,” for the sole purpose of generating enough

                 commissions to remain among the Banks’ top tier clients and continue receiving




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              the valuable IPO Share allocations, in violation of C.R.S. 11-51-501(1)(a) and

              (c) and Rule 10b-5(a) and (c).

         d.   Irving Real Estate generated (and continues to generate) enough commissions to

              receive many millions of dollars’ worth of IPO Share allocations, which it

              purchases and then quickly sells at a substantial profit.

         e.   When required to complete account opening documents, as well as FINRA Rule

              5130/5131 IPO Disclosure Forms, Jeremy, on behalf of Irving Real Estate,

              violated C.R.S. 11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in

              writing that: (i) Irving Real Estate’s net worth is higher than it actually is; (ii) the

              funds Irving Real Estate uses to conduct trades, pay commissions, and purchase

              IPO Shares come from sources other than the Lustig Defendants, such as

              Jeremy’s personal or family wealth, and (iii) no “restricted person” has a

              beneficial interest in the profits from the IPO Share allocations (even though

              Lustig is a restricted person and has a beneficial interest in the profits from the

              IPO Share allocations). In fact, Jeremy is an individual with authority to buy and

              sell securities for investment advisor Redan and therefore Jeremy himself is a

              “restricted person” who is not entitled to receive IPO Shares pursuant to FINRA

              Rule 5130.

         f.   Jeremy and Irving Real Estate used (and continue to use) the U.S. mail,

              telephone, and electronic communication in furtherance of the IPO Market

              Manipulation Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For

              example, Jeremy and Irving Real Estate: (i) used wire communications in



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              interstate or foreign commerce via telephone and email in violation of 18 U.S.C.

              §1343 to discuss the IPO Market Manipulation Scheme and to effectuate the IPO

              Market Manipulation Scheme by receiving instructions as to which wash trades

              should be executed through which Banks and which IPO Shares should be

              purchased; and (ii) used the U.S. mail and/or wire communications in interstate

              or foreign commerce to effectuate the IPO Market Manipulation Scheme by

              sending Suitability forms and FINRA Rule 5130 forms containing knowing

              misstatements to the Banks (via mail, email, or fax).

         g.   Irving Real Estate repaid (and continues to repay) funds advanced by Lustig,

              plus interest. Additionally, in the guise of compensation for accounting and

              administrative services, as much as forty percent of Irving Real Estate’s profits

              from the sale of IPO Shares are paid to Lustig, individually and/or through JAL

              and/or CLFS.

         h.   Irving Real Estate used (and continues to use) the profits generated from the sale

              of the IPO Shares to continue operating the Enterprise for the purpose of

              generating more commissions for each of the Banks at which Irving Real Estate

              has accounts and obtaining more IPO Share allocations for itself, including by

              recruiting additional affiliates to participate in the IPO Market Manipulation

              Scheme.

         i.   Irving Real Estate knowingly conducted (and continues to knowingly conduct)

              financial transactions involving the proceeds of mail fraud and wire fraud as

              defined in 18 U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as



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                    alleged above: (i) with the intent to promote the carrying on of such fraudulent

                    conduct, and (ii) knowing that the transaction is designed to conceal or disguise

                    the nature, the location, the source, the ownership, or the control of the proceeds

                    of such mail fraud and wire fraud and fraud in the sale of securities, in violation

                    of 18 U.S.C. § 1956.

  124.   Defendant Lion Gate, and its manager, Rickel, knowingly participated, and continue to

         knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

         follows:

         a.         Rickel opened brokerage accounts for Lion Gate with several of the Banks,

                    including, at least, J.P. Morgan, Goldman Sachs, Citigroup, Jefferies, Credit

                    Suisse, Barclays, and Deutsche Bank. Lion Gate’s accounts were (and continue

                    to be) controlled and managed by Lustig and/or JAL through a form of joint

                    venture agreement.

         b.         Lion Gate received approximately $600,000 from Lustig, individually or through

                    JAL and/or CLFS, so that it could engage in illegal churning by consummating

                    transactions lacking any economic substance, e.g., “wash sales,” for the sole

                    purpose of generating commissions for each of the Banks at which Lion Gate has

                    accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                    (c).

         c.         Lion Gate used (and continues to use) the money fronted by Lustig to engage in

                    illegal churning by consummating transactions lacking any economic substance,

                    e.g., “wash sales,” for the sole purpose of generating enough commissions to



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              remain among the Banks’ top tier clients and continue receiving the valuable IPO

              Share allocations, in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-

              5(a) and (c).

         d.   Lion Gate generated (and continues to generate) enough commissions to receive

              many millions of dollars’ worth of IPO Share allocations, which it purchases and

              then quickly sells at a substantial profit.

         e.   When required to complete account opening documents, as well as FINRA Rule

              5130/5131 IPO Disclosure Forms, Rickel, on behalf of Lion Gate, violated

              C.R.S. 11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that:

              (i) Lion Gate’s net worth is higher than it actually is; (ii) the funds Lion Gate

              uses to conduct trades, pay commissions, and purchase IPO Shares come from

              sources other than the Lustig Defendants, such as Rickel’s personal or family

              wealth, and (iii) no “restricted person” has a beneficial interest in the profits from

              the IPO Share allocations (even though Lustig is a restricted person and has a

              beneficial interest in the profits from the IPO Share allocations). Indeed, Rickel

              admitted to Mr. Berlin that he made material misrepresentations and omissions

              on the Rule 5130 Forms he filled out for each of the Banks at which he opened

              accounts for Lion Gate because he represented that no “restricted person” had a

              beneficial interest in the accounts even though Lustig qualifies as a “restricted

              person” and in fact has a beneficial interest in each of the accounts. Rickel also

              admitted to Mr. Berlin that he knew that doing so was illegal.




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         f.   Rickel and Lion Gate used (and continue to use) the U.S. mail, telephone, and

              electronic communication in furtherance of the IPO Market Manipulation

              Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Rickel and

              Lion Gate: (i) used wire communications in interstate or foreign commerce via

              telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

              Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

              receiving instructions as to which wash trades should be executed through which

              Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

              and/or wire communications in interstate or foreign commerce to effectuate the

              IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule

              5130 forms containing knowing misstatements to the Banks (via mail, email, or

              fax).

         g.   Lion Gate repaid (and continues to repay) funds advanced by Lustig, plus

              interest. Additionally, in the guise of compensation for accounting and

              administrative services, as much as forty percent of Lion Gate’s profits from the

              sale of IPO Shares are paid to Lustig, individually and/or through JAL and/or

              CLFS.

         h.   Lion Gate used (and continues to use) the profits generated from the sale of the

              IPO Shares to continue operating the Enterprise for the purpose of generating

              more commissions for each of the Banks at which Lion Gate has accounts and

              obtaining more IPO Share allocations for itself, including by recruiting

              additional affiliates to participate in the IPO Market Manipulation Scheme.



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         i.         Lion Gate knowingly conducted (and continues to knowingly conduct) financial

                    transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                    U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                    with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                    knowing that the transaction is designed to conceal or disguise the nature, the

                    location, the source, the ownership, or the control of the proceeds of such mail

                    fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                    § 1956.

  125.   Defendant Mack, and its manager, Wolk, knowingly participated, and continue to

         knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

         follows:

         a.         Wolk opened brokerage accounts for Mack with several of the Banks. Mack’s

                    accounts were (and continue to be) controlled and managed by Lustig and/or

                    JAL through a form of joint venture agreement.

         b.         Mack received approximately $600,000 from Lustig, individually or through

                    JAL and/or CLFS, so that it could engage in illegal churning by consummating

                    transactions lacking any economic substance, e.g., “wash sales,” for the sole

                    purpose of generating commissions for each of the Banks at which Mack has

                    accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                    (c).

         c.         Mack used (and continues to use) the money fronted by Lustig to engage in

                    illegal churning by consummating transactions lacking any economic substance,



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              e.g., “wash sales,” for the sole purpose of generating enough commissions to

              remain among the Banks’ top tier clients and continue receiving the valuable IPO

              Share allocations, in violation of C.R.S. 11-51-501(1) (a) and (c) and Rule 10b-

              5(a) and (c).

         d.   Mack generated (and continues to generate) enough commissions to receive

              many millions of dollars’ worth of IPO Share allocations, which it purchases and

              then quickly sells at a substantial profit.

         e.   When required to complete account opening documents, as well as FINRA Rule

              5130/5131 IPO Disclosure Forms, Wolk, on behalf of Mack, violated C.R.S. 11-

              51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that: (i)

              Mack’s net worth is higher than it actually is; (ii) the funds Mack uses to conduct

              trades, pay commissions, and purchase IPO Shares come from sources other than

              the Lustig Defendants, such as Wolk’s personal or family wealth, and (iii) no

              “restricted person” has a beneficial interest in the profits from the IPO Share

              allocations (even though Lustig is a restricted person and has a beneficial interest

              in the profits from the IPO Share allocations).

         f.   Wolk and Mack used (and continue to use) the U.S. mail, telephone, and

              electronic communication in furtherance of the IPO Market Manipulation

              Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Wolk and

              Mack: (i) used wire communications in interstate or foreign commerce via

              telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

              Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by



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              receiving instructions as to which wash trades should be executed through which

              Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

              and/or wire communications in interstate or foreign commerce to effectuate the

              IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule

              5130 forms containing knowing misstatements to the Banks (via mail, email, or

              fax).

         g.   Mack repaid (and continues to repay) funds advanced by Lustig, plus interest.

              Additionally, in the guise of compensation for accounting and administrative

              services, as much as forty percent of Mack’s profits from the sale of IPO Shares

              are paid to Lustig, individually and/or through JAL and/or CLFS.

         h.   Mack used (and continues to use) the profits generated from the sale of the IPO

              Shares to continue operating the Enterprise for the purpose of generating more

              commissions for each of the Banks at which Mack has accounts and obtaining

              more IPO Share allocations for itself, including by recruiting additional affiliates

              to participate in the IPO Market Manipulation Scheme.

         i.   Mack knowingly conducted (and continues to knowingly conduct) financial

              transactions involving the proceeds of mail fraud and wire fraud as defined in 18

              U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

              with the intent to promote the carrying on of such fraudulent conduct, and (ii)

              knowing that the transaction is designed to conceal or disguise the nature, the

              location, the source, the ownership, or the control of the proceeds of such mail




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                    fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                    § 1956.

   126. Defendant MSM, and its manager, Mia, knowingly participated, and continue to

         knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

         follows:

         a.         Mia opened brokerage accounts for MSM with several of the Banks, including,

                    at least, Goldman Sachs and Citigroup. MSM’s accounts were (and continue to

                    be) controlled and managed by Lustig and/or JAL through a form of joint

                    venture agreement.

         b.         MSM received approximately $600,000 from Lustig, individually or through

                    JAL and/or CLFS, so that it could engage in illegal churning by consummating

                    transactions lacking any economic substance, e.g., “wash sales,” for the sole

                    purpose of generating commissions for each of the Banks at which MSM has

                    accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

                    (c).

         c.         MSM used (and continues to use) the money fronted by Lustig to engage in

                    illegal churning by consummating transactions lacking any economic substance,

                    e.g., “wash sales,” for the sole purpose of generating enough commissions to

                    remain among the Banks’ top tier clients and continue receiving the valuable IPO

                    Share allocations, in violation of C.R.S. 11-51-501(1) (a) and (c) and Rule 10b-

                    5(a) and (c).




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         d.   MSM generated (and continues to generate) enough commissions to receive

              many millions of dollars’ worth of IPO Share allocations, which it purchases and

              then quickly sells at a substantial profit.

         e.   When required to complete account opening documents, as well as FINRA Rule

              5130/5131 IPO Disclosure Forms, Mia, on behalf of MSM, violated C.R.S. 11-

              51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that: (i)

              MSM’s net worth is higher than it actually is; (ii) the funds MSM uses to

              conduct trades, pay commissions, and purchase IPO Shares come from sources

              other than the Lustig Defendants, such as Mia’s personal or family wealth, and

              (iii) no “restricted person” has a beneficial interest in the profits from the IPO

              Share allocations (even though Lustig is a restricted person and has a beneficial

              interest in the profits from the IPO Share allocations).

         f.   Mia and MSM used (and continue to use) the U.S. mail, telephone, and

              electronic communication in furtherance of the IPO Market Manipulation

              Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Mia and

              MSM: (i) used wire communications in interstate or foreign commerce via

              telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

              Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

              receiving instructions as to which wash trades should be executed through which

              Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

              and/or wire communications in interstate or foreign commerce to effectuate the

              IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule



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                    5130 forms containing knowing misstatements to the Banks (via mail, email, or

                    fax).

         g.         MSM repaid (and continues to repay) funds advanced by Lustig, plus interest.

                    Additionally, in the guise of compensation for accounting and administrative

                    services, as much as forty percent of MSM’s profits from the sale of IPO Shares

                    is paid to Lustig, individually and/or through JAL and/or CLFS.

         h.         MSM used (and continues to use) the profits generated from the sale of the IPO

                    Shares to continue operating the Enterprise for the purpose of generating more

                    commissions for each of the Banks at which MSM has accounts and obtaining

                    more IPO Share allocations for itself, including by recruiting additional affiliates

                    to participate in the IPO Market Manipulation Scheme.

         i.         MSM knowingly conducted (and continues to knowingly conduct) financial

                    transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                    U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                    with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                    knowing that the transaction is designed to conceal or disguise the nature, the

                    location, the source, the ownership, or the control of the proceeds of such mail

                    fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                    § 1956.

  127.   Defendant Prudent, and its manager, Goldenberg, knowingly participated, and continue to

         knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

         follows:



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         a.   Goldenberg opened brokerage accounts for Prudent with several of the Banks,

              including, at least, Goldman Sachs and Citigroup. Prudent’s accounts were (and

              continue to be) controlled and managed by Lustig and/or JAL through a form of

              joint venture agreement.

         b.   Prudent received approximately $600,000 from Lustig, individually or through

              JAL and/or CLFS, so that it could engage in illegal churning by consummating

              transactions lacking any economic substance, e.g., “wash sales,” for the sole

              purpose of generating commissions for each of the Banks at which Prudent has

              accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

              (c).

         c.   Prudent used (and continues to use) the money fronted by Lustig to engage in

              illegal churning by consummating transactions lacking any economic substance,

              e.g., “wash sales,” for the sole purpose of generating enough commissions to

              remain among the Banks’ top tier clients and continue receiving the valuable IPO

              Share allocations, in violation of C.R.S. 11-51-501(1) (a) and (c) and Rule 10b-

              5(a) and (c).

         d.   Prudent generated (and continues to generate) enough commissions to receive

              many millions of dollars’ worth of IPO Share allocations, which it purchases and

              then quickly sells at a substantial profit.

         e.   When required to complete account opening documents, as well as FINRA Rule

              5130/5131 IPO Disclosure Forms, Goldenberg, on behalf of Prudent, violated

              C.R.S. 11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that:



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              (i) Prudent’s net worth is higher than it actually is; (ii) the funds Prudent uses to

              conduct trades, pay commissions, and purchase IPO Shares come from sources

              other than the Lustig Defendants, such as Goldenberg’s personal or family

              wealth, and (iii) no “restricted person” has a beneficial interest in the profits from

              the IPO Share allocations (even though Lustig is a restricted person and has a

              beneficial interest in the profits from the IPO Share allocations).

         f.   Goldenberg and Prudent used (and continue to use) the U.S. mail, telephone, and

              electronic communication in furtherance of the IPO Market Manipulation

              Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Goldenberg

              and Prudent: (i) used wire communications in interstate or foreign commerce via

              telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO Market

              Manipulation Scheme and to effectuate the IPO Market Manipulation Scheme by

              receiving instructions as to which wash trades should be executed through which

              Banks and which IPO Shares should be purchased; and (ii) used the U.S. mail

              and/or wire communications in interstate or foreign commerce to effectuate the

              IPO Market Manipulation Scheme by sending Suitability forms and FINRA Rule

              5130 forms containing knowing misstatements to the Banks (via mail, email, or

              fax).

         g.   Prudent repaid (and continues to repay) funds advanced by Lustig, plus interest.

              Additionally, in the guise of compensation for accounting and administrative

              services, as much as forty percent of Prudent’s profits from the sale of IPO

              Shares is paid to Lustig, individually and/or through JAL and/or CLFS.



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         h.         Prudent used (and continues to use) the profits generated from the sale of the IPO

                    Shares to continue operating the Enterprise for the purpose of generating more

                    commissions for each of the Banks at which Prudent has accounts and obtaining

                    more IPO Share allocations for itself, including by recruiting additional affiliates

                    to participate in the IPO Market Manipulation Scheme.

         i.         Prudent knowingly conducted (and continues to knowingly conduct) financial

                    transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                    U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                    with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                    knowing that the transaction is designed to conceal or disguise the nature, the

                    location, the source, the ownership, or the control of the proceeds of such mail

                    fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                    § 1956.

  128.   Defendant Quandary, and its manager, Mackiernan, knowingly participated, and continue

         to knowingly participate, in the Enterprise and the IPO Market Manipulation Scheme as

         follows:

         a.         Mackiernan opened brokerage accounts for Quandary with several of the Banks,

                    including, at least, Goldman Sachs and Citigroup. Quandary’s accounts were

                    (and continue to be) controlled and managed by Lustig and/or JAL through a

                    form of joint venture agreement.

         b.         Quandary received approximately $600,000 from Lustig, individually or through

                    JAL and/or CLFS, so that it could engage in illegal churning by consummating



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              transactions lacking any economic substance, e.g., “wash sales,” for the sole

              purpose of generating commissions for each of the Banks at which Quandary has

              accounts in violation of C.R.S. 11-51-501(1)(a) and (c) and Rule 10b-5(a) and

              (c).

         c.   Quandary used (and continues to use) the money fronted by Lustig to engage in

              illegal churning by consummating transactions lacking any economic substance,

              e.g., “wash sales,” for the sole purpose of generating enough commissions to

              remain among the Banks’ top tier clients and continue receiving the valuable IPO

              Share allocations, in violation of C.R.S. 11-51-501(1) (a) and (c) and Rule 10b-

              5(a) and (c).

         d.   Quandary generated (and continues to generate) enough commissions to receive

              many millions of dollars’ worth of IPO Share allocations, which it purchases and

              then quickly sells at a substantial profit.

         e.   When required to complete account opening documents, as well as FINRA Rule

              5130/5131 IPO Disclosure Forms, Mackiernan, on behalf of Quandary, violated

              C.R.S. 11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in writing that:

              (i) Quandary’s net worth is higher than it actually is; (ii) the funds Quandary uses

              to conduct trades, pay commissions, and purchase IPO Shares come from

              sources other than the Lustig Defendants, such as Mackiernan’s personal or

              family wealth, and (iii) no “restricted person” has a beneficial interest in the

              profits from the IPO Share allocations (even though Lustig is a restricted person

              and has a beneficial interest in the profits from the IPO Share allocations).



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         f.   Mackiernan and Quandary used (and continue to use) the U.S. mail, telephone,

              and electronic communication in furtherance of the IPO Market Manipulation

              Scheme, in violation of 18 U.S.C. §§ 1341 and 1343. For example, Mackiernan

              and Quandary: (i) used wire communications in interstate or foreign commerce

              via telephone and email in violation of 18 U.S.C. §1343 to discuss the IPO

              Market Manipulation Scheme and to effectuate the IPO Market Manipulation

              Scheme by receiving instructions as to which wash trades should be executed

              through which Banks and which IPO Shares should be purchased; and (ii) used

              the U.S. mail and/or wire communications in interstate or foreign commerce to

              effectuate the IPO Market Manipulation Scheme by sending Suitability forms

              and FINRA Rule 5130 forms containing knowing misstatements to the Banks

              (via mail, email, or fax).

         g.   Quandary repaid (and continues to repay) funds advanced by Lustig, plus

              interest. Additionally, in the guise of compensation for accounting and

              administrative services, as much as forty percent of Quandary’s profits from the

              sale of IPO Shares is paid to Lustig, individually and/or through JAL and/or

              CLFS.

         h.   Quandary used (and continues to use) the profits generated from the sale of the

              IPO Shares to continue operating the Enterprise for the purpose of generating

              more commissions for each of the Banks at which Quandary has accounts and

              obtaining more IPO Share allocations for itself, including by recruiting

              additional affiliates to participate in the IPO Market Manipulation Scheme.



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         i.        Quandary knowingly conducted (and continues to knowingly conduct) financial

                   transactions involving the proceeds of mail fraud and wire fraud as defined in 18

                   U.S.C. §§ 1341 and 1343 and fraud in the sale of securities as alleged above: (i)

                   with the intent to promote the carrying on of such fraudulent conduct, and (ii)

                   knowing that the transaction is designed to conceal or disguise the nature, the

                   location, the source, the ownership, or the control of the proceeds of such mail

                   fraud and wire fraud and fraud in the sale of securities, in violation of 18 U.S.C.

                   § 1956.

  129.   Each of the aforementioned acts relates directly to the conduct of the Enterprise, and was

         carried out in the conduct of the Enterprise’s affairs. Accordingly, the aforementioned

         acts constitute a pattern of racketeering activity as that term is defined in C.R.S. 18-17-

         103(3).

  130.   The Enterprise and the IPO Market Manipulation Scheme are ongoing.

  131.   Plaintiffs Birchwood and Detroit Street are entities that have been (and, in the case of

         Detroit Street, continue to be) injured by reason of Defendants’ violations of the

         provisions of C.R.S. 18-17-104(3), including:

         a.        Engaging in illegal churning by consummating transactions lacking any

                   economic substance, e.g., “wash sales,” for the sole purpose of generating

                   commissions for the Banks in violation of C.R.S.; 11-51-501(1)(a) and (c) and

                   Rule 10b-5(a) and (c), which artificially increased the price of the IPO Shares by

                   artificially increasing the amount of commissions that Plaintiffs were required to

                   generate in order to continue to obtain IPO Share allocations and directly caused



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              millions of dollars’ worth of IPO Shares that should have been allocated to the

              Plaintiffs to be allocated to the Affiliated Entities instead;

         b.   Violating C.R.S. 11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in

              writing that: (i) each Affiliated Entity’s net worth is higher than it actually is; (ii)

              the funds each Affiliated Entity uses to conduct trades, pay commissions, and

              purchase IPO Shares come from sources other than the Lustig Defendants, such

              as the Affiliated Entity or Affiliated Individual’s personal or family wealth, and

              (iii) no “restricted person” has a beneficial interest in the profits from the IPO

              Share allocations (even though Lustig is a restricted person and has a beneficial

              interest in the profits from the IPO Share allocations). Such false

              representations caused the Banks to open brokerage accounts for the Affiliated

              Entities which then artificially increased the price of the IPO Shares by

              artificially increasing the amount of commissions that Plaintiffs were required to

              generate in order to continue to obtain IPO Share allocations and directly caused

              millions of dollars’ worth of IPO Shares that should have been allocated to the

              Plaintiffs to be allocated to the Affiliated Entities instead;

         c.   Using the U.S. mail, telephone, and electronic communication in furtherance of

              the IPO Market Manipulation Scheme as described herein, in violation of 18

              U.S.C. §§ 1341 and 1343, which caused the Banks to open brokerage accounts

              for the Affiliated Entities which then artificially increased the price of the IPO

              Shares by artificially increasing the amount of commissions that Plaintiffs were

              required to generate in order to continue to obtain IPO Share allocations and



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                  directly caused millions of dollars’ worth of IPO Shares that should have been

                  allocated to the Plaintiffs to be allocated to the Affiliated Entities instead;

          d.      Knowingly conducting financial transactions involving the proceeds of mail

                  fraud and wire fraud as defined in 18 U.S.C. §§ 1341 and 1343 and fraud in the

                  sale of securities as alleged above: (i) with the intent to promote the carrying on

                  of such mail fraud, wire fraud, and fraud in the sale of securities, and (ii)

                  knowing that the transaction is designed to conceal or disguise the nature, the

                  location, the source, the ownership, or the control of the proceeds of such mail

                  fraud, wire fraud, and fraud in the sale of securities, which caused the Banks to

                  open brokerage accounts for the Affiliated Entities which then artificially

                  increased the price of the IPO Shares by artificially increasing the amount of

                  commissions that Plaintiffs were required to generate in order to continue to

                  obtain IPO Share allocations and directly caused millions of dollars’ worth of

                  IPO Shares that should have been allocated to the Plaintiffs to be allocated to the

                  Affiliated Entities instead;

         As a result, Plaintiffs’ injuries flow directly from the IPO Market Manipulation Scheme,

         including the violations set forth in paragraphs a-d above.

  132.   Under C.R.S. 18-17-106(7), Plaintiffs have a cause of action for threefold the actual

         damages they have sustained, attorneys’ fees, and a claim to forfeited property or the

         proceeds derived therefrom.

  133.   Defendants have received millions of dollars of proceeds derived from their violations of

         C.R.S. 18-17-104(3) which is subject to forfeiture under C.R.S. 18-17-106(10). Under



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         C.R.S. 18-17-106(7)(b), Plaintiffs are injured persons who have a right or claim to the

         forfeited property or the proceeds derived therefrom superior to any right or claim the

         state has in the same property or proceeds.


                               SECOND CLAIM FOR RELIEF
                        Colorado Organized Crime Control Act (COCCA)
                               C.R.S. 18-17-104(1) and 18-17-106

  134.   All allegations previously stated herein are incorporated by reference.

  135.   Each Defendant violated, and continues to violate, C.R.S. 18-17-104(1) because each

         Defendant has knowingly received proceeds derived directly from the pattern of

         racketeering activity described herein, and has used such proceeds in the ongoing

         operation of the Enterprise, including by recruiting additional affiliates to participate in

         the IPO Market Manipulation Scheme.

  136.   Plaintiffs Birchwood and Detroit Street are persons who have been (and, in the case of

         Detroit Street, continue to be) injured by reason of the Defendants’ use of the proceeds

         from the pattern of racketeering activity described herein to continue operating the

         Enterprise and carrying out the IPO Market Manipulation Scheme, which has artificially

         increased the price of the IPO Shares by artificially increasing the amount of

         commissions that Plaintiffs were and are required to generate in order to continue to

         obtain IPO Share allocations. The IPO Market Manipulation Scheme has also directly

         caused millions of dollars’ worth of IPO Shares that should have been allocated to the

         Plaintiffs to be allocated to the Affiliated Entities instead.




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  137.   Under C.R.S. 18-17-106(7), Plaintiffs have a cause of action for threefold the actual

         damages they have sustained, attorneys’ fees, and a claim to forfeited property or the

         proceeds derived therefrom.

  138.   Defendants have received millions of dollars of proceeds derived from their violations of

         C.R.S. 18-17-104(1) which are subject to forfeiture under C.R.S. 18-17-106(10). Under

         C.R.S. 18-17-106(7)(b), Plaintiffs are injured persons who have a right or claim to the

         forfeited property or the proceeds derived therefrom superior to any right or claim the

         state has in the same property or proceeds.


                                 THIRD CLAIM FOR RELIEF
                        Colorado Organized Crime Control Act (COCCA)
                               C.R.S. 18-17-104(2) and 18-17-106

  139.   All allegations previously stated herein are incorporated by reference.

  140.   Each Defendant has violated C.R.S. 18-17-104(2) because each Defendant has knowingly

         maintained a direct interest in and control of the Enterprise through the pattern of

         racketeering activity described herein.

  141.   Plaintiffs Birchwood and Detroit Street are persons who have been (and, in the case of

         Detroit Street, continue to be) injured by reason of the Defendants’ maintenance of a

         direct interest in, and control of, the Enterprise, through the IPO Market Manipulation

         Scheme, which has artificially increased the price of the IPO Shares by artificially

         increasing the amount of commissions that Plaintiffs were and are required to generate in

         order to continue to obtain IPO Share allocations. The IPO Market Manipulation Scheme

         has also directly caused millions of dollars’ worth of IPO Shares that should have been

         allocated to the Plaintiffs to be allocated to the Affiliated Entities instead.


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  142.   Under C.R.S. 18-17-106(7), Plaintiffs have a cause of action for threefold the actual

         damages they have sustained, attorneys’ fees, and a claim to forfeited property or the

         proceeds derived therefrom.

  143.   Defendants have received millions of dollars of proceeds derived from their violations of

         C.R.S. 18-17-104(2) which are subject to forfeiture under C.R.S. 18-17-106(10). Under

         C.R.S. 18-17-106(7)(b), Plaintiffs are injured persons who have a right or claim to the

         forfeited property or the proceeds derived therefrom superior to any right or claim the

         state has in the same property or proceeds.


                               FOURTH CLAIM FOR RELIEF
                        Colorado Organized Crime Control Act (COCCA)
                               C.R.S. 18-17-104(4) and 18-17-106

  144.   All allegations previously stated herein are incorporated by reference.

  145.   Each Defendant violated, and continues to violate, C.R.S. 18-17-104(4) because each

         Defendant knowingly and intentionally conspired and endeavored (and continues to

         knowingly and intentionally conspire and endeavor) to associate with the Enterprise and

         to knowingly and intentionally participate in the Enterprise through the ongoing pattern

         of racketeering activity described herein.

  146.   The overt acts committed by each Defendant in furtherance of the conspiracy are set forth

         in paragraphs 98-128, which paragraphs are incorporated by reference herein.

  147.   Plaintiffs Birchwood and Detroit Street are persons who have been (and, in the case of

         Detroit Street, continue to be) injured by reason of the Defendants’ commissions of overt

         acts in furtherance of the above-referenced conspiracy, including:




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         a.   Engaging in illegal churning by consummating transactions lacking any

              economic substance, e.g., “wash sales,” for the sole purpose of generating

              commissions for the Banks in violation of C.R.S.; 11-51-501(1)(a) and (c) and

              Rule 10b-5(a) and (c), which artificially increased the price of the IPO Shares by

              artificially increasing the amount of commissions that Plaintiffs were and are

              required to generate in order to continue to obtain IPO Share allocations and

              directly caused millions of dollars’ worth of IPO Shares that should have been

              allocated to the Plaintiffs to be allocated to the Affiliated Entities instead;

         b.   Violating C.R.S. 11-51-501(1)(b) and Rule 10b-5(b) by falsely representing in

              writing that: (i) each Affiliated Entity’s net worth is higher than it actually is; (ii)

              the funds each Affiliated Entity uses to conduct trades, pay commissions, and

              purchase IPO Shares come from sources other than the Lustig Defendants, such

              as the Affiliated Entity’s personal or family wealth, and (iii) no “restricted

              person” has a beneficial interest in the profits from the IPO Share allocations

              (even though Lustig is a restricted person and has a beneficial interest in the

              profits from the IPO Share allocations), which caused the Banks to open

              brokerage accounts for the Affiliated Entities which then artificially increased

              the price of the IPO Shares by artificially increasing the amount of commissions

              that Plaintiffs were required to generate in order to continue to obtain IPO Share

              allocations and directly caused millions of dollars’ worth of IPO Shares that

              should have been allocated to the Plaintiffs to be allocated to the Affiliated

              Entities instead;



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         c.   Using the U.S. mail, telephone, and electronic communication in furtherance of

              the IPO Market Manipulation Scheme as described herein, in violation of 18

              U.S.C. §§ 1341 and 1343, which caused the Banks to open brokerage accounts

              for the Affiliated Entities which then artificially increased the price of the IPO

              Shares by artificially increasing the amount of commissions that Plaintiffs were

              and are required to generate in order to continue to obtain IPO Share allocations

              and directly caused millions of dollars’ worth of IPO Shares that should have

              been allocated to the Plaintiffs to be allocated to the Affiliated Entities instead;

         d.   Knowingly conducting financial transactions involving the proceeds of mail

              fraud and wire fraud as defined in 18 U.S.C. §§ 1341 and 1343 and fraud in the

              sale of securities as alleged above: (i) with the intent to promote the carrying on

              of such mail fraud, wire fraud, and fraud in the sale of securities, and (ii)

              knowing that the transaction is designed to conceal or disguise the nature, the

              location, the source, the ownership, or the control of the proceeds of such mail

              fraud, wire fraud, and fraud in the sale of securities, which caused the Banks to

              open brokerage accounts for the Affiliated Entities which then artificially

              increased the price of the IPO Shares by artificially increasing the amount of

              commissions that Plaintiffs were required to generate in order to continue to

              obtain IPO Share allocations and directly caused millions of dollars’ worth of

              IPO Shares that should have been allocated to the Plaintiffs to be allocated to the

              Affiliated Entities instead;




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         As a result, Plaintiffs’ injuries flow directly from the commission of overt acts in

         furtherance of the Defendants’ knowingly and intentionally conspiring and endeavoring to

         engage in the IPO Market Manipulation Scheme, including the violations set forth in

         paragraphs a-d above.

  148.   Under C.R.S. 18-17-106(7), Plaintiffs have a cause of action for threefold the actual

         damages they have sustained, attorneys’ fees, and a claim to forfeited property or the

         proceeds derived therefrom.

  149.   Defendants have received millions of dollars of proceeds derived from their violations of

         C.R.S. 18-17-104(4) which are subject to forfeiture under C.R.S. 18-17-106(10). Under

         C.R.S. 18-17-106(7)(b), Plaintiffs are injured persons who have a right or claim to the

         forfeited property or the proceeds derived therefrom superior to any right or claim the

         state has in the same property or proceeds.


                                   FIFTH CLAIM FOR RELIEF
                                       Colorado Securities Act
                               C.R.S. 11-51-501(1)(a) and 11-51-604(3)

  150.   All allegations previously stated herein are incorporated by reference.

  151.   The IPO Market Manipulation Scheme is a device, scheme, or artifice to defraud.

  152.   Defendants knowingly committed (and continue to commit) manipulative and deceptive

         acts in furtherance of the IPO Market Manipulation Scheme.

  153.   The specific manipulative and deceptive acts committed by each Defendant in

         furtherance of the IPO Market Manipulation Scheme are set forth in paragraphs 98-128,

         which paragraphs are incorporated by reference herein.




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  154.   Defendants’ manipulative and deceptive acts controlled and artificially affected the

         market for IPO Shares allocated by the Bank.

  155.   Plaintiffs relied on the integrity of the IPO Share allocation market and were injured by

         having to pay a higher price for the IPO Shares than they would have paid but for the IPO

         Market Manipulation Scheme. Plaintiffs were also injured by receiving fewer IPO

         Shares than they would have received but for the IPO Market Manipulation Scheme.

  156.   Plaintiffs are entitled to damages in an amount to be determined at trial.

                                  SIXTH CLAIM FOR RELIEF
                                      Colorado Securities Act
                              C.R.S. 11-51-501(1)(b) and 11-51-604(3)

  157.   All allegations previously stated herein are incorporated by reference.

  158.   Defendants knowingly made untrue statements of material fact and omitted to state

         material facts necessary in order to make the statements made, in the light of the

         circumstances under which they are made, not misleading, in connection with the offer,

         sale, and purchase of IPO Shares.

  159.   The specific misstatements and fraudulent omissions made by each Defendant in

         furtherance of the IPO Market Manipulation Scheme are set forth in paragraphs 98-128,

         which paragraphs are incorporated by reference herein.

  160.   Defendants’ misstatements and fraudulent omissions artificially affected the market for

         IPO Shares allocated by the Banks.

  161.   Plaintiffs relied on the integrity of the IPO Share allocation market and were injured by

         having to pay a higher price for the IPO Shares than they would have paid but for the IPO




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         Market Manipulation Scheme. Plaintiffs were also injured by receiving fewer IPO

         Shares than they would have received but for the IPO Market Manipulation Scheme.

                                SEVENTH CLAIM FOR RELIEF
                                      Colorado Securities Act
                              C.R.S. 11-51-501(1)(c) and 11-51-604(3)

  162.   All allegations previously stated herein are incorporated by reference.

  163.   Defendants engaged (and continue to engage) in acts, practices, and a course of business

         which operated (and continues to operate) as a fraud and deceit upon Plaintiffs.

  164.   The IPO Market Manipulation Scheme operated as a fraud and deceit upon Plaintiffs (and

         continues to operate as a fraud and deceit upon Detroit Street).

  165.   The fraudulent and deceptive acts, practices, and course of business in which Defendants

         engaged (and continue to engage) is described in paragraphs 98-128, which paragraphs

         are incorporated by reference herein.

  166.   Defendants’ manipulative and deceptive acts controlled and artificially affected the

         market for IPO Shares allocated by the Bank.

  167.   Plaintiffs relied on the integrity of the IPO Share allocation market and were injured by

         having to pay a higher price for the IPO Shares than they would have paid but for the IPO

         Market Manipulation Scheme. Plaintiffs were also injured by receiving fewer IPO

         Shares than they would have received but for the IPO Market Manipulation Scheme.

  168.   Plaintiffs are entitled to damages in an amount to be determined at trial.

                               EIGHTH CLAIM FOR RELIEF
                                    Control Person Liability
                   (Against Lustig, JAL, and the Affiliated Individuals Only)
                       C.R.S. 11-51-501(1) and 11-51-604(5) (a) and (b)

  169.   All allegations previously stated herein are incorporated by reference.


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  170.   The Affiliated Entities are liable for violations of C.R.S. 11-51-501(1) pursuant to C.R.S.

         11-51-604(3). Detailed allegations regarding the Affiliated Entities’ liability for such

         violations are contained in paragraphs 98-128 and 150-168, which paragraphs are

         incorporated by reference herein.

  171.   Lustig and JAL controlled (and continue to control) the Affiliated Entities, and thus are

         liable for the Affiliated Entities’ violations of C.R.S. 11-51-501(1) pursuant to C.R.S. 11-

         51-604(5).

  172.   Each Affiliated Individual controlled its respective Affiliated Entity and thus each

         Affiliated Individual is liable for its respective Affiliated Entity’s violations of C.R.S. 11-

         51-501(1) pursuant to C.R.S. 11-51-604(5).

  173.   Plaintiffs were injured by Lustig, JAL, and the Affiliated Entities’ violations of C.R.S.

         11-51-501(1) and are entitled to damages in an amount to be determined at trial.

                                 NINTH CLAIM FOR RELIEF
                                  Aiding and Abetting Liability
                                       (Against CLFS Only)
                              C.R.S. 11-51-501(1) and 11-51-604(5)(c)

  174.   All allegations previously stated herein are incorporated by reference.

  175.   Lustig, JAL, and the Affiliates are liable for violations of C.R.S. 11-51-501(1) pursuant

         to C.R.S. 11-51-604(3). Detailed allegations regarding Lustig, JAL, and the Affiliates’

         liability for such violations are contained in paragraphs 98-128 and 150-168, which

         paragraphs are incorporated by reference herein.

  176.   CLFS knew (and continues to know) that Lustig, JAL, and the Affiliates were (and

         continue to be) engaged in conduct which constitutes violations of C.R.S. 11-51-501(1),

         and gave (and continues to give) substantial assistance to such conduct. Accordingly,


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         CLFS is liable for Lustig, JAL, and the Affiliates' violations of C.R.S. 11-51-501(1)

         pursuant to C.R.S. 11-51-604(5)(c).

                                  TENTH CLAIM FOR RELIEF
                                     Securities Exchange Act
                                  Section 10(b) and Rule 10b-5(a)

  177.   All allegations previously stated herein are incorporated by reference.

  178.   The IPO Market Manipulation Scheme is a device, scheme, or artifice to defraud.

  179.   Defendants knowingly committed (and continue to commit) manipulative and deceptive

         acts in furtherance of the IPO Market Manipulation Scheme.

  180.   The specific manipulative and deceptive acts committed by each Defendant in

         furtherance of the IPO Market Manipulation Scheme are set forth in paragraphs 98-128,

         which paragraphs are incorporated by reference herein.

  181.   Defendants’ manipulative and deceptive acts controlled and artificially affected the

         market for IPO Shares allocated by the Bank.

  182.   Plaintiffs relied on the integrity of the IPO Share allocation market and were injured by

         having to pay a higher price for the IPO Shares than they would have paid but for the IPO

         Market Manipulation Scheme. Plaintiffs were also injured by receiving fewer IPO

         Shares than they would have received but for the IPO Market Manipulation Scheme.

  183.   Plaintiffs are entitled to damages in an amount to be determined at trial.

                               ELEVENTH CLAIM FOR RELIEF
                                     Securities Exchange Act
                                 Section 10(b) and Rule 10b-5(b)

  184.   All allegations previously stated herein are incorporated by reference.




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  185.   Defendants knowingly made untrue statements of material fact and omitted to state

         material facts necessary in order to make the statements made, in the light of the

         circumstances under which they are made, not misleading, in connection with the offer,

         sale, and purchase of IPO Shares.

  186.   The specific misstatements and fraudulent omissions made by each Defendant in

         furtherance of the IPO Market Manipulation Scheme are set forth in paragraphs 98-128,

         which paragraphs are incorporated by reference herein.

  187.   Defendants’ misstatements and fraudulent omissions artificially affected the market for

         IPO Shares allocated by the Bank.

  188.   Plaintiffs relied on the integrity of the IPO Share allocation market and were injured by

         having to pay a higher price for the IPO Shares than they would have paid but for the IPO

         Market Manipulation Scheme. Plaintiffs were also injured by receiving fewer IPO

         Shares than they would have received but for the IPO Market Manipulation Scheme.

                                TWELFTH CLAIM FOR RELIEF
                                    Securities Exchange Act
                                 Section 10(b) and Rule 10b-5(c)

  189.   All allegations previously stated herein are incorporated by reference.

  190.   Defendants engaged (and continue to engage) in acts, practices, and a course of business

         which operated as a fraud and deceit upon Plaintiffs (and continues to operate as a fraud

         and deceit upon Plaintiff Detroit Street).

  191.   The IPO Market Manipulation Scheme operated as a fraud and deceit upon Plaintiffs (and

         continues to operate as a fraud and deceit upon Detroit Street).




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  192.   The fraudulent and deceptive acts, practices, and course of business in which Defendants

         engaged (and continue to engage) is described in paragraphs 98-128, which paragraphs

         are incorporated by reference herein.

  193.   Defendants’ manipulative and deceptive acts controlled and artificially affected the

         market for IPO Shares allocated by the Bank.

  194.   Plaintiffs relied on the integrity of the IPO Share allocation market and were injured by

         having to pay a higher price for the IPO Shares than they would have paid but for the IPO

         Market Manipulation Scheme. Plaintiffs were also injured by receiving fewer IPO

         Shares than they would have received but for the IPO Market Manipulation Scheme.

  195.   Plaintiffs are entitled to damages in an amount to be determined at trial.

                            THIRTEENTH CLAIM FOR RELIEF
                                    Securities Exchange Act
                             Section 20(a) Control Person Liability
                         (Against Lustig, JAL and the Affiliated Individuals)

  196.   All allegations previously stated herein are incorporated by reference.

  197.   The Affiliated Entities are liable for violations of Section 10(b) of the Exchange Act and

         Rule 10b-5. Detailed allegations regarding the Affiliated Entities’ liability for such

         violations are contained in paragraphs 98-128 and 177-195, which paragraphs are

         incorporated by reference herein.

  198.   Lustig and JAL controlled (and continue to control) the Affiliated Entities, and thus are

         liable for the Affiliated Entities’ violations of Section 10(b) of the Exchange Act and

         Rule 10b-5.




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  199.   Each Affiliated Individual controlled its respective Affiliated Entity and thus each

         Affiliated Individual is liable for its respective Affiliated Entity’s violations of Section

         10(b) of the Exchange Act and Rule 10b-5.

  200.   Plaintiffs were injured by the Affiliated Entities’ violations of Section 10(b) of the

         Exchange Act and Rule 10b-5 and are entitled to damages in an amount to be determined

         at trial.

                              FOURTEENTH CLAIM FOR RELIEF
                     Tortious Interference with Prospective Business Relations

  201.   All allegations previously stated herein are incorporated by reference.

  202.   As indicated in detail above, at the direction of Lustig (either individually or through JAL

         and/or CLFS) and the relevant Affiliated Individual, and using funds fronted by Lustig

         (either individually or through JAL and/or CLFS), each Affiliated Entity opened

         brokerage accounts with one or more of the Banks by supplying false information to the

         Banks. After each account was opened, again at the direction of Lustig (either

         individually or through JAL and/or CLFS) and the relevant Affiliated Individual, each

         Affiliated Entity used (and continues to use) the money fronted by Lustig (either

         individually or through JAL and/or CLFS) to engage in illegal churning by

         consummating transactions lacking any economic substance, e.g., “wash sales,” for the

         sole purpose of generating enough commissions for the Banks to remain among the

         Banks’ top tier clients and continue receiving the valuable IPO Share allocations.

  203.   Plaintiff Detroit Street is and, until closing its accounts with the Banks in 2013, Plaintiff

         Birchwood was, a legitimate customer of the Banks, and they have generated substantial

         commissions for the Banks through legitimate and lawful securities transactions.


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  204.   Plaintiffs had, under the prevailing policies established by the Banks, a reasonable

         expectation of entering into valid business relationships with the Banks to purchase the

         IPO Shares as top tier clients of the Banks.

  205.   Defendants knew or should have known of Plaintiffs’ reasonable expectancies for the

         allocations of IPO Shares.

  206.   Nevertheless, Defendants purposefully interfered in the process by which the IPO Shares

         were allocated by fraudulently opening brokerage accounts at the Banks and then

         engaging in securities transactions through the accounts that lack economic substance for

         the sole purpose of generating commissions for the Banks in order to qualify for the IPO

         Shares. Through this fraudulent scheme, Defendants usurped Plaintiffs’ opportunity to

         obtain a much larger number of IPO Shares and prevented Plaintiffs’ legitimate and

         reasonable expectancies from ripening into valid business relationships with the Banks.

  207.   Absent the respective frauds and collusive sham churning by Defendants, Plaintiffs

         would have had an opportunity to obtain a much larger number of the IPO Shares and

         would have enjoyed the financial benefits flowing from those purchases.

                              FIFTEENTH CLAIM FOR RELIEF
                                     Civil Conspiracy

  208.   All allegations previously stated herein are incorporated by reference.

  209.   Defendants, in the course of their business, occupation, and/or vocation, had agreed

         among themselves and conspired with each other to accomplish goals through unlawful

         means. The goals included, without limitation, to: (a) manipulate the established

         procedures by which the Banks would allocate the valuable right to purchase IPO Shares,

         (b) obtain the opportunity to purchase a greater number of IPO Shares than Defendants


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         would have otherwise been entitled to under the established policies of the Banks, and (c)

         unlawfully deprive Plaintiffs of the opportunity to purchase their legitimate portion of the

         IPO Shares under the established rules of the Banks.

  210.   One or more overt act acts were performed to accomplish these goals. The overt acts

         committed by each Defendant in furtherance of the conspiracy are set forth in paragraphs

         98-128, which paragraphs are incorporated by reference herein.

  211.   As a direct and proximate result of the conspiracy alleged in this Complaint, Plaintiffs

         have been injured as described above in an amount to be determined at trial.

                                             DAMAGES

         Plaintiffs are entitled to, and hereby request, damages in an amount to be determined at

  trial. Additionally, pursuant to C.R.S. 18-17-106, Plaintiffs are entitled to, and hereby request:


             a. A money judgment award against all Defendants herein for threefold (triple) the

                 actual damages sustained by Plaintiffs from 2011 through present;

             b. A money judgment of forfeiture for the total amount of all gains realized by

                 Defendants on the sale of IPO Shares obtained by the Defendants as a result of the

                 IPO Market Manipulation Scheme from 2011 to the present;

             c. A judgment of forfeiture awarding to Plaintiffs all property, real or personal,

                 including without limitation, money, airplanes, boats, cars, houses, jewelry,

                 stocks, bonds, real estate, etc., obtained by Defendants using gains realized on the

                 sale of the IPO Shares received as a result of the IPO Market Manipulation




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                Scheme from 2011 to the present, or in the alternative a money judgment of

                forfeiture for the cash value of these items;

             d. A money judgment of forfeiture for all proceeds from the sale of any and all

                assets referred to in paragraph c. above;

             e. A judgment awarding the costs and expenses of this action;

             f. A judgment awarding reasonable attorneys’ fees; and

             g. Such other and further relief ordered by the Court.

                                   DEMAND FOR JURY TRIAL

         Plaintiffs respectfully demand a trial by jury on all issues herein.

                                              PRAYER

         WHEREFORE, Plaintiffs respectfully request that this Honorable Court enter judgment

  against Defendants for damages as set out above, along with costs and reasonable attorneys’ fees.


  Dated: August 31, 2018.

                                                        ROBINS KAPLAN LLP


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